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                         Exhibit B
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            1                      FEDERAL TRADE COMMISSION

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            6                          Public Workshop:

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           10                   THE INFORMATION MARKETPLACE:

           11               MERGING AND EXCHANGING CONSUMER DATA

           12

           13

           14

           15                            March 13, 2001

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           19                      Federal Trade Commission

           20                6th and Pennsylvania Avenue, N.W.

           21                          Washington, D.C.

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            1                              I N D E X

            2

            3     SESSION:                                           PAGE:

            4     Opening Remarks

            5       By Chairman Pitofsky                                3

            6       By Commissioner Swindle                             6

            7       By Commissioner Thompson (video)                   14

            8     One:       Merger & Exchange of Consumer

            9                Data:   An Overview                       18

           10     Two:       Consumer Data:    What is it?

           11                Where does it come from?                  51

           12     Three:     What are the business purposes

           13                for merging and exchanging

           14                consumer data?                          117

           15     Four:      How do merger and exchange

           16                affect consumers and

           17                businesses?                             166

           18     Five:      Emerging Technologies and

           19                Industry Initiatives:     What

           20                does the future hold?                   259

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            1                       P R O C E E D I N G S

            2                       -    -    -     -      -     -

            3                MR. WINSTON:    Let me introduce myself, I'm

            4     Joel Winston, Acting Associate Director for

            5     Financial Practices at the FTC, and I want to

            6     welcome all of you to the Federal Trade Commission,

            7     and give a special greeting to those people who are

            8     listening in on our audiocast on the website,

            9     ftc.gov.

           10                Now, there are several members of the

           11     Commission who are going to be giving some opening

           12     remarks this morning, and I would like to introduce

           13     first Chairman Robert Pitofsky.              Chairman Pitofsky

           14     has served as chairman of the FTC since April of

           15     1995, and he will be beginning the proceedings.

           16     Mr. Chairman?

           17                CHAIRMAN PITOFSKY:         Good morning, everyone,

           18     and welcome to another of the Federal Trade

           19     Commission's workshops.         This one, we have entitled

           20     The Information Marketplace:            Merger and Exchange

           21     of Consumer Data.

           22                I don't think I have to belabor the point

           23     with this audience that privacy, especially privacy

           24     in the commercial marketplace, is and remains a

           25     very important issue.


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            1               If you take polls, you find today, just as

            2     you did three and four years ago, that somewhere

            3     between 88 and 92 percent of consumers when asked

            4     what their concerns were about doing business,

            5     buying online, will say that they have

            6     reservations, and think it's not a secure

            7     marketplace.     They're not giving their credit card

            8     online without having some knowledge of how it's

            9     going to be used.

           10               As a result, you now have, I think, just

           11     since Congress reconvened, something like a dozen

           12     bills addressing various issues relating to privacy

           13     in the commercial context.

           14               But let me position this workshop.         We are

           15     not looking for enforcement targets for companies

           16     that may be invading unfairly or deceptively

           17     consumer rights, and we're not looking for

           18     legislative proposals.

           19               This is another kind of workshop, and it's

           20     like many that we've conducted in the past five or

           21     six years.     We're trying to find out in a new area,

           22     a fast-changing dynamic area, what's going on, so

           23     that we are informed about the kind of issues that

           24     eventually we'll be called upon to address.

           25               We did that with our earliest privacy


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            1     workshops, just to find out how personally

            2     identifiable information was collected and whether

            3     or not it was being sold.       We did it with

            4     profiling, more recently B2B commerce on the

            5     Internet, and wireless technologies.

            6                In this instance, we would like to be able

            7     to take the measure of the extent and the ways in

            8     which firms exchange information and data that

            9     create consumer profiles; not necessarily only the

           10     information the firm collects itself, but

           11     information that someone else collects that then

           12     becomes merged into a firm's database.

           13                How is that information used commercially?

           14     Is it used commercially?       And if so, in what

           15     fashion?     What is the source of the data?       Is it

           16     mostly online, is it offline, is it a combination

           17     of the two?     Does it come from public records,

           18     private records, a combination of the two?

           19                We know that the ability of firms to

           20     collect data has been enhanced dramatically over

           21     the last five to ten years, and what we want to

           22     find out is how it's being used so that down the

           23     road we can spot issues.       It is an

           24     information-gathering enterprise.         It is not

           25     designed at the end of the day, at the end of these


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            1     sessions, to come up with policy proposals.

            2               We have no predisposition on this.         My own

            3     view, as some of you have heard me say before, is

            4     that this kind of enterprise is what Congress had

            5     in mind in 1914 when it created a Federal Trade

            6     Commission.     Not just law enforcement, but a group

            7     that would try to work with the business community,

            8     with consumers, and others, to understand new and

            9     emerging dynamic trends in the economy.

           10               That is what we've been about over the last

           11     five or six years.      We've tried to restore that

           12     tradition, and I certainly feel that this workshop

           13     moves in that direction.

           14               We have a wide variety of people here today

           15     who represent the business community, the consumer

           16     community, academics, and others, and if history is

           17     any guide, we will at the end of the day have

           18     learned a good deal from each other.

           19               With that, we'll receive some words on

           20     video from my colleague, Mozelle Thompson, but

           21     while that's being set up, let me introduce my

           22     colleague and friend, Commissioner Orson Swindle.

           23               COMMISSIONER SWINDLE:      Thank you very much,

           24     Chairman Pitofsky.      I would like to welcome you all

           25     here, and before I forget it, the last couple of


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            1     days in preparation for this, Bruce Jennings and

            2     his crew of youngsters around here have been

            3     scurrying in about 9,000 different directions

            4     making all this come together.        Wires have been

            5     dragged all over the building and I think we've got

            6     a good set-up here, and this will be recorded for

            7     posterity and hopefully there won't be too much

            8     blood on the floor when it's all over, but it's a

            9     delight to see you all.

           10               I know so many of the organizations that

           11     are represented here, you have a vital interest in

           12     this, certainly from a personal perspective of your

           13     business, but we are all, as the chairman says,

           14     grasping to understand.       And I would hope that we

           15     would view this process here today, as we have in

           16     previous workshops, as the Chairman mentioned, as a

           17     learning process in which we listen and offer our

           18     suggestions from time to time, but mostly we listen

           19     to you, the practitioners, and try to get a better

           20     understanding of what we're all about and what

           21     we're doing here with this very controversial -- is

           22     that a good word to describe it -- but the issue of

           23     information flow and its effects and the concerns

           24     that various and sundry people have today in the

           25     consumer population or in business population.


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            1               I do want to welcome you all here today.

            2     The use of third party information from public

            3     records, information aggregators and even

            4     competitors for marketing has become a major

            5     facilitator of our retail economy.

            6               Even Chairman Greenspan suggested here some

            7     time ago that it's something on the order of the

            8     life blood, the free flow of information.          This was

            9     made even more clearly by a new study released

           10     yesterday by the Privacy Leadership Initiative and

           11     the ISEC Council of the DMA.

           12               The study made it clear that consumer

           13     prices would increase if public policy

           14     significantly limited the flow of data into catalog

           15     marketing and sales.      At the same time, the digital

           16     revolution, both online and offline, has given an

           17     enormous capacity to the acts of collecting and

           18     transmitting and flowing of information, unlike

           19     anything we've ever seen in our lifetimes.

           20               Obviously the debate has been furious over

           21     the appropriateness of these data flows, this

           22     passage of information from one entity to another.

           23               The perceived harm that this data flow

           24     causes and what the appropriate remedies might be.

           25     As we all know, we've had a heavy debate on privacy


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            1     going on now for at least three years, I've been

            2     here three years, and it was going on even before I

            3     arrived.

            4                I believe that issues related to the real

            5     harm that might be caused are well addressed by

            6     existing laws, but now we need to explore issues

            7     related to customer or consumer and business

            8     entities or the seller and the buyer, if you will.

            9                It is also useful to note that the digital

           10     revolution has revolutionized the knowledge that

           11     the buyer has about the marketplace.          Buyers today

           12     are more informed than they have ever been ever

           13     before.     The information age and information

           14     technology is literally changing the way every one

           15     of us does business, the way we conduct our lives,

           16     how we pick and choose, and certainly this

           17     information flow has made the buyer far more

           18     informed.

           19                It is crystal clear that there have been

           20     quantitative and qualitative changes in the

           21     marketplace, and the manner in which information is

           22     made available and used.

           23                There are real benefits in this for both

           24     consumers and businesses, from these changes.

           25     There are also changes in the way we all interact


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            1     with each other.      More of the interaction is being

            2     defined by data and less by each of us based on

            3     what we reveal about ourselves.

            4               The FTC has traditionally dealt with harm

            5     that comes from bad actors and market failures.

            6     The issues being raised today don't necessarily

            7     fall easily into either of those categories.            Such

            8     as the challenge that we face.

            9               Productivity gains are well documented and

           10     the new technology, as I said earlier, is changing

           11     the way we do everything.        However, there is a

           12     great trust deficit in existence out there now.

           13     The public has concerns about the private sector's

           14     ability to govern information use, or manage that

           15     information that they happen to have on people.            At

           16     the same time, the same observations will tell you

           17     that the public has great concern as to what the

           18     government does with the information it has.

           19               And I would contend that we might ought to

           20     be a little bit more concerned about what the

           21     government is doing than the private sector, but

           22     nevertheless, we've got a great distrust going here

           23     between the consumers who more and more today

           24     understand the value of their information, and what

           25     goes on around them.


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            1               We therefore have a dilemma.        The use of

            2     information drives our economy, I think that's

            3     pretty well established.        That includes information

            4     to make sales, marketing and customer service more

            5     efficient, and more effective.         The information

            6     flow allows businesses to build the right product,

            7     deliver it at the right time, to the right place,

            8     to the right address, and meet the demands, unique

            9     as they are, among all consumers, carefully

           10     tailored to them.      That I would suggest most

           11     consumers would say not a bad deal.

           12               However, this increased use of information

           13     about people creates consumer concerns.           The public

           14     is concerned about the potential misuse of the

           15     information, and individuals are concerned about

           16     being defined by the existing data on themselves.

           17               This is a huge misunderstanding deficit

           18     that parallels and matches the trust deficit.

           19     Consumer education has lagged market changes driven

           20     by new technology.      Government is behind the new

           21     technology changes, too, as we've all noted.

           22               Consumers struggle to understand the

           23     technology itself, not just in the ways in which a

           24     technology is used in the marketplace, I'm still

           25     wrestling with my ISP, I was about to use a name


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            1     there, but I won't.       I'm having so much trouble

            2     with it, I don't want to defame the country at this

            3     point in time, but I'm having trouble with the

            4     technology itself, not to mention the information

            5     flow.

            6                Today's workshop is a great opportunity to

            7     begin to bridge this learning gap and this trust

            8     and misunderstanding or untrust and understanding

            9     deficit.     We're here today to gather facts and

           10     begin to understand the flows of data that support

           11     marketing and customer service.

           12                This should increase our understanding of

           13     the benefits of the free flow of information, and

           14     to begin to understand the level of real harm, to

           15     whatever degree it might exist, related to

           16     information use.

           17                And perhaps we have an opportunity to ease

           18     the fears that are related to that emotion of fear

           19     of the unknown.      I would suggest, plead with,

           20     counsel all participants to please leave your

           21     emotions at the doorway.

           22                This session today, folks, please, is not

           23     about sound bites, it's not about exposing people

           24     in public, it is about learning and sharing what we

           25     each know and how we go about doing what we are


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            1     concerned with, and understanding how to balance

            2     legitimate privacy concerns and economic and social

            3     benefits.

            4               Remember, today's objective is to learn, to

            5     explore, and perhaps start to identify so we can

            6     put our hands on it, some policy approaches that

            7     are balanced in their -- they're balanced in a

            8     sense that they balance the consumer's interest in

            9     choice and economic opportunity, they balance the

           10     consumer's interest in not being harmed by security

           11     breaches and data misuse, they're balanced in the

           12     sense that they respect the consumer's interest in

           13     choosing when to not participate in a market, and

           14     also the other side of the coin, so to speak, is

           15     business interest in serving all markets in a most

           16     effective and efficient and, quite frankly,

           17     profitable way that they can. That's what you are

           18     our free enterprise system is all about.

           19               I thank you again for joining us.         This is

           20     an important session.       Perhaps it's the first of

           21     several important sessions on the very subject,

           22     because I think we have a lot to learn and we

           23     appreciate you coming here and being a part of our

           24     family and helping us learn more, learn faster, and

           25     hopefully, as I always say, helping us to look


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            1     before we leap.      Thank you very much.

            2               (Applause.)

            3               COMMISSIONER THOMPSON:       Good morning.     I

            4     would like to join the Chairman in welcoming you to

            5     the FTC for this important workshop on the

            6     Information Market Place.

            7               As he mentioned, today we will all be

            8     sharing what we know about the topic of Merging and

            9     Exchanging Consumer Data.        It's no secret, for

           10     example, that the Federal Trade Commission has been

           11     long talking about issues dealing with personal

           12     data and privacy.

           13               I think that today we will be talking about

           14     how the issues raised with data collection converge

           15     when we're talking about an online and offline

           16     environment.

           17               At present, there are some real reasons to

           18     distinguish those two classes of information, in

           19     light of the speed and the manner in which

           20     information is collected.        But I also recognize

           21     that, as a practical matter, it doesn't make sense

           22     for consumers and businesses to view separate

           23     protocols for online and offline data collection.

           24               So, I would encourage industry and

           25     consumers to work together to formulate practical


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            1     solutions that foster consumer confidence.

            2               But there will also be some important other

            3     questions that you'll be dealing with today about

            4     issues like legacy data, information that was

            5     collected before there was an online environment,

            6     and, also, how information changes -- does the

            7     character really change when you have offline data,

            8     including public information that's merged with

            9     online data and made available in a mode like on

           10     the internet.

           11               I look forward to hearing your

           12     presentations and hope that you'll enjoy the day.

           13               Thank you very much for coming.

           14               MR. WINSTON:     Before we get started, I have

           15     a few ground rules and announcements to make.            The

           16     first one I approach a little bit gingerly, but I

           17     have been asked to ask all of you to turn off your

           18     cell phones.     I'm just the bearer of bad tidings

           19     here.    Apparently there's some feedback between the

           20     cell phones and our equipment, and it's messing

           21     everything up, so if you could please turn off your

           22     cell phones.

           23               Also, I would like to remind our panelists

           24     that because we have so much ground to cover today,

           25     we're going to try to hold you to the time limits


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            1     that we've discussed with you previously.           We're

            2     going to give you a one-minute warning before your

            3     time elapses, and then when your time is up, we're

            4     going to gently encourage you to conclude your

            5     remarks.     If that doesn't work, we have someone

            6     with a hook who's going to come out and kind of

            7     pull you away, but if you could try to stay within

            8     the time limits.

            9                Also, it's our practice in our workshops to

           10     invite the audience to ask questions of the

           11     panelists, if time permits, at the end of each

           12     panel.     But, again, because we have so much ground

           13     to cover, I'm going to ask the questioners to limit

           14     themselves to asking questions and not to make any

           15     statements for the record.

           16                Which brings me to my last announcement,

           17     and that is that the record of this workshop is

           18     going to remain open for 30 days, until April 13th,

           19     so that anyone who wants to file something, a

           20     comment or other materials, for the record, and for

           21     the Commission's consideration, can do so.           The

           22     instructions for filing these post workshop

           23     comments are available on our website at

           24     www.ftc.org.     So, I encourage you all of you to

           25     participate in that process.        Dotgov, I'm sorry,


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            1     somebody gave me the wrong web address here, okay.

            2     Anyway, I encourage you all to submit comments if

            3     you like.

            4                Now we're ready for our first panel, in

            5     which Professor Mary Culnan of Bentley College will

            6     lead a discussion designed to provide an overview

            7     of the flow of data through the information

            8     marketplace.     Professor Culnan is the Slade

            9     Professor of Management and Information Technology

           10     at Bentley College in Waltham, Massachusetts, where

           11     she teaches and conducts research on information

           12     privacy.     She is the author of the 1999 Georgetown

           13     Internet Privacy Policy Survey, and was a member of

           14     the FTC's Advisory Committee on Access and

           15     Security.     And Professor Culnan will introduce the

           16     members of her panel.

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                                                                             18

            1                              SESSION ONE:

            2               MERGER & EXCHANGE OF CONSUMER DATA:

            3                               AN OVERVIEW

            4                 -     -       -      -    -    -    -

            5                MS. CULNAN:        Thank you, Joel, and thank

            6     you to the FTC for inviting me to participate in

            7     this workshop.        It's going to be a terrific day.

            8               One comment about our session.        We were

            9     instructed we're not going to have Q&A at the end

           10     of our session, because we're just providing an

           11     overview, so I didn't want you to think that we're

           12     cutting off the flow of discussion arbitrarily.

           13               What we are going to do today is we're

           14     going to talk you through a slide, which I'm going

           15     to put up here, and which you also have in your

           16     packet.    Because the other two people are going to

           17     be having their own slides.

           18               We're going to talk you through this 30,000

           19     foot view of profiling to set up the rest of the

           20     day's sessions.        And so, if we skim over a topic

           21     that you think we should have gone into in more

           22     detail, you will hear about this in more detail in

           23     the other sessions later on today.

           24               We're going to focus primarily on the

           25     compilers, the third party organizations that


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            1     collect, slice and dice and then resell consumer

            2     data (but these firms do not have a direct

            3     relationship with consumers), rather than focusing

            4     on the profiling that's done by individual firms

            5     with their own customer data.

            6               And for the purpose of simplicity, we're

            7     also not going to talk about co-op databases, which

            8     fall into the category of third party organizations

            9     that collect information on customers, because

           10     there's such a small number of these systems, but

           11     for some of the things that we're going to talk

           12     about, they also fall into our slide.

           13               So, let me first introduce our two

           14     panelists.     First is Johnny Anderson, who is the

           15     president and CEO of Hot Data, Incorporated.            He

           16     has over 30 years of technology industry

           17     experience, holding executive and management

           18     positions at e2 Software Corporation, Saber

           19     Software Corporation, Novell, Excelan and Digital

           20     Equipment.

           21               Our second speaker is Lynn Wunderman, who

           22     is the President and CEO of I-Behavior,

           23     Incorporated.     Prior to founding I-Behavior, she

           24     was the founding partner of Wunderman, Sadh &

           25     Associates, which is a consulting firm specializing


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            1     in information-based marketing services for both

            2     consumers and B2B marketers in the financial

            3     services, high-tech graphic arts, non-profit and

            4     Internet industries, and President and Chief

            5     Operating Officer of Marketing Information

            6     Technologies, a company providing database services

            7     for major Internet and Fortune 100 companies.            She

            8     currently serves on the Internet committee of the

            9     board of directors of the Direct Marketing

           10     Association.

           11               So, what we've done, we've divided the

           12     slides into thirds.       I'm going to discuss the first

           13     part which is on the left, this is the consumer

           14     part where consumers generate information in our

           15     daily lives that ends up in a compiler's database.

           16     Johnny Anderson is going to discuss the middle part

           17     of what goes on in the compiler's black box, and

           18     Lynn is going to discuss the third part on the

           19     right, how compiled data is used to generate offers

           20     to consumers, both prospects and consumers.

           21               And then as you can see, our picture begins

           22     and ends with the consumer, which is an important

           23     point I think.

           24               After I attended my first DMA convention

           25     and went through the exhibits, I came away


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            1     convinced that anything anybody does puts you on

            2     somebody's mailing list or you end up as a record

            3     in somebody's database.       And the slide shows some

            4     of the main ways that this can happen.

            5                First of all, all of us generate a number

            6     of public records, depending on the kinds of

            7     activities we engage in.        Some of these include

            8     personally identifiable information such as

            9     property records, which do have our name and

           10     address attached to them, or telephone directories

           11     or other directories, and then there's public

           12     records that have nonpersonally identifiable

           13     information in them such as census records.

           14                And compilers can acquire this information

           15     in two ways.     First they can acquire it directly

           16     from the source, so they could buy the records from

           17     the state or local government.         Or they may acquire

           18     the information from a second firm, such as

           19     Claritas, that acquires this information and does

           20     some analytics on it and then generates geographic

           21     and demographic profiles that do not include

           22     personally identifiable information but can be

           23     overlaid on top of a record that does have an

           24     address.

           25                And in fact there was an example of this


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            1     information in yesterday's Washington Post, if you

            2     happened to see this, of talking about Fairfax

            3     County, Virginia that has the highest average

            4     family income in the United States.          And inside the

            5     article, they talked about the different lifestyle

            6     segmentation profiles that are represented by the

            7     people who live in Fairfax County.

            8               For example, they said 22 percent of the

            9     people who live in Fairfax County are in The

           10     Winner's Circle, that's the name of the profile, or

           11     Executive Suburban Families, age 35 to 64,

           12     household income is $90,700 a year, and these

           13     people are most likely to have a passport, shop at

           14     Ann Taylor and read Epicurean Magazine.

           15               So, this will give you a flavor of how this

           16     information is used to, again, help companies

           17     understand who their customers or their prospective

           18     customers are.

           19               A second source of information is surveys,

           20     such as warranty cards or marketing surveys that

           21     could include questions about what people's product

           22     preferences are across a whole range of different

           23     kinds of products, their life styles, their

           24     hobbies, and their demographics.

           25               The third way that the information can end


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            1     up in a compiler's database is that people sign up

            2     for mailing lists, and I was thinking about this as

            3     I read the Sunday paper and, you know, there are

            4     cards that fall out of the Sunday magazine where

            5     you can request information on various topics.

            6               Or people who order things by mail, or you

            7     request information, call an 800 number, sign up

            8     for something online, enter a sweepstakes or a

            9     contest, and these types of things will put you on

           10     a mailing list.

           11               Well, mailing lists may be made available

           12     directly, without going through a compiler, either

           13     by the firm itself or more likely through a list

           14     broker who is going to manage the mailing list on

           15     behalf of the firm that owns the list.          And that

           16     can end up with targeted offers to prospective

           17     customers.

           18               Or some of the information may end up in

           19     the compiler's database, and go into subsequent

           20     uses that we'll hear about.

           21               And then, finally, down at the bottom, we

           22     see the customer database, and when consumers

           23     establish a customer relationship with an

           24     organization, with a business, they end up in the

           25     customer database.      And I think this is not a big


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            1     surprise to everybody.

            2               And then that firm can generate new

            3     targeted offers to its current customers.           I think

            4     people expect this to happen, but we're also going

            5     to hear how compilers can help these firms generate

            6     new offers to their customers, better target these

            7     offers and help these firms do cross marketing of

            8     new products and services.

            9               So now Johnny will talk about what goes on

           10     in the middle of the picture.

           11               MR. ANDERSON:     Good morning.     My name is

           12     Johnny Anderson, I'm Chief Executive at Hot Data.

           13     How Data is an infomediary that connects customer

           14     relationship management marketing automation

           15     systems to sources of both household information on

           16     consumers, and business information about

           17     businesses, and provides a complete set of data

           18     quality and standardization services for both

           19     small, medium and large-sized businesses.

           20               I'm going to spend a little time and talk

           21     about the kinds of information that's collected,

           22     how it gets compiled into a database, and then gets

           23     delivered into a marketer's, end user's, database.

           24               But first I want to kind of digress.          I've

           25     looked at some of the other slide shows, and a lot


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            1     of the topics are going to be hit.          I really want

            2     to digress and talk about why people are -- why

            3     marketers are interested in this kind of

            4     information to begin with.

            5               Building a data warehouse and collecting

            6     this kind of information is a massive undertaking,

            7     and very expensive.       What's the payback, and what

            8     are businesses looking for out of taking third

            9     party information and merging that in with their

           10     in-house information?

           11               If you think about commerce, if you think

           12     back, all the way back to the middle ages when

           13     commerce really first started.         The buyers and

           14     sellers knew each other.        There was a one-to-one

           15     relationship.     Even up into the beginning of the

           16     last century, people knew -- the storekeepers knew

           17     who their customers were.

           18               After World War II and the mobilization of

           19     America, and the move from urban centers into

           20     suburban centers, and the creation of the now

           21     shopping mall, merchants now lost track of who

           22     their customers are.       They don't know who buys

           23     products anymore.

           24               So, merchants really spend a lot of time

           25     doing product level analysis to figure out who


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            1     bought the stinky cheese, and what stinky cheese

            2     purchases drove what other kind of purchases.

            3               The change in the new economy, and the

            4     evolution of the Internet now has really empowered

            5     consumers with information, and has broken down a

            6     lot of the geographic boundaries in terms of, I

            7     have to travel to a mall to purchase something.

            8               This has already been broken down quite a

            9     bit with the direct marketing and catalog

           10     industries, but now with the Internet, people now

           11     have a lot of information.

           12               So, it is now dependent on -- a business'

           13     dependence on success is now leveraged by what kind

           14     of service they can deliver.        And to deliver that

           15     service, they again have to know who their

           16     customers are.

           17               So, you really look at all of the kinds of

           18     information that's available so that businesses can

           19     get a complete 360-degree view of their customers

           20     to be able to understand them not only in the

           21     context of their own transaction that may have

           22     taken place, but also what the likes and dislikes

           23     of that customer are.

           24               So, when you really look at the kind of

           25     information that's available, it really falls down


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            1     into three categories.       There's the geographic

            2     information, or where you live, and that kind of

            3     information is really address data, quality of the

            4     address, standardized to the Post Office's

            5     standards, what's the bar code for the address, but

            6     also includes information like what MSA that

            7     address is in, what census tract that address is

            8     in, and important things like latitude, longitude

            9     and geocoding, which are really used by businesses

           10     to do things like drive time analysis, and trade

           11     area analysis.

           12               But one of the first segmentations, at

           13     least in the retail industries, and now in the

           14     telecom industries, is where do you -- where do

           15     people live and how far are they likely to travel

           16     to get to one of my retail locations.

           17               The second is really the demographic

           18     information, and the collection and the detail of

           19     this will really be talked about a lot in panel

           20     number 2, but that's things like name, address and

           21     phone number, at a very basic level, but also

           22     reported and modeled information around a person's

           23     income level, what their marital status is, whether

           24     they buy by mail, whether they're a credit card

           25     user, whether they own their own home or not,


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            1     information about what you're like.

            2               And then the third piece is really the

            3     psychographic information, and that's really what

            4     you like, what your life style indicators are, and

            5     that's where a lot of the compiled information

            6     comes in from, lists and surveys, to determine what

            7     somebody's propensity to buy a specific kind of

            8     product is.     And those are indicators that could be

            9     that you're an outdoors enthusiast, a gardening

           10     book reader, dot, dot, dot, there are a number of

           11     different life style indicators.

           12               So, how is that information merged into one

           13     particular database?       Data compilers really look to

           14     those three sources and do a very complex job of

           15     extraction, transformation and loading of that

           16     data.    And that data is bought from public sources,

           17     and that could be things like tax records, home

           18     owner information, up until recently motor vehicle

           19     information was used, and in some states, even

           20     driver's license information.

           21               But that information is reported

           22     information that's public record that's brought

           23     into the database.      Self reported data really

           24     drives a lot of the demographic and psychographics,

           25     and that's information from surveys and warranty


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            1     cards and registrations.

            2               And then information from mail lists, and

            3     that is I'm -- I have a wooden boat, I subscribe to

            4     Wooden Boat Magazine.       If I subscribe to Wooden

            5     Boat Magazine, there is a great likelihood that I

            6     am likely to buy products for wooden boats.

            7               So, affinity modeling and propensity

            8     scoring is really driven by the self-reported data

            9     from both subscriptions and product registrations.

           10               That information is matched based on name

           11     and address, so that there's really a view of a

           12     consumer that takes into account all of those

           13     different kinds of data sources.         And then there's

           14     some additional modeling that's done on top of

           15     that, based on scientific samples and surveys,

           16     different kinds of models are put into place for

           17     specific vertical industries.

           18               Not every industry is interested in the

           19     same kind of consumer information.          A telecom

           20     merchant is not interested in the same kind of

           21     information that a retailer is interested in.

           22               So, modeling is done based on a set of

           23     attributes that's been collected to be able to put

           24     together things for financial services and other

           25     industries.     And then the output of that


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            1     information really goes to two sources.

            2               One is the data enhancement source, in that

            3     I have a customer database of people that have come

            4     to my company from a number of different sources,

            5     could be a customer that signed up for a frequent

            6     buyer program at a retail location, could be a

            7     customer that's come to me at a trade show or sent

            8     back a business reply card, or a customer that's

            9     walked into one of my retail locations.

           10               The customer that's in my database, so I'm

           11     really looking for information that's outside my

           12     organization so I can understand that customer

           13     better.

           14               And the second is the targeted lists, and

           15     that is really if I've done some analysis in terms

           16     of what my best customer looks like, give me some

           17     more prospects that I can market that look just

           18     like those folks.      I don't know who they are yet,

           19     and in most cases those targeted lists are going to

           20     go to a mail house who is going to get a mail drop,

           21     and I won't know who they are, until they respond

           22     to that direct mail campaign and come back into my

           23     database.

           24               And then they'll go into the normal process

           25     of my selling process inside my customer database.


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            1               So, there will be a lot of detailed talk

            2     about both the collection of data in the second

            3     panel, and then the use and kind of how the

            4     technology drives some of the business models for

            5     the use of that data in the third panel a little

            6     bit later on.

            7               So, with that, let me turn it over to Lynn,

            8     and let her talk about some of the internal uses of

            9     data.

           10               MS. CULNAN:     Thank you, Johnny.

           11               MS. WUNDERMAN:      Bear with me just one

           12     second here.     Thank you.

           13               Well, I've been asked to spend the next 15

           14     minutes talking to you about the end user

           15     applications that have evolved really over the last

           16     two to three decades, so it might be a little

           17     tight, but we're going to do the best we can.

           18               I'm going to start where Johnny left off,

           19     which is to help you understand how this kind of

           20     compiled data really brings a name and address

           21     record to life for a marketer.

           22               Now, this is a real, live consumer record

           23     off of a compiled database.        I can attest to it

           24     because it's me, it's the Wunderman household at 94

           25     Mercer Avenue in Hartsdale, New York.          I have


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            1     signed a release so that my data can be made public

            2     here today.     But just from that information, we can

            3     now geocode this record and find out its census

            4     block group, attach all the geographic information

            5     available for the census, as well as we can now

            6     construct a match code, which you see here on the

            7     right side of the screen.        That match code is the

            8     link to the compiled database by which we overlay

            9     the demographic and the psychographic information

           10     that Johnny was just earlier describing to you.

           11               Now, what happens when we do that?         This is

           12     pretty much what you get, on the Wunderman

           13     household, a fairly distinct profile of a

           14     relatively affluent middle-aged, suburban couple,

           15     dotes on their dog, is extremely mail responsive,

           16     somewhat techno savvy and lives pretty much a

           17     high-end, fairly active life style.

           18               Now, I can tell you this is a pretty

           19     accurate record.      There are two things they missed

           20     here.    They missed the registration on my husband's

           21     antique motorcycle, okay.        They are off by one

           22     category on our income; that's okay with me if it's

           23     okay with the IRS.

           24               But why do we want this data?        Why do we

           25     want this information?       As Johnny said before, it's


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            1     not because we're being nosy, it's because we're

            2     looking to establish and build a relationship with

            3     a consumer.

            4               Now, Webster defines a relationship as a

            5     connection, a bonding or a contract, and the way we

            6     build relationships for marketing purposes is

            7     really no different than the way we establish and

            8     nurture relationships in real life.          I mean, we do

            9     it through data, whether it's by factual

           10     information or observation, we're looking to

           11     establish some common ground by which we can create

           12     a meaningful, relevant communication to gain that

           13     connection.

           14               Now, I will tell you that the way it's done

           15     by general advertisers is different from the way we

           16     do it as direct marketers.        In fact, it's the exact

           17     opposite.

           18               As a general advertiser, I'm looking for

           19     large numbers of people with something in common.

           20     Maybe I'm targeting women, 25 to 49, maybe some

           21     broad-based income qualifier.         I'm going to talk to

           22     them based on what it is these women have in

           23     common.     Or at least I think they have in common.

           24               Now, the issue is just because these are

           25     women largely of child-bearing age doesn't


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            1     necessarily mean they have kids, but when I'm

            2     spending $7 to $10 a thousand to reach them on TV

            3     or maybe $20 to $30 a thousand to reach them in

            4     print, I can afford to have a certain amount of

            5     misses there.

            6               But it's very different when you're a

            7     direct marketer.      I may be spending $500 or $1,000

            8     a thousand to reach somebody at an individual or at

            9     a household level.

           10               So, I'm going to be much more stringent and

           11     rigorous when I look at and evaluate the success of

           12     that communication.       I'm not looking for soft

           13     measures like awareness or reach and frequency, I'm

           14     looking for that household to take a specific

           15     action, and I'm going to valuate the cost

           16     efficiency of that action based on return on

           17     investment.

           18               So, I've got to be much more precise in my

           19     ability to target that household and develop a

           20     meaningful, relevant communication so I can capture

           21     their attention and do it quickly.

           22               So, we've learned over the years as direct

           23     marketers a very important principle over the

           24     years, and that is that people's differences are

           25     more important than their similarities.


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            1               Now, what do I mean by that concept?          I

            2     mean that what it is when you're studying a group

            3     that sets them apart from everybody else is more

            4     important than what it is that the people in that

            5     group have in common with each other.

            6               So, the differences are more important than

            7     their similarities, and they respond better when

            8     those differences are recognized.

            9               Now, here's what I mean by differences.

           10     It's all the data we've been talking about.           It

           11     might be geographic, could be climate, market size,

           12     it might be demographic, life stage or life stage

           13     change, you know, maybe I just got a new spouse,

           14     got a new house, got a new baby, preferably in that

           15     order.

           16               It could be psychographic information,

           17     hobbies and interests we've been talking about, or

           18     it could be your purchase history.          Now, we haven't

           19     talked a lot about that, but that purchase history

           20     could be self reported that I got off of some kind

           21     of a survey, or it could be the purchase history

           22     that a marketer captures and utilizes in their own

           23     database.

           24               And normally when we talk about this, we

           25     talk about the recency, the frequency, the monetary


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            1     value segments as a marketer.         And I will tell you

            2     this is incredibly powerful information from a

            3     segmentation standpoint.

            4                So, I might talk to you differently if

            5     you're a new customer versus a tenured customer.

            6     I'll not only talk to you differently, but I'll

            7     invest differentially if you're a high-value versus

            8     a low-value customer, and I'll have an entirely

            9     different contact strategy, frequency of the kind

           10     of offers I'm going to send you, if I happen to

           11     know that you're a loyal customer as opposed to a

           12     competitive switcher.

           13                Now, as I said, this behavioral information

           14     is incredibly important to marketers, and it works

           15     terrificly, if you have it.        But you don't always

           16     have it.     I mean, it's great if I'm talking to a

           17     group of customers that have been with me a long

           18     time and I have a lot of data on those people, it's

           19     an established product, it's a proven offer, but

           20     what do I do in a situation when I'm trying to

           21     attract new prospects into the base?          I don't have

           22     a lot of data about their purchase behavior,

           23     particularly about what they're buying from my

           24     competitors.

           25                What about if I'm trying to spend on my new


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            1     customers based on their potential to become

            2     high-value customers every time.         Not much there in

            3     my database about these people.         Or if I've got

            4     some test market results that I've done with new

            5     offers, new products, I know in aggregate how

            6     people are likely to respond, but I've got to think

            7     about who do I target with those offers because I

            8     don't have that response information on everybody

            9     in my database.

           10               So, what do we do?      We use surrogate data.

           11     We use surrogate data as a bridge to help us be

           12     able to apply that behavioral information to

           13     another universe.

           14               Now, the most important data that we tend

           15     to use as surrogates is this compiled information

           16     we're talking about today, because there's a very

           17     important criterion that data has to be as

           18     available on the target audience that I'm studying

           19     as the application universe that I'm applying it

           20     to.   And the compiled data is virtually available

           21     on just about every household in the U.S.

           22               So, what I am going to do is I am going to

           23     use my behavioral data in my own customer database

           24     to define a target.       I'm then going to use the

           25     bridge data, the compiled data to describe the


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            1     target and create a profile, and then I'm going to

            2     use that profile to help me find lookalikes in some

            3     larger application base.

            4               So, let me show you schematically how this

            5     works.    I'm a marketer and I have defined a target

            6     as my high-value customers, however I define it,

            7     profits, revenues, purchase frequency, et cetera.

            8     And my goal is that I'm looking to identify

            9     prospects in the population who have a high

           10     potential to become high-value customers every

           11     time, I want to track them into my base.

           12               So what do I do?      I'm going to study how do

           13     these high-value buyers look different from

           14     everybody else in the U.S.?        And the data I'm going

           15     to use to do that is all the demographic

           16     information, the psychographic information, and I

           17     will tell you the coverage on the psychographics

           18     does not tend to be as large as some of the other

           19     data, so it doesn't often enter these statistical

           20     analyses, but we use it and we see if it's

           21     predictive.     The geographic data and the census

           22     information, all to help me understand what is it

           23     about this group that makes it look different from

           24     everybody else.

           25               I'm going to overlay statistical tools so


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            1     that I can really quantify which of these

            2     differences are statistically significant in

            3     identifying this target.        I'm going to look at the

            4     interaction and the relative weight or strength of

            5     those variables, and I'm going to apply it back to

            6     a broader universe, in this case, the U.S.

            7     population.

            8               Every household gets this -- every

            9     household gets a score, excuse me, and the highest

           10     scores are the most likely to generate and to

           11     exhibit that target behavior.         Those at the bottom

           12     are least likely to become your high-value

           13     customer, and this is nothing more than a planning

           14     tool.    Okay, I'm going to penetrate that universe

           15     of U.S. population based on my volume objectives,

           16     my budget limitations, whatever.

           17               Now, I think it's important for you to

           18     understand as we talk about these concepts, where

           19     the predictive value of that data comes from.

           20     Okay, and I promise, no formulas, you don't need to

           21     be -- have a degree in applied statistics, it's a

           22     very simplistic example.

           23               I'm just going to use marital status and

           24     I'm only going to give it two values.          So, here I

           25     am studying my high value-customers, all right, and


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            1     I'm looking at them and I see well, big deal,

            2     they're just as likely to be married as they are to

            3     be single, that doesn't tell me much of anything,

            4     does it?     How do I target anything based on this

            5     information, how do I talk to them based on this

            6     data?

            7                Well, guess what?     I compared them to the

            8     U.S. population, and they're twice as likely to be

            9     single as the rest of the population at large.

           10     Now, take this predictive value, multiply it times

           11     another half dozen to a dozen variables, you start

           12     to see where the power of these statistical tools

           13     comes from.

           14                So, how do we use these tools?       Well, we

           15     use them to help drive differential contact

           16     strategies.     Who do we target, when do we target

           17     them, how do we target them so that we're more

           18     efficiently reaching them with more relevant

           19     communications across the entire life cycle of the

           20     customer.     From acquisition to value stimulation,

           21     all the way to eventual retention and

           22     re-activation.

           23                So, for instance, I'm going to rank my

           24     customer database based on this information, and

           25     I'm going to spend differentially based on the


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            1     probability of these people being high-value

            2     customers, the repeat sales, cost sale, up sale,

            3     I'm also going to apply it as well to my customer

            4     information applications.        Maybe I'm even going to

            5     develop new services for high priority customers.

            6               I can overlay this data on any vertical or

            7     apply it out from a compiled database, I can use

            8     this for direct sale or regeneration offers.            Also

            9     remember, that because this tool is developed at an

           10     individual household level, I can aggregate it back

           11     up to any level of geography.

           12               So, for local support programs where

           13     there's a retail trading area or there's a sales

           14     territory, it become a very useful tool to

           15     prioritize differential media and households for

           16     these purposes.

           17               It's easy to apply them to any form of

           18     addressable media, those that are available today,

           19     such as selective binding, addressable cable and

           20     satellite, some of the Internet applications you

           21     can hear about later this afternoon, and those

           22     that, you know, we've hardly thought about in the

           23     future, wireless, interactive television and things

           24     that haven't even been invented yet today.

           25               And these tools can also be used as a


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            1     planning template, we can bridge them into

            2     syndicated research bases, such as Scarborough,

            3     MRI, Simmons, Nielsen, and help us optimize the

            4     value of our mass media, of our print and our

            5     broadcast spending.

            6               So, all of this is based on our study of a

            7     high potential end user.

            8               So, what does this do for us in the end?          I

            9     mean, basically it helps marketers invest their

           10     marketing dollars smarter, more efficiently

           11     reaching customers across virtually every channel,

           12     and for consumers, it means hopefully you receive

           13     more of the offers you want, and fewer of the

           14     offers that you don't.       And that to us is a win-win

           15     for everybody.      Thank you.

           16               MS. CULNAN:     We've got a lot of time left,

           17     we've got about 25 minutes.        What would you like us

           18     to do?

           19               MS. ALLISON BROWN:      Do you want to take

           20     questions?

           21               MS. CULNAN:     Sure, we'll take questions.

           22     We changed our minds, we'll take some questions.

           23     And there's a microphone over here, so I think

           24     Jason Catlett has a question.

           25               And then if you would address your question


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            1     to one of the panelists, if that's your preference,

            2     please do so.

            3               MR. CATLETT:     May I address it to you,

            4     ma'am?

            5               MS. CULNAN:     You may.

            6               MR. CATLIN:     Hello, this is called the

            7     bleeding edge of technology.         Well, I don't think

            8     it's doing anything, but I'm going to hold it here

            9     anyway.

           10               Mary, you said that you were not going to

           11     address co-op databases on the basis that there are

           12     so few of them.      And I think that's like saying

           13     we're not going to address suppliers of Windows

           14     operating systems because there are so few of them.

           15     The dominant co-op database, Abacus Direct, really

           16     has enormous influence, and I think it's a model

           17     different to but very relevant here.

           18               So, could you take a minute to describe

           19     what co-op databases do?

           20               MS. CULNAN:     I may punt this to one of the

           21     panelists who have more experience.          I will say one

           22     thing, for those people that are interested in

           23     co-op databases, and particularly in Abacus Direct,

           24     their data dictionary is on the DoubleClick

           25     website, so if you go to doubleclick.com and you


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            1     click on Abacus, you can see exactly what kind of

            2     information they have acquired, and I think

            3     probably it's a really good example of

            4     transparency, assuming you know to go there and

            5     look for the data.

            6               So, because Lynn is actually running a

            7     co-op database, and again, it's not that we didn't

            8     want to talk about these because we didn't want to

            9     hide anything, but because we were doing the broad

           10     overview, we decided as a panel it would confuse

           11     things, thinking our talks would take longer if we

           12     went off and then couldn't fit it all into the

           13     slide.

           14               MS. WUNDERMAN:     I do promise that we will

           15     spend some time this afternoon talking about the

           16     co-op database model, and specifically about my

           17     company, I-Behavior, unless there's something

           18     specific to these applications that you would like

           19     to talk about now.

           20               I mean, I could go into the concept of

           21     co-op database, it's going to be a little redundant

           22     this afternoon.

           23               MR. CATLETT:     Why don't you spend 30

           24     seconds describing a co-op database.

           25               MS. WUNDERMAN:     A co-op database is formed


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            1     when marketers share their customer names and

            2     related buying information in order to gain access

            3     to names of qualified prospects as well as

            4     additional data on their customers that might

            5     otherwise be unavailable for them to market and to

            6     build their business.

            7               So, if we had, I don't know, Mary, if you

            8     could put back your first slide.

            9               MS. CULNAN:     Sure.

           10               MS. WUNDERMAN:     I mean, basically with a

           11     co-op database, if we move the consumer aside to

           12     the right and we were to create another box, what

           13     you would see is the customer databases, the

           14     compiled data would all come into a co-op database

           15     and we would have a consolidation of many customer

           16     files from marketers, publishers, catalogers,

           17     e-tailers, et cetera, all going into one database

           18     as well as it would be overlaid with the

           19     demographic or the psychographic as well as the

           20     census data we've been talking about earlier, all

           21     to form a positive record.        And that is the rich

           22     behavioral and demographic base upon which

           23     marketers would be able to do selections from that

           24     file.

           25               MR. CATLETT:     Thank you.


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            1               MS. CULNAN:     One difference I think it's

            2     important to point out, you have to be a partner in

            3     the co-op database.

            4               MS. WUNDERMAN:     Yes, you do.

            5               MS. CULNAN:     You have to put data in in

            6     order to take advantage of the data that's there,

            7     as opposed to the compiled databases where

            8     basically there's no relationship between

            9     contributing data to the database and being able to

           10     acquire data from the compiler.

           11               MS. WUNDERMAN:     Yes, and I will also say

           12     that generally that there's notification to the

           13     consumer about sharing data with trusted third

           14     parties as well as the online component, there are

           15     privacy protections as well.

           16               MS. CULNAN:     Anybody else?     There's a

           17     question toward the back.

           18               MR. TUROW:    Would you talk just a little

           19     bit about the way databases get purged, based not

           20     just on what consumers want, but also recency and

           21     the decision that certain things become obsolete

           22     and how those criteria are determined?

           23               MS. WUNDERMAN:     I want to make sure that I

           24     understand your question.        You're asking, you know,

           25     I think on -- in terms of if I have information in


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            1     a customer database about an individual's purchase

            2     behavior and over time that that data is no longer

            3     relevant?     Is that --

            4               MR. TUROW:    Yeah, how do you decide -- how

            5     do you decide at what point you purge those

            6     particular data like your sports car.          Maybe you

            7     decided to get more conservative about the car and

            8     somebody has not picked it up, do you have any kind

            9     of criteria to which to purge certain kinds of data

           10     after a certain amount of time, based on certain

           11     other criteria?

           12               MS. WUNDERMAN:     Let me say something about

           13     the compiled data and its value, because they're

           14     not going to be always 100 percent accurate.            I

           15     mean, you saw even my income on my own personal

           16     record was not accurate.        What's of greatest value

           17     with the compiled data beyond its coverage is its

           18     consistency, and when you're looking for predictive

           19     value, consistency can be even more important than

           20     sheer accuracy.

           21               So, the procedures that are in place to

           22     replace that information, the models that are done

           23     to calculate data such as income, it's consistently

           24     done even if it's inconsistent across households.

           25     So that as that data is predictive, it may be


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            1     predictive, even though it's not 100 percent

            2     accurate, but if it is predictive, it will rise to

            3     the top, and then virtually it's a numbers game.

            4               You will never be 100 percent on any

            5     particular individual or household.          What you're

            6     trying to do is increase the probability of

            7     identifying a high potential consumer.

            8               So, for one or two or, you know, any number

            9     of people, that data will still not be 100 percent

           10     accurate, it ages over time, and it's the compilers

           11     that capture that information from the various and

           12     sundry public resources or surveys that gets

           13     supplied back to us, it's accurate, it's not

           14     accurate.     But if it's still predictive, we will

           15     still work with that information.

           16               MR. SMITH:    Richard Smith with Privacy

           17     Foundation.     I have a question for Lynn.        How do I

           18     get my compiled record, just like you got yours, on

           19     the screen?

           20               MS. WUNDERMAN:     Call me.

           21               MR. SMITH:    Can everybody call you if they

           22     want to see, every consumer if they want to see

           23     this?

           24               MS. WUNDERMAN:     I'm sorry, you're asking

           25     you as a consumer, how would you get access to


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            1     information?     Well, I am not a data compiler, per

            2     se, I mean we get our data from Equifax, there are

            3     others, Experian, and First USA through their

            4     Donelly unit and Acxiom through their InFobase that

            5     supply this information, but if you as a consumer

            6     are interested in seeing your record on our

            7     database, you can request a copy of your profile

            8     and we'll supply it.

            9               MR. SMITH:     Do these companies, compiler

           10     companies generally allow consumers to look at this

           11     kind of data?

           12               MS. WUNDERMAN:     You know, I --

           13     not being a compiler.       I would have to say in

           14     today's marketing environment, they should, but I

           15     cannot tell you.       Certainly the data that comes,

           16     for instance, from a credit bureau, and the credit

           17     bureau information gets channeled as part of

           18     Equifax and that gets channeled into the Polk

           19     Database, as a credit bureau, you need to be able

           20     to provide consumers with access to that data, but

           21     I'm not familiar with the policies of each and

           22     every compiler.

           23               MR. SMITH:     Thank you.

           24               MS. CULNAN:     Okay, I think we're going to

           25     take a break and you want to break for -- you're


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            1     going to let the people running this set the rules.

            2     Thank you.

            3               MR. WINSTON:     This is kind of a unique

            4     situation, we're actually ending a little early,

            5     but that gives us a little more time for lunch.

            6     So, if we could break until about 10:15, and I want

            7     to thank the panelists and the Magazine Publishers

            8     of America.

            9               (Applause.)

           10               MR. WINSTON:     Also, thank you to the

           11     Magazine Publishers of America for supplying our

           12     repast out there.

           13               (Pause in the proceedings.)

           14

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            1                                 SESSION TWO

            2                    CONSUMER DATA:       WHAT IS IT?

            3                         WHERE DOES IT COME FROM?

            4                     -       -      -    -     -    -

            5               MS. ALLISON BROWN:        Hi, I'm Allison Brown,

            6     I'm an attorney in the FTC's Bureau of Consumer

            7     Protection, and I'll be the moderator for Session

            8     2, entitled Consumer Data:          What Is It?    Where Does

            9     It Come From?

           10               The overview that we just heard has

           11     provided us with a brief look at data merger and

           12     exchange.     Now we will begin a series of in-depth

           13     panel discussions about these practices.

           14               This panel discussion will focus on the

           15     original sources of consumer information, and we

           16     have five very experienced and knowledgable

           17     panelists with us today for the discussion.            We

           18     will also have about ten minutes at the end of the

           19     panel for the audience to ask questions.

           20               If you're sitting in an overflow room and

           21     you want to ask a question, please come up to the

           22     doorway on the main room here on the fourth floor

           23     at about 11:20 and we'll have a wireless microphone

           24     here so that you will be able to ask the panelists

           25     your questions.


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            1                I will now introduce each person on the

            2     panel and ask the panelist to spend about three

            3     minutes to provide a brief introduction to the

            4     sources of consumer data that businesses use.

            5                C. Win Billingsley is the Chief Privacy

            6     Officer of Naviant, Inc.        Naviant is a provider of

            7     marketing tools and integration methodology for

            8     online and offline environments.

            9                Win, please go ahead with your introductory

           10     remarks now and I'll introduce the other panelists

           11     in turn.

           12                MR. BILLINGSLEY:     Okay.   Naviant is a

           13     leading provider of integrated precision marketing

           14     tools, for both online and offline environments.

           15     So, we really integrate the virtual world with the

           16     physical world.

           17                This capability enables marketers to

           18     identify, reach and build relationships with online

           19     consumers.     So, to probably state that in a form

           20     that is more meaningful to you, Naviant has a

           21     database of about 30 million households that are

           22     Internet-enabled.

           23                So, our niche is a database of people who

           24     have the capability to buy products and services on

           25     the Internet.     This data is collected primarily


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            1     through product registration data, and we'll talk a

            2     little bit more about that in the session on how

            3     this actually occurs.

            4               The data is fully permissioned.         We only

            5     want people in our marketing database that

            6     permission us to do so.       You know, an individual or

            7     an Internet user that does not want to participate

            8     in Naviant's database is not included in the

            9     database.

           10               And then there are other processes that we

           11     have in place to make sure that our data is

           12     accurate and as useful as possible.

           13               MS. ALLISON BROWN:      Okay, Elisabeth Brown

           14     is Senior Vice President of Product Strategy for

           15     Claritas.     Ms. Brown oversees the development of

           16     new data products and services, including

           17     demographic, cartographic and segmentation systems,

           18     and the management of the software and applications

           19     that are delivered to Claritas clients.

           20               Ms. Brown?

           21               MS. ELISABETH BROWN:      Thank you.     One

           22     comment, too, I have actually been not only am I a

           23     member of the club, but I have been a client, so I

           24     was actually a client of the Claritas marketing

           25     products and services before I joined the company.


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            1     So, I do have a little bit of perspective on how it

            2     can be used and how we used it when I was at the

            3     Prudential Insurance Company.

            4               Claritas is a marketing information company

            5     that has been in business for over 30 years, which

            6     makes us one of the more mature companies in this

            7     industry -- as evidenced by a recent Wall Street

            8     Journal article that referred to Claritas as the

            9     granddaddy of demographic providers.

           10               Claritas serves companies in financial

           11     services, telecommunications, energy, automotive,

           12     retail, restaurant and real estate industries, and

           13     we have clients ranging from the top Fortune 500

           14     companies to small, independent consultants.

           15               I'll just give you a little bit of

           16     background.     Over 30 years ago, Claritas' founder,

           17     Jonathan Robbin, who was a Harvard social

           18     scientist, was analyzing U.S. Census data and

           19     settlement patterns.       He hypothesized that American

           20     neighborhoods reflected the old adage that birds of

           21     a feather flock together, and therefore, the

           22     products and services that Americans consumed could

           23     be predicted simply by knowing summary level

           24     demographic information about the area, or "you are

           25     where you live."


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            1               This was referred to in the first slide as

            2     geodemography.      Thirty years later, our models have

            3     become more sophisticated and are able to dissect

            4     markets at a much lower level of geography, but

            5     that same old basic premise still holds true that

            6     by knowing some small amount of demographic

            7     information, you can infer or predict the

            8     likelihood that a household will be interested in

            9     the products and services that you're offering.

           10               So, we provide demographics and other

           11     consumer and business data on multiple levels of

           12     geography, delivered through our various mapping

           13     and marketing application software platforms.

           14               We are probably most well known for our

           15     consumer segmentation systems, for example, Prism,

           16     which was also identified earlier when Mary was

           17     speaking about Winner's Circle and what some of the

           18     attributes of a neighborhood would be that would be

           19     tagged as Winner's Circle across the country.            Our

           20     consumer product demand estimates that our clients

           21     use to more efficiently market their targeted

           22     customers and prospects, which you could refer to

           23     as surrogate or inferred data.

           24               Claritas data and services are used for

           25     broad marketing functions such as tracking new


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            1     customers, retaining current customers, determining

            2     site locations and appropriate sales and marketing

            3     distribution channels, and we help with more

            4     efficient reach strategies and media planning.

            5               So, basically, Claritas marketing

            6     information helps our clients offer the right

            7     products and services in the most appealing way to

            8     the consumers and prospects.        We provide basically

            9     the benchmark information or the total universe

           10     data that our customers can use to compare their

           11     current customers and markets against so that they

           12     can make better marketing decisions.          Thank you.

           13               MS. ALLISON BROWN:      Next we have Paula

           14     Bruening who is Staff Counsel for the Center for

           15     Democracy and Technology.        The Center for Democracy

           16     and Technology is a non-profit public interest

           17     organization that seeks practical solutions for

           18     enhanced free expression and privacy in global

           19     communications technologies.

           20               MS. BRUENING:     Thank you.

           21               CDT has been asked today to discuss the

           22     issue of public records as a source of information

           23     about individuals from a factual basis, and as many

           24     of you know, CDT generally has a specific viewpoint

           25     on this issue.      I will talk today about the factual


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            1     basis in my opening remarks and then any other

            2     comments will be reserved for the Q&A, but I would

            3     like to encourage the FTC to go to the state level

            4     and to some other resources and some organizations

            5     that are doing work on this issue, because I think

            6     some of the really difficult work on how the

            7     information is collected and how it is being used

            8     specifically is being done at the state level.            And

            9     I'm happy to give the FTC that information.

           10               Public records maintained by government

           11     agencies disclose a vast array of detail about an

           12     individual's life, activities and personal

           13     characteristics.      At the federal level, most

           14     personal information is not available to the

           15     public, because of the privacy exemption in the

           16     Freedom of Information Act and the Privacy Act of

           17     1974.

           18               However, bankruptcy records are an

           19     important exception to this rule and are maintained

           20     by the federal courts.       These records are a source

           21     of detailed financial information, and the

           22     sensitivity of that information has been recognized

           23     by the Office of Management and Budget, which has

           24     produced a study on this issue called Financial

           25     Privacy in Bankruptcy:       A Case Study on Privacy in


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            1     Public and Judicial Records.

            2                At the state and local level, however, the

            3     types of records that are maintained are different,

            4     and the laws and policies governing records yield

            5     disparate acts and disclosure practices, but it is

            6     possible to construct a detailed profile about an

            7     individual from public records.

            8                And while I will spare all of you the

            9     exhaustive list of all the sources of information,

           10     I'll name a few:      Name and address information come

           11     from voting records; land titles are a source of

           12     home ownership information; property taxes can give

           13     you assessed value of homes; birth and death

           14     records give you information about an individual's

           15     parents.

           16                The list goes on, there are occupational

           17     license records, motor vehicle records that can

           18     tell you about an individual's make and model of an

           19     automobile, voter registration gives you party

           20     political affiliation, and hunting and fishing

           21     licenses, boat and airplane licenses can give you

           22     information about how a person likes to spend their

           23     leisure time.

           24                There may be considerably more information

           25     available in public records about an individual who


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            1     has interacted with the courts as a criminal

            2     defendant, as a plaintiff or defendant in a civil

            3     litigation, in a divorce proceeding, as a juror, as

            4     the beneficiary of a will.

            5               Public access to government records serves

            6     several important goals.        Individuals need

            7     government information to make political decisions

            8     about government programs, legislative and

            9     regulatory options, and candidates running for

           10     office.

           11               Government records also assure the

           12     accountability of individuals as in the case of

           13     business and real estate transactions.          However,

           14     it's important that public record information be

           15     used for the reasons it was collected.          This

           16     information was not meant to be searchable in a

           17     database, nor was it intended to be used in

           18     marketing.     And simply because there is a tradition

           19     of collection of information, important decisions

           20     need to be made on a case-by-case basis about the

           21     appropriateness of access to public records and the

           22     role of consumer choice.

           23               MS. ALLISON BROWN:      Thank you.

           24               Michael Pashby is Executive Vice President

           25     and General Manager for Magazine Publishers of


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            1     America where he has also served as Executive Vice

            2     President of Consumer Marketing.         Before joining

            3     the MPA, Mr. Pashby was president and publisher of

            4     Art and Antiques Magazine, vice president of

            5     circulation and new product development for Gruner

            6     + Jahr USA, and Managing Director of U.S.

            7     Operations for Marshall Cavendish.

            8               Michael?

            9               MR. PASHBY:     Thank you.    That sounded

           10     impressive.

           11               MPA represents about 85 percent of the

           12     consumer magazine -- dollar volume of the consumer

           13     magazine industry in this country, and about 85

           14     percent of all magazines are sold through the

           15     mails, using direct mailing techniques or direct

           16     marketing techniques of extremely varying

           17     sophistication.

           18               The use of credit cards in our industry is

           19     extremely small, but is now growing.          Our members

           20     strongly agree that we must protect the privacy of

           21     our readers, and I think our industry has done a

           22     very good job over the years in balancing our

           23     legitimate business interests and our consumers'

           24     reasonable expectations of privacy.

           25               Obviously we value our readers and we


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            1     wouldn't be in business without them, so our

            2     industry is constantly looking for ways to improve

            3     that service to our readers.

            4               It's important to note that when our

            5     readers ask us not to share information about them,

            6     we don't.     In the information section of most

            7     magazines, the publisher discloses that the

            8     subscription list may be rented to appropriate

            9     businesses.

           10               The magazine offers an address or toll free

           11     number so that the reader can opt out.          And many

           12     magazines are taking advantage of the Internet to

           13     inform consumers of their privacy policies, and

           14     give consumers an additional opportunity to opt

           15     out.

           16               We're very careful with respect to the

           17     customers, to the wishes of the customers who

           18     choose to opt out.      Generally when a consumer

           19     requests that publishers not share information,

           20     that publisher will not only remove the consumer

           21     from their own internal rental lists, but will

           22     refer the consumer to the DMA so that the consumer

           23     can request to be on their nation-wide do-not-mail

           24     list.

           25               That said, magazines are very good sources


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            1     for consumer data.      And the reason is very simple.

            2     More than any other medium, the choice of which

            3     magazines a consumer reads can tell a lot about a

            4     person, what a person likes, and his or her

            5     interests.

            6               In enabling our readers to get information

            7     about products and services that are of interest to

            8     them, it is advantageous to everyone.          Our readers

            9     are given more choices, they get information about

           10     products of their interest and life styles, and

           11     most importantly they're not inundated with

           12     advertisements for products they have no interest

           13     in.

           14               Businesses benefit because they can target

           15     their advertising to consumers who are most likely

           16     to be interested in their products, saving them

           17     time and money.      And for magazines, with a cost of

           18     mailing now between 65 cents and a dollar per

           19     piece, and that's before the Post Office applies

           20     for its newest rate increase this June, the cost of

           21     acquiring a consumer, when the response rates are

           22     in the low single digits, and in a very competitive

           23     market, is extremely expensive.

           24               But sharing information only works if it's

           25     beneficial to everyone.       Our magazine subscriber


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            1     lists are our most important and valuable assets,

            2     our readers do not want to get advertisements for

            3     products they don't care about, so the magazine

            4     industry is selective about letting advertisers use

            5     their lists.

            6               If a business intends to mail a

            7     solicitation to a consumer, magazine staff review

            8     that promotion to ensure its use is appropriate.

            9     Most magazine publishers will not rent their list

           10     to telemarketers because they have little control

           11     over how the list is used, but if lists are rented,

           12     we expect magazine staff to review the

           13     telemarketing script.

           14               And very importantly, the list is rented,

           15     it's not sold.      That means the advertiser can use

           16     it only one time.      And publishers, as a general

           17     course, see their lists and track how that list is

           18     used.

           19               Thank you for inviting us again.

           20               MS. ALLISON BROWN:      Thank you.

           21               Our final panelist is Ted Wham.         Ted is the

           22     President of Database Marketing for the Internet, a

           23     sole proprietorship consulting practice.           His

           24     career has been concentrated in the direct and

           25     database marketing industries, focusing most


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            1     recently on Internet-enabled marketing

            2     applications.

            3               Ted?

            4               MR. WHAM:    The benefit of having the last

            5     name of Wham is that although I am always at the

            6     end of the line, I always get to hear what

            7     everybody says before me and tailor my comments to

            8     help amplify on those areas as well.

            9               Database Marketing is an independent

           10     consultancy that consists of myself as an

           11     independent business person working out of my home,

           12     and billing my cat at very low billable rates, I

           13     have had an opportunity to work with organizations

           14     such as Viacom Division, Curriculum Corporation,

           15     Hewlett Packard, I have worked with Cisco Systems

           16     here recently, NCR and so forth, helping them

           17     formulate Internet privacy strategies and also how

           18     to use information about consumers for part of

           19     their contact strategies.

           20               In general, the information which is

           21     available about consumers in the United States

           22     starts from very gross aggregate levels, compiled

           23     information which is largely demographic

           24     information, and as Ms. Wunderman explained in the

           25     session immediately before this one, to a lesser


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            1     extent psychographic information.

            2               You move from that into information which

            3     is available from a wide range of public records,

            4     such as the ones that Ms. Bruening referred to, and

            5     ones that I have personal experience with as being

            6     on the receiving side of some of the solicitations

            7     for there.

            8               That's important because those public

            9     records the consumer doesn't have much choice in

           10     terms of their participation in those lists, it's

           11     an obligatory process.       If I want to vote, I have

           12     to register to vote, and if I register to vote,

           13     those public records are then going to be available

           14     for purposes unrelated to my voting, and, you know,

           15     that's kind of the way it is.

           16               There is then a second tier, and that is

           17     government supported monopolies, and those

           18     monopolies are, because they're either a natural

           19     monopoly such as the provision of your gas service

           20     or your telephone service, and for instance white

           21     pages, telephone white pages are a major source of

           22     compiled list information, but there's also

           23     government supported monopolies in the form of

           24     patent protection and copyright protection, which

           25     gives a form of a unique ability to sell a product.


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            1               So, for instance, if I want to operate with

            2     a computer operating system called Windows, I have

            3     to support the patent and copyright protections

            4     available from Microsoft until those patents run

            5     out, and I have to use that information and

            6     Microsoft has that and has the opportunity to share

            7     that information, if that is their business

            8     practice to do so.

            9               There is a whole range of different

           10     products from drugs that you have to take to the

           11     type of services that you buy and so forth, where

           12     that government-mandated protection is there.            For

           13     monopolistic practice it serves a public good in

           14     terms of inspiring innovation.

           15               The last area is information which is in a

           16     much more competitive area.        I can go to any of a

           17     number of different retailers to buy clothing, for

           18     instance, and the retailers when I make that

           19     purchase are going to collect various amounts of

           20     information.

           21               So, if I buy at Sears, that may be a

           22     largely anonymous transaction, especially if I make

           23     it in a cash basis.       If I do it through a credit

           24     card, they may have more information, and some

           25     retailers through a traditional retail environment


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            1     such as Radio Shack actually will ask you for

            2     information about your name and address, and

            3     collect that information online.

            4                Other businesses who run their business

            5     model through a mail order process such as Lands

            6     End and J. Crew and so forth become much, much more

            7     adept at collecting very specific information about

            8     you because what you've bought in the past becomes

            9     most predictive about what you will buy in the

           10     future.     It's dramatically better than demographic

           11     information, dramatically better than any

           12     information you're going to get from public

           13     records.

           14                If I bought something from J. Crew in the

           15     past, I will be better than any prospect that they

           16     can find to buy stuff from them in the future.

           17                But there's an opportunity for a consumer

           18     to make a choice in those purchases on whether

           19     they're going to choose retailer A versus retailer

           20     B, and so there's an opportunity for control there.

           21                So, in looking at this, I think it's

           22     important to look at the spectrum of how that

           23     information is collected in terms of the consumer's

           24     ability to control the use of that information

           25     downstream.


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            1               MS. ALLISON BROWN:      Now that you've heard a

            2     brief introduction to the sources of consumer data

            3     that businesses use, I'm going to ask our panelists

            4     some questions so that we can learn some more

            5     specifics.

            6               Win, what data elements does your business

            7     collect about consumers and how do you collect the

            8     information?

            9               MR. BILLINGSLEY:      Most of us have done a

           10     product registration or a software application

           11     registration, and it's very important for the

           12     manufacturer of that product to get to know who

           13     their end user customers are, because all of them

           14     distribute their products and services through some

           15     intermediary.     So, they're really isolated from who

           16     their end user customers are.

           17               The way they try to solve that problem, and

           18     also to provide customer support and service, is

           19     through a registration process.         So, Naviant

           20     provides software that is used by companies that

           21     manufacture computer hardware and software products

           22     to facilitate that registration.

           23               So, the data that we collect for the

           24     company includes all the information that we've all

           25     seen on those product registration forms, but the


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            1     only data that Naviant really uses that goes

            2     forward into a marketing database is the name and

            3     the address, and the fact that this is an

            4     Internet-enabled household.

            5                And that's really what we focus on and what

            6     we collect.      The other information is analyzed

            7     statistically and then passed back to the

            8     manufacturer, and they can use it for various

            9     business purposes to know who their customers are.

           10                So, name and address, and the fact that

           11     this individual is Internet-enabled is key to

           12     our -- that's where the cycle starts with Naviant.

           13                MS. ALLISON BROWN:     What other data

           14     elements do businesses collect about consumers and

           15     how are they collected?       Anybody?    You can just

           16     either raise your hand or put your tent card on its

           17     side?     Ted?

           18                MR. WHAM:   Yeah, I forgot the tent card on

           19     its side, I don't live in Washington, D.C.           That's

           20     a rule.

           21                Businesses often times have an insatiable

           22     demand for information.       They would collect as much

           23     information as the consumer will spend time to

           24     provide for them.      In fact, one of the services

           25     that I provide to my consulting clients is that I


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            1     will get the question, How much can we ask on a

            2     registration process or in a survey process or

            3     through a purchasing application before the

            4     consumer is finally going to go Aye, "I don't want

            5     to do this anymore" and will bottom out of that,

            6     and they will test that very aggressively and try

            7     several different formats.        If we ask this extra

            8     question, what's going to happen here?          If I format

            9     this as a drop-down question instead of a radio

           10     button, what happens here and so forth.           They will

           11     collect as much information as they can until they

           12     reach a point where the collection of that

           13     information degrades completion of the desired

           14     task.

           15                MS. ALLISON BROWN:     Betsy?

           16                MS. ELISABETH BROWN:     One of the things

           17     that I didn't go over specifically is that there

           18     are lots of sources of public information out

           19     there, including the U.S. Census data, which is

           20     pretty hot right now since it's been recently

           21     updated.

           22                Many companies are trying to get at this

           23     information because it's a very good source for

           24     benchmark information to understand sort of the lay

           25     of the land.     And when we talk about benchmark


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            1     information, there's a lot of other domain

            2     information, public domain information that is also

            3     collected and used by businesses.

            4                Just from my experience at Claritas and my

            5     experience with some of these customers, they

            6     really do use a variety of information for

            7     different business purposes, and from what we've

            8     seen, we -- at Claritas, we try to assist them by

            9     updating the demographic information annually so

           10     they do have these benchmarks and we use lots of

           11     different input sources, including consumer surveys

           12     that are out there, you may have heard of people

           13     like Simmons Market Research Bureau, Mediamark,

           14     Nielsen Net Ratings, Scarborough, all of these are

           15     collected with consumer consent, they're pretty

           16     much anonymized in terms of you never really know

           17     who these individual consumers are.          Basically that

           18     data is used and compiled and turned into models

           19     that really say if the person is in this

           20     demographic characteristic, they have a higher

           21     likelihood than average to do these behaviors.

           22                Some of the magazine data is used that way

           23     as well.     You can either use the individual

           24     registration data or pretty much the anonymized

           25     version which gives you the, quote, profile.


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            1               So, there are many, many databases that

            2     Claritas and other companies produce and put out

            3     there, and the only way that information is linked

            4     back to a customer record is through an inferred

            5     modeling process, which either takes into account

            6     what we believe their demographics to be, or

            7     something as simple as the zip code or zip plus

            8     four in which they live.

            9               MS. ALLISON BROWN:      And can you be a little

           10     more specific about the types of information that

           11     Claritas gets from surveys, you know, either

           12     through Simmons or through its own surveys?

           13               MS. ELISABETH BROWN:      Depending on the

           14     panel, Simmons and Mediamark Research have various

           15     surveys that they put out there, some of them are

           16     books of information that ask everything from how

           17     much peanut butter do you eat a week, to what

           18     brands do you prefer, what media you like, how

           19     often do you spend in front of the television.

           20               A.C. Nielsen actually captures specific

           21     readership and views of which television programs

           22     and what day parts in terms of which actual

           23     physical programs you're watching.          And a lot of

           24     that data, again, it's all consumers are signing up

           25     for these panels.      That's the panel type of


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            1     research.

            2               In addition, there's other types of

            3     research which is more of the research where you're

            4     calling up people on the telephone or just sending

            5     them a direct mail package and asking them

            6     something more specific about the financial

            7     services that they're using, or the types of

            8     Internet services they have and that type of

            9     nature.

           10               Once again, most of this data, what happens

           11     is that all the data is collected at a household

           12     level, but when it's modeled and analyzed, it's

           13     analyzed in terms of demographic characteristics or

           14     segmentation codes and not -- those people that

           15     participate in the panel, that data is never used

           16     for specific marketing purposes back to those

           17     individuals.

           18               MS. ALLISON BROWN:      Thank you.    Paula?

           19               MS. BRUENING:     Yes, I just wanted to talk a

           20     little bit about business use of public record

           21     information, and clearly the kinds of information

           22     that I talked about in my opening remarks are

           23     valuable to businesses in their marketing pursuits.

           24               The problem comes with the fact that the

           25     information has been given up by the individual, is


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            1     given up so that they can participate, as Ted Wham

            2     said, in some very basic functions of life.           They

            3     want to drive a car, they want to buy a house.

            4     They've had a baby.        Someone's been born or died in

            5     the family.     Someone's received money in a will.

            6               And I think that to say that Well, that's

            7     being used for other purposes, and that's just the

            8     way it is, I think is a -- is not a really very

            9     thorough analysis.        I think that if anything, what

           10     the information age, computerization, will allow us

           11     to do is give us an opportunity to re-examine those

           12     uses to decide whether those are appropriate,

           13     whether we can limit the access to that

           14     information, to the -- to something closer to what

           15     the initial collection was intended for.

           16               MS. ALLISON BROWN:      Are there currently any

           17     restrictions on the use of public record data for

           18     marketing?     Anybody?

           19               MR. WHAM:    There's one large restriction

           20     that I am familiar with and that is recently there

           21     was legislation passed at the federal level which

           22     gives consumers an opportunity to opt out of having

           23     their information about their automobile

           24     registration used for marketing purposes.

           25               MS. BRUENING:      That's opt in.


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            1               MR. WHAM:     Opt in, opt out, excuse me,

            2     okay.    So, but it was very, very significant,

            3     because prior to that legislation 46 of 50 states

            4     made their consumer automobile registration

            5     information available to the list rental

            6     marketplace, and what type of car you own and drive

            7     is extremely predictive of your household income.

            8     It's one of the most predictive items.

            9               And so if I wanted to drive a car in the

           10     state of California, I didn't have any choice, that

           11     information was going to make it into R. L. Polk's

           12     database.

           13               That's an example where there have been

           14     some restrictions recently.

           15               MS. ALLISON BROWN:      Michael, I think you've

           16     been wanting to say something?

           17               MR. PASHBY:     I was just going to say the

           18     magazines themselves collect a relatively small

           19     amount of information about their consumers.            The

           20     sort of information that they have is the date of

           21     purchase, the source of purchase, whether it's by

           22     the telephone or from a magazine previously bought,

           23     whether it's through direct mail.         The number of

           24     times they've purchased, the value of the purchase.

           25               That's the basic information that a single


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            1     magazine would have, that information can become

            2     more valuable if you're a multimagazine publisher

            3     or you have other lines of publishing so you can

            4     then create a broader profile of the person if

            5     they're also buying books or magazines in different

            6     interests.

            7               But the interesting thing about magazines,

            8     is that on a -- say a broad interest magazine, one

            9     of the seven sisters, when a publisher is trying to

           10     promote to the consumer, probably the most useful

           11     type of information that the publisher will have is

           12     cluster information.       If a person is of a certain

           13     age and lives in a certain area, that their

           14     neighbors may be likely to buy the same magazine.

           15               The more specialized you get in a magazine,

           16     let's take a woodworking magazine, just because a

           17     person lives next door to someone who buys a

           18     woodworking magazine, there is absolutely no reason

           19     to suppose that the other person would want to buy

           20     one.

           21               So, the use of the use of data for the

           22     small -- the small publisher, the small business,

           23     is becoming far more important.         We used to have

           24     something, until a couple of years ago, called

           25     Publishers Clearinghouse and American Family


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            1     Publishers, which mailed into every household in

            2     the country, and the consumer could self select

            3     their magazines.

            4               Nowadays, those mailings are a thing of the

            5     past.    And information to a publisher has become

            6     far more important, to be able to target their

            7     consumers.

            8               MS. ALLISON BROWN:      Betsy?

            9               MS. ELISABETH BROWN:      There are fairly

           10     significant restrictions on credit card information

           11     and data that's used to actually make specific

           12     financial offers, from the list compiler companies,

           13     like Equifax and Experian.        And although I don't

           14     represent those companies, I'm not well versed in

           15     specifically what those criteria are, the financial

           16     services companies that we've worked with, they can

           17     only use certain information if they're actually

           18     making a credit offer, where they are willing to do

           19     a pre-approved credit offer, which means that they

           20     are going to say because I have pulled this

           21     information on you, I'm willing to say that I will

           22     guarantee that if I make this offer, you can have

           23     this product.

           24               And that data cannot be used by another

           25     portion of the bank to make another type of offer,


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            1     whether or not extending credit.         So, those

            2     protections are in place, I don't have all the

            3     details about all the specifics, but it's important

            4     to know that they're out there.

            5               MS. ALLISON BROWN:      Right, and the FTC is

            6     very familiar with the Fair Credit Reporting Act

            7     and the restrictions on credit data, so that's

            8     useful to know, although we are focusing here on

            9     data that's not being used for credit decisions.

           10               Paula?

           11               MS. BRUENING:     Yes, I just wanted to go

           12     back to the Driver's Privacy Protection Act.            I

           13     think that that piece of legislation really

           14     reflects heightened consumer concern about the

           15     incompatible use of this public record information,

           16     and it is a response to that.

           17               And I think what it does is really offer to

           18     individuals who are participating in these basic

           19     life experiences, the same kinds of choice that we

           20     have come to expect in the commercial realm.            We

           21     require notice and choice when we're doing business

           22     now with a website, or with an organization, and

           23     something -- legislation like the Driver's Privacy

           24     Protection Act offers that same kind of consumer

           25     choice, which I think is critical here.


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            1               MS. ALLISON BROWN:      Ted?

            2               MR. WHAM:    Just a couple of concepts I

            3     would like to throw out there, and I would like to

            4     pierce a couple of notions about what's happening

            5     with data out there.

            6               There is certainly data just being

            7     collected in a permissioned basis.          There is also

            8     certainly information which is being collected

            9     which is not personally identifiable and is going

           10     through a more of an aggregation, a blending type

           11     of a process.

           12               Ms. Brown talked about some of the

           13     practices of Claritas, and Claritas uses largely,

           14     if not exclusively, nonpersonally identifiable

           15     information available from census tract records

           16     from U.S. Government surveys through the census

           17     process, but there's an immense amount of data

           18     which is collected which is not permissioned in any

           19     way, so the consumer is not being asked whether it

           20     is okay for that information to be shared with

           21     third parties, and there's an immense amount of

           22     information which is available that is, you know,

           23     personally identifiable and shared with third

           24     parties quite readily.

           25               So, I would have you think, we have an


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            1     especially erudite audience in terms of knowing how

            2     this process works, although we're all here in this

            3     workshop, I think a lot of us have an understanding

            4     walking in the door how this process works.           But if

            5     you thought back to your five most recent

            6     purchases, I would suspect that there are very few

            7     of us in this room who would know whether the

            8     companies with whom they did that transaction have

            9     a process of sharing that information with third

           10     parties, okay?

           11               So, you know, think about what you've

           12     purchased most recently, and there are many, many

           13     companies who the difference between profit and

           14     loss for those companies is made by selling their

           15     customer information to noncompetitive businesses

           16     who are going to be targeting the same type of

           17     business.

           18               So, if I'm buying a computer peripheral and

           19     it's for an obscure, you know, system, other

           20     customers that sell computer peripherals to that

           21     same obscure system in a noncompetitive way, can

           22     almost invariably buy that information.

           23               And the best example that I can give of

           24     that is the Bible for mailing lists in the United

           25     States, the Standard Rates and Data System, SRDS.


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            1     I have a friend who is a list compiler, and before

            2     this session, I called her and I said, How many

            3     pages is that book these days?           And the current

            4     volume exceeds 3,500 pages.        Something on the order

            5     of 100,000 distinct mailing lists are available for

            6     rental in the United States.        Most of those, the

            7     majority of those, with distinct personally

            8     identifiable information in them.

            9               MS. ALLISON BROWN:      Win?

           10               MR. BILLINGSLEY:      I would just like to make

           11     one other point and discuss an anomaly that we face

           12     in our data collection process, in processing

           13     warranty information.       Some of that data is

           14     collected via a web browser technology, fully

           15     Internet-based, and clearly when you collect data

           16     using that methodology, it comes under the fair

           17     information principles of notice, choice, access,

           18     security and enforcement, but there is also a large

           19     portion of that data that's not collected using

           20     browser-based technology.        It's collected using a

           21     dial-up, a synchronous modem capability with an

           22     application that is loaded in the PC.

           23               So, some people would make the contention

           24     that since you're not on the Internet, that is

           25     offline data.     Now, you know, we have struggled


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            1     with how to deal with that issue, and the way we

            2     resolve it in Naviant is we treat data collected by

            3     either one of those two methods by the more

            4     rigorous online marketing data collection rules,

            5     but it is an anomaly that I think should be

            6     addressed so that there is clarity provided in how

            7     people that try to collect data in an ethical and

            8     permissioned way, how they really should operate

            9     when they face these kinds of dilemmas.

           10               MS. ALLISON BROWN:      I do want to go back to

           11     some of the specifics about the data that are being

           12     collected here.      Betsy, you've talked a little bit

           13     about census blocks, zip code information, and zip

           14     plus four information.       Can you give us a sense of

           15     how many households are in a census block, versus a

           16     zip code block, versus a zip plus four?

           17               MS. ELISABETH BROWN:      Yes, a zip plus four

           18     would probably be the lowest level of geography,

           19     not even geography, because there aren't

           20     boundaries, but the lowest level at which you can

           21     compile information that's not at household level.

           22     And generally a zip plus four can have anywhere

           23     from four to ten households in it.

           24               Most of the zip plus four data that gets

           25     compiled, they have factors in there whereas if


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            1     there isn't enough information for a particular

            2     variable, that is data-filled so that you don't

            3     have any privacy issues.

            4               The next level up, a block or block group

            5     tends to have anywhere from 250 to 350 households.

            6     Zip codes can have anywhere from a few thousand to

            7     25,000.    They're not really cohesive types of

            8     geographies.     And census tracks are anywhere from

            9     1,200 and up.

           10               So, low enough levels of geography so that

           11     if you're a broad, when you're looking at some of

           12     the broad applications that we're talking about,

           13     when companies are just trying to understand the

           14     lay of the land, for example, generally zip codes,

           15     counties, census tracts are a good way for them to

           16     really understand what's going on in a marketplace,

           17     if they want to enter the marketplace or not.

           18               And what we see is that there's different

           19     levels of using some of these data.          A lot of the

           20     clients that we deal with will use a lot of this

           21     information for more of their strategic marketing

           22     purposes, and when they go out to actually

           23     implement a program, they will buy a direct mail

           24     list.

           25               The attributes that they use to understand


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            1     their total marketplace may be different than they

            2     actually use on the implemented direct mail list.

            3     And I think Lynn went over that a little bit, which

            4     is that what you'll find is that just because they

            5     know that a certain demographic characteristic is

            6     currently their, quote, best customer, when they

            7     actually go to pull the mailing list, there are

            8     many different market -- let's say environments

            9     that will cause them to maybe change a specific

           10     type of demographic that they're going after, or

           11     they'll look at a list and they'll find that the

           12     people that they most want to attract, let's say

           13     for private banking, are not direct marketing type

           14     of customers, that they really aren't going to

           15     reach them through a direct marketing list.           They

           16     don't exist much on the list, there isn't enough

           17     data on them and they're not really responsive to

           18     the list.

           19               So, I think that sometimes people believe

           20     that these companies have an enormous amount of

           21     information, which they do, but in their practice

           22     of actually rolling out marketing programs, it's

           23     not as succinct as you might think it is, that they

           24     know exactly who their targets are and they can

           25     then implement against those targets.          They have to


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            1     really use a lot of strategy and analysis to just

            2     try to reach the right person.

            3               I don't know if that's a -- there's just a

            4     lot of different ways you can use that type of

            5     information.     So, you can move from these

            6     geographic levels down to the household level, but

            7     you may not have an exact fit when you do that.

            8               MS. ALLISON BROWN:      And we heard a little

            9     bit in the overview about how businesses append

           10     data from third party databases.         Can anybody give

           11     any specific examples of what types of data

           12     businesses append to their in-house customer files?

           13               Win?

           14               MR. BILLINGSLEY:      Well, just having a name

           15     and address and a flag that says you're an Internet

           16     household is not a very effective product in terms

           17     of providing marketing lists.

           18               So, that base core of information is used

           19     to do a match with various data compilers and

           20     aggregators of information, and then we ingest

           21     certain attributes that are associated with that

           22     name and address.      And some of those attributes --

           23     and there's many -- but it would be things like

           24     income range, age range, gender, hobbies,

           25     interests, things of that nature, that we use to


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            1     embellish the marketing file so that we can do

            2     selects and generate lists that are targeted for

            3     specific products and services.

            4               MS. ALLISON BROWN:      Does anybody want to

            5     add to that?

            6               Michael?

            7               MR. PASHBY:     Generally magazines will

            8     append information slightly differently, depending

            9     on the type of magazine.        A general magazine will

           10     probably append more information or have the

           11     ability to append more information.

           12               I mean, clearly, the very basic information

           13     of age, income, family size, gender, is generally

           14     available to be appended to the -- to that list,

           15     but the more general the magazine, probably the

           16     more selections that will be made available.

           17               There are a number of companies which will

           18     take a magazine list and add information to it,

           19     creating that database, and the sort of information

           20     that can be appended is everything that's being

           21     talked about today.       Whether it be the types of

           22     cars that people own, when they bought a car, the

           23     type of house, the value of the house.

           24               There's a lot of information that can be

           25     appended, but in general, magazines tend to be the


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            1     starting -- the starting place rather than the end,

            2     with all that information appended to it, because

            3     they start -- you're starting with the general

            4     interest area, and then it is merged and purged

            5     with other lists during the marketing process.

            6               MS. ALLISON BROWN:      Thanks.    Ted?

            7               MR. WHAM:    A very typical use of appended

            8     information is to take a large universe file of all

            9     your customers and presume you're a cataloguing

           10     business that has, you know, for conversation's

           11     sake, a million customers that have done business

           12     with you over time.

           13               You take a statistically representative

           14     sample of that, of perhaps 10,000 individuals and

           15     you go and append absolutely everything to those

           16     10,000 people you can possibly get our your hands

           17     on, from income, age, whether they've got children,

           18     the age of those children, whether they're

           19     grandparents, the type of interests that they have,

           20     all of the psychographic information, everything

           21     you can get to that.

           22               And then you run that against statistical

           23     processes and say, Okay, tell me of all of these

           24     different processes, which one of these are going

           25     to be predictive of the ones I care about most.


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            1               And as Ms. Wunderman pointed out this

            2     morning, different businesses care about different

            3     things.    Some businesses want lots of transactions,

            4     some businesses need to be very concerned about

            5     turnover, loss of the customers, some long distance

            6     carriers and cellular phone carriers, for instance,

            7     are extremely interested to make certain that

            8     they're getting customers who are going to stick

            9     with them and are not switchers and so forth.              And

           10     it varies by businesses.

           11               Once they identify which of those

           12     characteristics are particularly predictive for the

           13     customers that they want, they will then go to the

           14     remaining universe, those 990,000 names that they

           15     never did anything with, and they'll go back to the

           16     original appending firm and say, Please append

           17     these two or three variables that I want.           Much

           18     more cost effective than appending all 30 or 50 or

           19     150 variables to the entire universe if only three

           20     of those are going to be productive for what you're

           21     trying to do.

           22               MS. ALLISON BROWN:      Betsy?

           23               MS. ELISABETH BROWN:      Yeah, that's a very

           24     good point.     I think one of the reasons that

           25     Claritas has been in business for 30 years is that


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            1     one of the things that we have been able to do is

            2     boil down a lot of those characteristics into

            3     segment codes, which makes it a lot easier.

            4               I mean, we have seen in the financial

            5     services arena about ten years ago, they were one

            6     of the first industries to really take customer

            7     file records that they have done, they have a very

            8     -- financial institutions tend to have a very

            9     strong relationship, we talked about what a

           10     relationship was, with their clients.          There's a

           11     lot of trust there that the clients are giving a

           12     lot of very in-depth financial information to these

           13     companies.

           14               Financial services companies are fairly

           15     conservative from what we've seen with what they do

           16     with the collected information, but in addition,

           17     they didn't really have the databases and the

           18     software capability to manipulate these gigantic

           19     files with so much information that they collect,

           20     nor did they have a good way of updating them.

           21               So, even with them collecting all of this

           22     very personal information, they tended to use

           23     companies like Claritas to help them boil it down

           24     and understand from a one code type of an aspect

           25     what can we know about these people quickly and


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            1     easily without having to look at 100 or 200

            2     different variables that we've collected over time.

            3               So, that's sort of in essence what a

            4     cluster code is.      The basic information we really

            5     need there is just an address that will allow you

            6     to say the likelihood is that these people live in

            7     an upscale suburban neighborhood or an upscale

            8     urban neighborhood.       And a real quick example of

            9     how that would be used would be if you knew -- if

           10     you just had straight demographics on someone and

           11     you knew you had two males, 30 years old, and you

           12     figured out that they make about $50,000, do they

           13     need individual life insurance or not.

           14               Not quite enough information for you to

           15     make a decision on that, one male might be single,

           16     doesn't own a home, doesn't really have any

           17     dependents, where the other male might have a

           18     family with three kids, a house, a mortgage, so

           19     having a little bit more rich information on that

           20     would make you look at these two similar

           21     demographics and say I'm going to offer insurance

           22     to the one because they are going to need it and

           23     not the other.

           24               Or another quick use is if they're only

           25     using their internal data and they know that they


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            1     have got a thousand people who have $5,000 in their

            2     checking account and always have had $5,000 in

            3     their checking account, by overlaying some of these

            4     segment codes, you can get a quick idea that five

            5     of those people, that's all they're really ever

            6     going to have in demand deposits at a bank, that's

            7     really all they're qualified to have, and this

            8     segment code would be something like a number, 27,

            9     that would represent a string of demographics that

           10     would predict that that person is probably in that

           11     demographic.

           12                And you might find out that half of these

           13     people have a very high likelihood for using a loan

           14     product.     So, if you wanted to offer them another

           15     service, you would be better off offering them a

           16     loan product than the other half who you would be

           17     better off offering an investment product.

           18                So, without having to know a ton of

           19     personal information, you can at least make some

           20     good guesses as to what the next most likely

           21     product is to offer those people.

           22                MS. ALLISON BROWN:     And can you give us a

           23     couple of more examples of the segments, I think

           24     that Mary in the overview gave us a couple from a

           25     newspaper article, I think people might be


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            1     interested to hear what some of the other ones are

            2     and how many there are as well.

            3               MS. ELISABETH BROWN:      Well, we have --

            4     there are several different segmentation systems,

            5     and a segmentation system really starts off as just

            6     a predictive model.       So, as Ms. Wunderman was

            7     saying earlier in the session, different industries

            8     care about different data.

            9               So, a very generic model would be something

           10     like our Prism segmentation system that's based on

           11     the demographics of where you've settled, where you

           12     live, there are several more like that out there in

           13     the public domain, and they have -- some of them

           14     have nicknames, they tend to be sort of upscale

           15     suburban, like Blueblood Estates, Urban Singles,

           16     Upscale Urban Singles, Midscale, you know, Urban

           17     Dense Areas.

           18               So, there's lots of different ways that you

           19     can just get a quick snapshot of what the

           20     settlement patterns are in that neighborhood.

           21               And one of the things that we've -- because

           22     these things, as everyone said, as I think Paula

           23     was saying earlier, there's different uses for

           24     that.    It's important to know that you're in a

           25     suburban market area if you're trying to sell lawn


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            1     mowers.     You certainly don't want to be offering

            2     that to urban upscale singles in high rises.

            3                So, some of the data is critically

            4     important to some of the things you're trying to

            5     sell.     It may not be very important at all to

            6     somebody who is selling a very targeted niche

            7     magazine that could appeal to many different people

            8     and has no relationship in terms of a geographic

            9     reference.

           10                So, there are 62 Prism clusters, which

           11     means that we have predicted 62 different

           12     neighborhood settlement patterns.

           13                Another segmentation system is based more

           14     on predicting financial services behavior, or

           15     telecommunications behavior.        In those segments,

           16     there are about 42 of the financial patterns, and

           17     they are anything from upscale suburban families

           18     with children, upscale suburban singles, upscale

           19     urbanites, those type of cluster types or segment

           20     types, and that's more based on a specific range of

           21     income, asset prediction, age and presence of

           22     children.

           23                So, those -- they're slightly different,

           24     but, you know, basically you can start with

           25     anything.     In our audit of the convergence data,


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            1     which is the telecommunications, I think we have

            2     about 57 different segments and they're based on

            3     patterns of usage that we have seen in terms of

            4     product usage, and then on the back end, we infer

            5     the demographic segment for that.

            6               MS. ALLISON BROWN:      Ted?

            7               MR. WHAM:    There's a distinction which

            8     might be valuable for the FTC in doing this,

            9     there's two major categories of lists that you can

           10     consider.     One would be compiled list information,

           11     the other being response list information.

           12               Compiled list information tends to be very

           13     broad coverage, it's information about who you are,

           14     whereas response list is more information about

           15     what you've done, what type of products you've

           16     done.

           17               So, if I want to buy something that has a

           18     very broad geographic coverage because I'm offering

           19     a service that has something which is primarily

           20     defined upon where people live and the types of

           21     birds of a feather flock together type of analogy

           22     that is the basis for Claritas' business, then I am

           23     going to want that type of a compiled list.

           24               If I'm trying to find people who have

           25     interest in doing very specific types of activities


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            1     and so forth, I am going to want to buy lists from

            2     similar businesses or businesses that point to

            3     similar types of people.

            4               Response lists tend to be very narrow.          I

            5     can't typically take a response list and very

            6     effectively use that as an overlay tool against my

            7     universe of customers, and say tell me additional

            8     things about this, because if I took my, you know,

            9     300,000 customers and matched them against somebody

           10     else's 300,000 customers, I might find, you know,

           11     700 that match between those two of them.

           12               I would have a rich data set for those, but

           13     I wouldn't have enough to make it economically

           14     worthwhile to do that.

           15               Right now it's very easy to go from the hub

           16     out to the spokes.      Go to a company that sells a

           17     specific product and tell me all of the customers

           18     for that product or set of products that they sell.

           19               It's extremely difficult to say that I want

           20     to start at a spoke and tell me all of the hubs

           21     that they're attached to, so go to a specific

           22     customer and tell me all of the products that they

           23     have bought within a category, or perhaps even all

           24     the products they have bought.

           25               I will say that although you can't do that


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            1     today, there's an enormous economic potential

            2     there, and I am certain that many, many very bright

            3     people have spent a lot of time trying to figure

            4     out how I can come up with a master universe of all

            5     of the computing products that somebody has bought,

            6     or all of the clothing purchases that somebody has

            7     bought, because if I can do that, and if I'm a

            8     marketer selling, you know, an upgrade to a

            9     particular type of computer, that's the golden

           10     list, and I will spend a lot of money to rent names

           11     from that list.

           12               MS. ALLISON BROWN:      Michael?

           13               MR. PASHBY:     Yeah.   I think in the magazine

           14     industry, one of the most important sets of data

           15     that can be added to a magazine list is catalog

           16     information, and the merging of catalog

           17     information, because it does add the recency,

           18     frequency and value component to the magazine list.

           19               If you go back to the woodworking magazine,

           20     a person may buy a woodworking magazine noting that

           21     they're interested, but if you can match that with

           22     catalog information about the purchase of tools or

           23     the purchase of other supplies, and they're showing

           24     some frequency there, that separates out one group

           25     of people who are peripherally involved to


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            1     high-volume purchases within that area, and I

            2     suppose it also gives a greater degree of value to

            3     the broader lists, like a news magazine or a seven

            4     sisters magazine, those people may be then

            5     segmented into very specific interest areas.

            6               So, you have a -- one of the seven sisters,

            7     but you can match that with kitchen and food

            8     catalogs to show a high interest in cooking.            So,

            9     it then becomes much more interesting for other

           10     marketers, and much more targeted to the consumer.

           11               MS. ALLISON BROWN:      And what do businesses

           12     do to ensure that the data that you collect are as

           13     accurate as possible?

           14               Win?

           15               MR. BILLINGSLEY:      Well, we do several

           16     things.    Marketing data does not have to be 100

           17     percent accurate to be effective, but you want to

           18     make it as accurate as you possibly can, within the

           19     economic constraints that you have to deal with.

           20               But an example of some of the things that

           21     we do to make sure our data are accurate, even if

           22     you permissioned us to use your data in a product

           23     registration effort, you say yes, I would like to

           24     receive offers from third party -- from third party

           25     marketers regarding products and services that


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            1     would be of interest to me.

            2                You don't automatically go into Naviant's

            3     database just because you have permissioned us.             To

            4     make sure that we're doing that accurately, we

            5     match your name and address against a public data

            6     source to make sure that you really are who you say

            7     you are.     That helps us get out the Donald Ducks

            8     and the Roy Rogers and some people who like to play

            9     games, but we find the utilization of the public

           10     compiled data, a very meaningful tool to ensure

           11     that our file is as accurate as it possibly can be.

           12                MS. ALLISON BROWN:     And can you just

           13     clarify what you mean when you say public sources

           14     of data and compiled sources of data?          Can you be

           15     more specific?

           16                MR. BILLINGSLEY:     Well, I probably

           17     misspoke, I probably should have said compiled

           18     sources of data which originated from public

           19     sources of data.      But it's a very effective way to

           20     make sure that data is accurate.

           21                The other advantage that it holds for us is

           22     that we're very sensitive in not collecting data on

           23     children, and so by matching the name and a

           24     registration with an aggregator's data or a

           25     compiler's data, kids don't buy real estate


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             1     property and cars and things of that nature.

             2                MR. WHAM:   You haven't met my brother.

             3                MR. BILLINGSLEY:     So, it gives us a

             4     reasonable check to make sure that we're not

             5     collecting data on children.

             6                The other thing that we do to make sure

             7     data is accurate is we use the DMA suppression

             8     file, and we find that a very effective way to make

             9     sure that we don't include data in marketing lists

            10     to the people who have gone to the trouble to go to

            11     DMA and sign up for either their direct mail

            12     suppression file or telemarketing suppression file,

            13     and a new product they started just a few months

            14     ago which is an email suppression file.

            15                So, that's another way to make sure that

            16     the data we provide a marketer is accurate.           And

            17     the third way is the good old U.S. Post Office.

            18     All marketers use the NCOA process, or should use

            19     the NCOA process.

            20                MS. ALLISON BROWN:     And what does NCOA

            21     stand for?

            22                MR. BILLINGSLEY:     National Change of

            23     Address.     And the way that basically works is if

            24     you move and you fill out a card at the Post Office

            25     so your mail will be forwarded to your new


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             1     location, that information is collected by the Post

             2     Office, and the Post Office has this very large

             3     file of people who have relocated that's utilized

             4     to redirect their mail.       And the Post Office

             5     authorizes some 20-something companies to take this

             6     data and do a match to make sure that if you have

             7     an old address in your file, and you match the old

             8     address, then you can substitute the new address.

             9               And that's something that's been in

            10     existence for a long time, it's been used in the

            11     direct marketing world for a number of years.           It's

            12     a very effective tool to make sure that if you're

            13     doing a direct mailing of a marketing list, that

            14     the marketing collateral that you're spending hard

            15     dollars for to be delivered by the Post Office is

            16     truly deliverable.

            17               MS. ALLISON BROWN:     Thanks.

            18               Michael?

            19               MR. PASHBY: Some information really has to

            20     be accurate.     Some years ago I marketed a magazine,

            21     which I won't name, but, well, let's say a parents'

            22     magazine, and our primary source of readers were

            23     parents of newborn children.

            24               We were extremely sensitive to the problems

            25     inherent in that.      Somebody's buying lists of


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             1     potential new births, and some births obviously are

             2     not live births, and you are mailing to people

             3     saying congratulations, and that can be extremely

             4     sensitive, obviously.

             5               So, correcting data is very, very

             6     important.     We spent an awful lot of time and

             7     energy making sure that the sources we were

             8     compiling that data from were accurate.          If we

             9     found that there was an incidence of inaccuracy, we

            10     would cut off from that source.        And we would not

            11     buy information from that source ever again.

            12     Because of the responsibility to the consumers that

            13     we had.

            14               MS. ALLISON BROWN:     And can you be a little

            15     more specific about what the sources of that type

            16     of data are?

            17               MR. PASHBY:    The sources of that data were

            18     from -- no, I can't, they were from compilers.           It

            19     would come from doctors' office visits, from

            20     insurance companies, from a lot of different

            21     sources, I believe.

            22               MS. ALLISON BROWN:     And what did you do to

            23     make sure it was accurate?       How did you gauge that?

            24               MR. PASHBY:    We would -- we would do it

            25     from the complaint level.       That was the difficulty.


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             1     You were doing it after the event, but if one found

             2     that there was a degree of inaccuracy there, then

             3     we would cut off from that source.

             4               MS. ALLISON BROWN:     Ted?

             5               MR. WHAM:    You talk about data quality

             6     issues, it's useful to look at it in two different

             7     ways.   There's the quality of the data at the time

             8     that it's collected, and there can be errors

             9     introduced through typographical errors, or to

            10     purposeful, you know, fraudulence, Mickey Mouse and

            11     so forth, but there's also a more significant issue

            12     of data decay.

            13               Like if I, you know, show up in a database

            14     that I'm 25 to 34 years old, how old am I tomorrow?

            15     Okay?   So, date range information is very

            16     inaccurate.     Births, deaths, marital status and so

            17     forth, and people moving all the time, but we have

            18     a very mobile society.       So, the statistic that I

            19     heard, I can't vouch, say, for this, but the

            20     average data in a data base decayed at a rate of

            21     about one and a half percent per month, that was

            22     the inaccuracy that built up over time.

            23               The marketer has an absolute vested

            24     economic interest in making sure that that

            25     information is as accurate as possible.          If it's


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             1     inaccurate, they can't use it for the goal that

             2     they have.    So the alignment of the market

             3     interest, the consumer's interest of having

             4     accurate information is absolutely, I mean,

             5     perfectly together.

             6               MS. ALLISON BROWN:     We have time for one

             7     more comment and then we will go to questions from

             8     the audience.

             9               Betsy?

            10               MS. ELISABETH BROWN:      One of the things

            11     that I wanted to talk about data accuracy is that

            12     from the Claritas standpoint, we've seen a lot of

            13     different types of data.       We not only use Census

            14     data and other public domain data, consumer

            15     surveys, which is really self-reported demographic

            16     information, but in order to -- as I was talking

            17     about implementing, in order to actually implement

            18     an actual marketing program, we will take our

            19     segmentation codes and place them on list files,

            20     such as Acxiom, InfoUSA, Experian and Equifax, and

            21     many other compiled lists.

            22               What we have found many times, especially

            23     when we're using the types of models that I

            24     discussed earlier that go down to a more specific

            25     household level, in terms of the demographic


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             1     variables that we say are predictive of the

             2     behavior that we're trying to help our customers

             3     use, what we find sometimes is that these list

             4     sources have, I guess, decay, some other

             5     information, missing information, fill-in models,

             6     and we will show them that the data that we have

             7     proves out that their list is not really

             8     distributing the way the U.S. population

             9     distributes down to a low level of geography, a zip

            10     code, a census tract, a block group.

            11               So that we can take a look at a list of

            12     data out there and say you're reporting that only

            13     two percent are in the income category, 50,000

            14     plus, and we expect to see more like 27 percent.

            15               So, we have actually created models that

            16     help some of these list sources to improve their

            17     models, their income models or whatever that might

            18     be, to base them more on sort of a benchmark of

            19     data.

            20               So, there's a lot of -- it's sort of a

            21     symbiotic relationship, back and forth with

            22     Claritas and the list providers, sometimes they

            23     actually do change some of their model information

            24     on their file based on our information, and other

            25     times we just use it to assign what we think is a


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             1     more appropriate segment code, then they don't

             2     necessarily change that source of data, it depends

             3     on how they prioritize their models, and they

             4     prioritize their input sources.

             5               MS. ALLISON BROWN:     And I believe that

             6     Claritas also updates Census data, how do you do

             7     that?

             8               MS. ELISABETH BROWN:      On an annual basis.

             9     We update census data, again, from a list of a lot

            10     of sources, some of the postal information, some of

            11     the moving information, NCOA.        There's a lot of

            12     intercensal data that is produced that's not

            13     produced on 100 percent factor.

            14               In other words, there are many, many

            15     counties, communities and states that do many

            16     updates of data and information, and we take really

            17     whatever we can get that's available and utilize

            18     that data.    There are also many models that we have

            19     perfected over time, and we've been doing this,

            20     this is our third census that we've been actually

            21     updating information where we just do projections

            22     and straight line information based on other data.

            23               So, there are many sources that we can use,

            24     both census-type sources that we think we can have

            25     a high degree, feel that we have a high degree of


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             1     accuracy in terms -- and relevance, and some of the

             2     consumer survey research that's out there just

             3     allows you to take a look at shifting data in terms

             4     of how people are self reporting where their

             5     incomes are.

             6               And in addition, we do use a lot of the

             7     list data just to try to get a handle on which

             8     areas are growing.      Postal drop rates, I think ADVO

             9     counts, which is another list source where they

            10     constantly are updating where the postal drops are

            11     going.

            12               MS. ALLISON BROWN:     One thing that becomes

            13     clear pretty quickly is how integrated the

            14     aggregators are with the sources and how the data

            15     sort of rotate in and out of the different

            16     databases.

            17               I know when I open up the discussion for

            18     questions from the audience, if you have a question

            19     you would like to ask, please raise your hand and I

            20     will recognize you after one of our staffers comes

            21     over with the wireless microphone.         Please speak

            22     into the microphone while asking your question and

            23     state your name and organization before you begin

            24     your question so the court reporters can get an

            25     accurate transcript of today's proceedings.


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             1               MR. CATLETT:    Thank you, I'm Jason Catlett

             2     from Junkbusters.      I have a question for Mr.

             3     Billingsley.     I have an advertisement in a trade

             4     magazine from Naviant, it's quite amusing, it shows

             5     a biker with tattoos and a beard, and it makes

             6     light of the fact that he likes roses, and when

             7     you're going online, you might want to -- I infer

             8     from this advertisement -- you might want to pitch

             9     a banner advertisement for roses.

            10               Could you please tell us the process by

            11     which when this biker goes online and visits a

            12     website the website would know that he likes roses?

            13               MR. BILLINGSLEY:     Well, I'll talk a little

            14     bit more about that this afternoon, if you would

            15     like, because we'll talk about how the data is used

            16     to administer marketing programs, but basically, we

            17     would have business relationships with some of the

            18     ad serving companies that collect data anonymously.

            19               We would pass data attributes to those ad

            20     serving companies anonymously, so that they could

            21     then target a banner ad that was appropriate for

            22     that particular person, without ever knowing the

            23     person's name.

            24               MR. CATLETT:    Thank you.

            25               MS. ALLISON BROWN:     Don't forget to say


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             1     your name and affiliation for the record.

             2               MR. HENDRICKS:     Thank you, Evan Hendricks,

             3     Privacy Times.     I had one question, but first I

             4     wanted to follow up on what you said about the

             5     babies, because we always wondered about that, a

             6     lot of us.

             7               So, is it the doctor's offices would sell

             8     that information, or the insurance companies were

             9     some of the sources for people who are about to

            10     have babies?

            11               MR. PASHBY:    I am not absolutely certain, I

            12     believe that was, and this was some time ago.

            13               MR. HENDRICKS:     But I also wanted to

            14     comment, hospitals and birthing classes, and do

            15     they sell it to a compiler, is that how it would

            16     work?

            17               MR. PASHBY:    It's my belief that that's how

            18     the information was compiled.

            19               MR. HENDRICKS:     Okay.   The other thing is

            20     you said that the magazines, I think correctly, are

            21     at the front end of this process, much more so than

            22     some of the others who are at the back end, and in

            23     the UK, on a subscription form, the little cards

            24     that you get in your magazine, you have a check-off

            25     box, it says if you don't want your name shared,


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             1     check here, and send it in with your subscription,

             2     and one of the big problems in the U.S. is that at

             3     the point of the collection of data from

             4     individuals, people are not notified what could

             5     happen or given the chance to even opt out.

             6               And so, do you think that makes sense from

             7     a data practices point of view, and do you think

             8     that your association is ready to sort of endorse

             9     that and recommend it, you know, considering the

            10     growing strong feelings about privacy?

            11               MR. PASHBY:    I think from the standpoint of

            12     having to fill in, check a box on a card, what we

            13     found in any promotional activity, having the

            14     consumer take actions in a promotional activity

            15     reduces the response.      Therefore, we have cards

            16     which are prechecked, and yes I want this magazine,

            17     and then all they have to do is tear the card out

            18     and put it in the mail.

            19               But as I mentioned, we also do publish in

            20     the magazine the privacy policies and the ability

            21     to -- and the ability to call an 800 number or send

            22     to the magazine fulfillment house to be taken off

            23     the list.

            24               MR. HENDRICKS:     And of course what I'm

            25     describing wouldn't even, I mean someone could


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             1     still take the card and just throw it in the mail.

             2     It's only those people that took the time to look

             3     and see that there was a check-off box, and could

             4     check off they didn't want their name sold.

             5               So, what I'm saying is would it interfere

             6     with, you know, with what you're saying?          I mean,

             7     it wouldn't require the individual to check the box

             8     to say I don't want my name sold, it would only be

             9     for those individuals that cared enough.          And if

            10     this is practice -- am I confusing you?          You look

            11     like you're not following me.

            12               MR. PASHBY:     I'm saying that any time there

            13     is -- you give people the option in a promotion,

            14     the response declines.       And as we mentioned before,

            15     the whole use of information has been more

            16     effective and more efficient when we are spending

            17     or when businesses are spending 65 cents to a

            18     dollar to put a piece of promotion into the mail

            19     and you're getting single digit responses, you're

            20     trying to be as efficient as possible.

            21               MS. ALLISON BROWN:     Ted, do you want to

            22     comment on that?

            23               MR. WHAM:     Yeah, I absolutely would.      The

            24     basic fundamental question is if I -- if consumer X

            25     chooses to do business with Business Y, should


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             1     consumer X have the opportunity to say Business Y,

             2     don't contact me.      That's question A.

             3               And question B is, Business Y, don't

             4     share my information with company Z and Z sub

             5     one and Z sub two and so forth.        I fundamentally

             6     reject the notion that a consumer should be able

             7     to say I want to do business with a particular

             8     company Y, but that company can't follow on and

             9     make money out of that relationship.         I think

            10     that that has terribly negative consequences

            11     for the efficiency of economic transactions in

            12     this country.

            13               The reason we don't have mom and pop stores

            14     in the United States very successfully anymore and

            15     the reason we have Wal-Marts in this country is

            16     because they provided a very economically efficient

            17     way of delivering low-priced goods in the United

            18     States, for better or for worse, but the wheels of

            19     that continue to turn by having the businesses be

            20     able to use that information in the most effective

            21     way possible.

            22               MS. ALLISON BROWN:     We are trying to stay

            23     on a factual level here and stay away from policy

            24     discussions.

            25               MR. WHAM:    I couldn't help myself.


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             1               MS. ALLISON BROWN:     Does anybody else have

             2     a question?

             3               MR. DIXON:    Tim Dixon from Baker McKenzie.

             4     A question, just to pick up on that point to take

             5     it a little bit further.       When we talked,

             6     particularly when you mentioned the 30 million

             7     permissioned people or households in the database

             8     that you've got, what proportion do you know is

             9     that people who have done the sort of check box as

            10     opposed to the kind of I guess you could call it

            11     permission by inertia where they would need to read

            12     a privacy policy and then go through an active

            13     process of say opting out if they wished to opt

            14     out?

            15               MR. BILLINGSLEY:     I don't know the

            16     percentage.     We use in collecting the data, and

            17     this is primarily a decision that's made between us

            18     and the client that we're providing registration

            19     services for, we use three different kinds of

            20     permissioning processes.       I'll try to get through

            21     this without confusing myself and the audience, but

            22     we use the opt-in process, which we define as a

            23     permissioning question with either yes or no, not

            24     preselected.

            25               We also use the opt-out permissioning


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             1     process, which is a permission question with

             2     yes preselected, and in certain situations,

             3     not a lot, we use the explicit process, which

             4     basically is a bold statement that says, Do

             5     not provide us your marketing information unless

             6     you're willing to receive, you know, marketing

             7     offers.

             8               So, we utilize all three of those,

             9     depending upon the circumstance.         We do flag how

            10     the permissioning process worked for that

            11     particular consumer, and we are sensitive based

            12      on the permissioning process, how that

            13     information is used when it is -- when a

            14     marketing program is generated based on that

            15     permissioning.

            16               But the percentage, I don't know the number

            17     to be very specific about your question.

            18               MS. WOODWARD:    My name is Gwendolyn Woodard

            19     with Worldwide Educational Consultants.          I'm

            20     consumer A, and I decide that I'm going to attend a

            21     conference, so I go online and complete the form.

            22     The site that I'm going to complete the form on has

            23     a third party advertising network associated with

            24     it, okay?    As I complete the form, I notice in the

            25     URL the information that I put in the form is


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             1     reflected up there.

             2               So, as a consumer, how would I know how

             3     that information is going to be used, what

             4     databases will it be going to, especially if this

             5     third party advertising network uses a push and

             6     pull technology to disseminate that information to

             7     different databases?

             8               MS. ALLISON BROWN:     Does anybody want to

             9     take that on?

            10               MR. WHAM:    It's very useful if you're

            11     omniscient.

            12               MR. BILLINGSLEY:     I'll respond a little

            13     more.   The --

            14               MR. WHAM:    Comprehensively, perhaps.

            15               MR. BILLINGSLEY:     Yeah.   The way it should

            16     work, in my opinion, is if you're in that kind of

            17     situation where a redirect is occurring, without

            18     your knowledge, then the privacy policy should be

            19     very explicit in saying -- in discussing the

            20     redirect to another website, why that is occurring,

            21     what your choices are to either participate in that

            22     or not participate in that.        And disclosure, in my

            23     opinion, is the key for the consumer in

            24     understanding what is or is not happening to

            25     their data, particularly when you see it in the


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             1     URL.

             2               MS. ALLISON BROWN:     And let me just say

             3     that that's really a question that should be

             4     directed to network advertisers, and none of the

             5     panelists up here represent any network

             6     advertisers, and it's really a separate issue that

             7     we're not addressing today.        But, you know, that's

             8     a question for other people.

             9               We are running out of time.       Paula, did you

            10     want to comment on that issue?

            11               MS. BRUENING:    No, thanks.

            12               MS. ALLISON BROWN:     So, I think we are

            13     going to break for lunch now, and we would like to

            14     see everybody back at 1:00, and I want to thank the

            15     panelists for a very informative discussion.            We

            16     really learned a lot.

            17               (Applause.)

            18               (Whereupon, at 11:30 a.m., a lunch recess

            19     was taken.)

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             1                                AFTERNOON SESSION

             2                            -    -   -    -    -    -

             3

             4     SESSION 3:    WHAT ARE THE BUSINESS PURPOSES FOR

             5     MERGING AND EXCHANGING CONSUMER DATA?

             6

             7     MARTHA LANDESBERG, Attorney, FTC, Moderator

             8

             9     PANELISTS:

            10

            11     MARTY ABRAMS, Executive Director, Center for

            12     Information Policy Leadership

            13     JOHNNY ANDERSON, Chief Executive Officer, Hot Data,

            14     Inc.

            15     C. WIN BILLINGSLEY, Chief Privacy Officer, Naviant,

            16     Inc.

            17     JERRY CERASALE, Senior Vice President, Government

            18     Affairs, Direct Marketing Association

            19     PETER CORRAO, Chief Executive Officer, Cogit

            20     Corporation

            21     LYNN WUNDERMAN, President/Chief Executive Officer,

            22     I-Behavior, Inc.

            23

            24

            25


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             1                                SESSION THREE

             2           WHAT ARE THE BUSINESS PURPOSES FOR MERGING

             3                   AND EXCHANGING CONSUMER DATA

             4                     -      -       -      -      -      -

             5               MS. LANDESBERG:          If everyone would please

             6     take a seat, we would like to get started.                We have

             7     a very full afternoon.

             8               Good afternoon.          My name is Martha

             9     Landesberg.     I'm an attorney in the Division of

            10     Financial Practices here at the Federal Trade

            11     Commission.     Let me just state, before we get

            12     going, we have a couple of announcements to make.

            13     I want to reiterate for everyone our ground rules.

            14               We request that you turn off your cell

            15     phones, please.       Once again we are going to very

            16     gently but firmly hold our speakers to the time

            17     limits we've discussed with them.                My colleague,

            18     Allison Brown, will be your timer.                She's right

            19     here, so just look for a sign from her that you're

            20     coming toward the end of your time, if you would.

            21               We will as time permits again have a

            22     question and answer session.              I'll ask again that

            23     you please identify yourself for the court

            24     reporters before asking your question.

            25               And finally, the record of the workshop


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             1     will be open until April 13 for submission of any

             2     comments or materials you want the Commission to

             3     consider, and we invite you to participate in that

             4     process.

             5                And also a fond welcome for those of you

             6     listening on the audiocast.        We apologize and

             7     understand there was some trouble this morning.            We

             8     hope things are up and running, and we're happy to

             9     have you with us.

            10                One last comment,    Michael Pashby in our

            11     prior panel has submitted a written statement

            12     regarding his comments on the use of medical

            13     records to identify new prospects, and that

            14     statement, as others, will be posted in the

            15     workshop record for everyone to have a look at and

            16     comment upon.

            17                Now, it's my pleasure to begin session 3 of

            18     our workshop, and this is where we really get to

            19     the meat and potatoes of what it is that businesses

            20     do with all the information we've been hearing

            21     about all morning, and what we're going to do here

            22     is have presentations from each of our panelists

            23     one by one.     I'll introduce them one at a time, and

            24     we'll take it from there, and as time permits have

            25     some questions too.


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             1                We'll begin with Marty Abrams.       Marty is

             2     the Executive Director of the Center for

             3     Information Policy and leadership at Hunton &

             4     Williams.     Before joining Hunton & Williams Mr.

             5     Abrams, or Marty, spent 12 years as Experian

             6     leading their information policy and privacy

             7     efforts.

             8                Marty?

             9                MR. ABRAMS:    Thank you very much.     As we go

            10     through this technical process of keying up my

            11     presentation, I would first like to thank the FTC

            12     staff for inviting me here this afternoon, and I

            13     would also like to thank them for the excellent

            14     program this morning.       I found it incredibly

            15     worthwhile and very informative, and hopefully we,

            16     this afternoon, can be just as informative.

            17                And we are talking about the uses and

            18     purposes for third-party data, and I think that the

            19     best place to start with understanding third-party

            20     data is understanding that it matches with in-house

            21     data, and it begins with the in-house data because

            22     that's what marketers begin with, their own

            23     customer base, understanding their own customer

            24     base.

            25                And that data comes from multiple sources.


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             1     The most important of those sources is directly

             2     from their customer, and the second is their

             3     relationship with their customer, and this is the

             4     majority of the data that the organizations,

             5     marketers, have in their databases and their files.

             6               And to understand that data, to make the

             7     best use of that data, they have to match that up

             8     with third-party data, and I'm going to be talking

             9     about purposes and not processes.         I have

            10     colleagues on this panel who I think are going to

            11     get more into the processes, but I would like to

            12     really put the emphasis on why the data is used.

            13               And there's a paper that really goes in to

            14     how this works that was released yesterday by the

            15     Privacy Leadership Initiative and ISEC Council of

            16     the DMA, and that paper is available on the DMA web

            17     site I believe.

            18               The first process, the first purpose, the

            19     first reason for using third-party data is just to

            20     make sure that your file is clean.         20 percent of

            21     the American population moves each year.           People

            22     use variations of their names.        They use variations

            23     of spellings of their name.        I'm Marty Abrams.        I'm

            24     Martin Abrams.     I'm Martin E. Abrams.       I've lived

            25     in California.     I've lived in Ohio.      I've lived in


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             1     Texas.     I sometimes buy from my office.

             2                So one of the purposes is to merge all of

             3     those Marty Abrams that are sitting on a company's

             4     file into one Marty Abrams so that I can market

             5     that to me in a unified fashion.

             6                The second is to have a deliverable

             7     address.     We often have multiple addresses,

             8     multiple variations of our addresses.          We

             9     abbreviate our address.       We move, and one of the

            10     purposes of using third-party data is to put that

            11     data together to have an address that is

            12     deliverable.

            13                And having a deliverable address means that

            14     you can deliver up to 15 percent more of the mail

            15     that you mail on a regular basis, and that has

            16     really cost implications for an organization.

            17                The second purpose is to truly understand

            18     your own customers, and I think Lynn Wunderman did

            19     a great job of describing that this morning.

            20     You're trying to understand what is similar about

            21     your customers and what is different, and one of

            22     the ways you do that is overlay your file with

            23     demographic information from a third-party.

            24                Examples of the type of data that you might

            25     overlay is age because age is very predictive of


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             1     where you are in your life-style, what you might

             2     buy and also inferred or modeled income, and again

             3     we have no exact income on any files other than the

             4     IRS's files, and those, of course, are not

             5     available, so we model income to be able to try to

             6     figure out how individuals are similar or

             7     different.

             8               And that information helps us understand

             9     who to market to, how to market to them, what type

            10     of products we should offer them in the future.            We

            11     begin to understand what is predictive of who's a

            12     buyer and what is just really a red herring, not

            13     very predictive.

            14               And then based on what we understand about

            15     our own customers, we can go out in to the

            16     marketplace and find individuals who are very

            17     similar to our own customers, folks who have very

            18     similar demographics, very similar psychographics,

            19     so we can begin to build our customer base with new

            20     customers who are similar to the folks that we are

            21     marketing to at the moment.

            22               And those sources include competitors,

            23     because organizations do exchange lists,

            24     noncompetitive marketers, and lastly aggregators or

            25     compilers, organizations that put together files of


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             1     individuals for other organizations to use who

             2     create mailing lists, and the results are more

             3     effective communication with existing customers.

             4               We can put together the right message for

             5     the right consumer at the right time to maximize

             6     that relationship with the customer.

             7               We also find prospects who we have the

             8     greatest probability of reaching, folks who are

             9     most similar to our existing customers, and more

            10     important, in this modern age, is we begin to

            11     understand how our customers are changing so we can

            12     begin to develop the products and services that are

            13     responsive to where our customers are going over

            14     time.

            15               Martha asked me to talk a little about the

            16     differences between marketers and aggregators in

            17     terms of the type of data they have and the type of

            18     processes.    When you think about marketers, the

            19     folks who actually market to you and I, first their

            20     data primarily comes from their own customers.

            21               Even if I overlay with data from third

            22     parties, if I'm a marketer, most of the data I have

            23     is from my own customers.       Most of that data is

            24     either self reported, I give you my name and

            25     address, I volunteer information with you, or comes


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             1     from my own experiences with you as a customer.

             2                And lastly, I as a marketer typically have

             3     regular contact with my customer and can

             4     communicate with you as my customer about both what

             5     I'm selling and my processes and the choices that

             6     you have.

             7                Aggregators have data on a broader

             8     population.     Some aggregators have most of the U.S.

             9     population.     The data comes from many, many

            10     sources.     As we discussed, some of them are public

            11     record sources.     Some of them are surveys.        Some of

            12     them are purchase data, but the data comes from

            13     many sources, not a single source.

            14                Typically the data that is held by an

            15     aggregator is not experiential data.         It tends to

            16     be demographic or psychographic data, and, last,

            17     typically the aggregator does not have regular

            18     contact with the customer, the consumer, but rather

            19     relies on the party that collected the data to have

            20     had that contact with the consumer, and most

            21     aggregators build systems to make sure they only

            22     get data from reliable sources.

            23                Thank you very much.

            24                (Applause.)

            25                MS. LANDESBERG:    Thank you, Marty.


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             1               Next we'll hear from Win Billingsley, the

             2     Chief Privacy Officer of Naviant.         Win?

             3               MR. BILLINGSLEY:     As we talked this

             4     morning, Naviant's key value that they bring to the

             5     marketplace is that we provide a database of

             6     consumers that are Internet enabled, and we sort of

             7     phrase our mission statement as Naviant is a

             8     leading provider of integrated, precision marketing

             9     tools for online and offline environments, so we

            10     can send marketing messages or marketing campaigns

            11     to consumers either through direct mail or through

            12     Email or through banner ads, so we work in both of

            13     those worlds and actually try to integrate those

            14     two worlds together.

            15               So we enable marketers to reach and build

            16     relationships with online consumers, and that's

            17     really Naviant's key sole business purpose.

            18               It's always tough to get a business model

            19     on one slide, so I tried to simplify this as much

            20     as I possibly can but still make it meaningful for

            21     you, and for Naviant the world begins with

            22     electronic registrations.

            23               We work with manufacturers that build

            24     computer hardware, computer software, and we

            25     facilitate the registering of their products and


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             1     services via the Internet.       Most of that data, once

             2     it's captured, is passed back to the original

             3     manufacturer.     We keep the name and address and

             4     designate a flag that this individual, since they

             5     registered their product or service via the

             6     Internet, is an Internet enabled household.

             7               So the data point for us begins with the

             8     name and address and an Internet household.           That

             9     begins the database processing, and there's data

            10     hygiene work that's applied to that database.           I

            11     talked about it a little bit this morning.           We use

            12     the compiler's information to make sure the names

            13     that we have are accurate in our database.

            14               We also append to that from the compilers

            15     various data attributes that enrich the data and

            16     make it meaningful and store and maintain the data.

            17     We also use the DMA's file suppression list to make

            18     sure that no one is in our database that has

            19     expressed an interest not to be.

            20               And I should have mentioned back in the

            21     registration process that there is a permissioning

            22     process that we go through before you ever really

            23     enter into this diagram.

            24               So once the data is there with an

            25     enrichment of data attributes, then we have the


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             1     ability to deliver this data for marketing purposes

             2     in a variety of channels in a variety of ways, so

             3     the data can be used to administer direct mail or

             4     Email campaigns.     It be used to deliver direct mail

             5     campaigns, telemarketing and targeted banner ads.

             6               And we analyze the data to determine counts

             7     based on criteria.      A client will come to Naviant

             8     and say, I'm looking for these kind of people, tell

             9     me how many you have in your database so we can

            10     analyze the data and determine how many people we

            11     have that fulfills that particular requirement, so

            12     that in essence is Naviant's business model.

            13               Now, why do we do all this?       What purpose

            14     does it serve the business community?          There are

            15     many.   I've just noted three here that I thought

            16     might be meaningful to you.

            17               One is we provide the data back to the

            18     registration client with the enhancement of the

            19     data attributes that we've associated so the

            20     registration client has some view of who is buying

            21     their products and services.

            22               That's very important to the manufacturer

            23     to know that because they -- since they distribute

            24     through some intermediary, they are not in direct

            25     contact with their customers.


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             1               So we would provide that back to the

             2     registration client, and the registration client

             3     would say, Gee, we have this kind of person buying

             4     this model of computer, how can we find more of

             5     those kinds of customers and launch marketing

             6     campaigns to increase and enhance our business.            So

             7     that's the way a registration client would tend to

             8     use this data is to find more like customers.

             9               Another way they would use the data is say,

            10     This particular product is being bought by

            11     individuals that have these demographic

            12     characteristics, so how can we fine tune our

            13     advertising so that we are visible, more visible to

            14     individuals with these kind of characteristics, so

            15     it's used for a variety of purposes by a

            16     registration client in order to improve the

            17     efficiency of their marketing effort.

            18               Another example would be a bank.        Banks

            19     love to promote their Internet banking packages and

            20     capability because they can provide enhanced

            21     service to their customers at a reduced cost for

            22     those of us who sign up for Internet banking.

            23               So a bank will come to Naviant and say, We

            24     really would like to promote our Internet banking

            25     capability, but we have a problem, we have no idea


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             1     in our customer base who is on the Internet and who

             2     is not on the Internet, and really rather than do a

             3     mass mailing to all of our customers, we would like

             4     to do some selection.

             5               So they would come to Naviant and say, If

             6     we give you a list of our customers, can you match

             7     those names against the names in your database and

             8     tell us which ones of those are Internet enabled,

             9     and we provide that service.

            10               And then the bank can then target or

            11     deliver a marketing campaign only to those

            12     customers who are Internet enabled, and they might

            13     even refine that further.       They might refine it by

            14     an age group or income level, but the primary key

            15     for the bank, if they're promoting their Internet

            16     banking package, is to only target to those that

            17     can actually use that product or service.

            18               A third example would be a retail dot com.

            19     A retail dot com wants to drive traffic to their

            20     web site, and you know you can always buy a

            21     billboard on Highway 1 or you can by an ad for the

            22     Super Bowl, but what they would want to do is to

            23     work with Naviant looking for a particular type of

            24     customer or individual that meets the selection

            25     criteria and then do a direct mail campaign to


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             1     those customers with some kind of marketing offer

             2     that would drive them to their web site so they

             3     could offer a product or service.

             4                Thank you.

             5                MS. LANDESBERG:     Thanks very much, Win.

             6     Our next speaker is Peter Corrao.          Peter is the CEO

             7     of Cogit Corporation.        Before joining Cogit.com, he

             8     was Division President of National Accounts

             9     Marketing for ADVO and the owner and operator of

            10     Sports USA.

            11                Peter?

            12                MR. CORRAO:    Well, thank you very much for

            13     inviting me here today.        Even though I come from

            14     one of the largest direct marketing firms in the

            15     country in ADVO, my comments today will mostly be

            16     related to online marketing and its applications.

            17                So I would like to talk to you today about

            18     the developing science of visitor relationship

            19     management and how it's applied on the web.

            20                Before I do that, though, let me tell you a

            21     little bit about the dilemma in commerce today on

            22     the Internet.       My company, like many other dot

            23     coms, is a highly capitalized, venture capitalized

            24     company.     We've taken around $50 million in

            25     investment to date and have yet to turn a profit


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             1     with our company.      We look similar to others that

             2     are out there.

             3               The Internet commerce dilemma can be

             4     summarized pretty much on the slide that I've shown

             5     you here.    There's two ways in a B-to-C environment

             6     that companies are making money or trying to make

             7     money on businesses on the Internet today.

             8               One is content sites, and they're heavily

             9     required or exclusively required, excuse me, to

            10     bring advertising in, so their model is all about

            11     advertising.     They deliver free content to

            12     consumers.     They put advertising up for sale.        They

            13     sell that advertising, and their business model is

            14     developed around that.

            15               The other side of that is the commerce

            16     sites, who are the E-tailers or retailers that are

            17     trying to sell their goods and services online, and

            18     theirs is a simpler model in that they're trying to

            19     gather customers, turn those customers into

            20     repeatable revenue.

            21               Here's the dilemma.      The Internet today

            22     isn't very efficient, even with the tools that are

            23     being applied to it.      Imagine that you bought

            24     133,000 banner ads, and you paid around $15 a

            25     thousand for it, which would be the current going


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             1     rate if you had a media buying firm dealing with

             2     either direct companies or with providers of those

             3     services.

             4               Of those ads that you bought out there,

             5     around $15 a thousand, you would have earned

             6     probably in the range of 300 visitors or so, so ads

             7     saying 300 visitors clicked through from those ads

             8     and came to your site to look.

             9               Of those only five took action, so you're

            10     getting started with the 133.        Now you're left with

            11     five that took action, and if they did take action,

            12     only 20 percent of those, or one, would return

            13     within the next year to buy anything from your site

            14     again.

            15               So just think of it from its most simplest

            16     format -- and you're only dealing with the

            17     advertising and attention components of being an

            18     Internet company, your acquisition cost for a loyal

            19     customer in this model is $2,000.

            20               So the imperative here is that the Internet

            21     has got to learn to be better and more focused on

            22     how it brings -- on how it brings its clients in.

            23               Let me show you a little bit about visitor

            24     relationship management and why it's important.

            25     Merchants want to increase desired action and get


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             1     consumers to buy things and services from their

             2     site.   Consumers want meaningful things to be shown

             3     to them.

             4                Merchants again want to display relevant

             5     content to their customers.        Consumers are

             6     demanding instantaneous and ever faster access to

             7     relevant content.      Doing that is expensive.

             8                Merchants want to optimize customer visits

             9     and generate sustainable profits.         Consumers expect

            10     free Internet, other than access, or inexpensive

            11     services at significantly discounted prices often.

            12     We think that visitor conversion is critical to

            13     making this model sustainable on the Internet.

            14                What Cogit does is capture registration

            15     information, I'm giving an example of what we do

            16     here, with and amongst our customers.          We match

            17     that registration information then to available

            18     data in the offline.

            19                We have two data sources primarily.        One is

            20     Equifax Corporation, which we use their own bulk

            21     data, and the other as of March 31 will be Claritas

            22     data, which will be entered in our file at the end

            23     of this month.

            24                When that information is matched, we

            25     irreversibly discard any personally identifiable


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             1     information that we found on the consumer, so if

             2     you registered by name, we get rid of the name,

             3     replace that with a random ID, and that random ID,

             4     we can't go backwards and reengineer to find out

             5     who that consumer is.

             6               We generate then an anonymous profile on

             7     that particular consumer, and then we allow our

             8     customers to, one, know who's visiting their site

             9     if they're not a customer yet, and, two, target

            10     them with relevant content that will then incent

            11     them to want to buy.

            12               We think privacy is a big piece of doing

            13     this.   Consequently our profiles are 100 percent

            14     anonymous.    We think consumer PII shouldn't be

            15     stored and used for further personalization.           We

            16     don't -- our visitors in the Cogit model are never

            17     tracked across sites, so we only know what you're

            18     doing on a specific site that you're dealing with.

            19               Information from one client is never shared

            20     with another.     Behavior information is

            21     never appended to our profiles, so the fact that

            22     you bought something on one of our customers' sites

            23     isn't appended to further your profile.

            24               Clients aren't allowed to store Cogit's

            25     returned data, and we semiannually have our web


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             1     site audited to validate that everything that we've

             2     got in our web site is, in fact -- in our policy

             3     is, in fact, what we do.       Ernst & Young does that

             4     audit.    We were the first cyber audit that they did

             5     and first audit attestation that they did.

             6               So the notion is from a visitor

             7     relationship management standpoint or knowing who

             8     comes to your site so you can do something about

             9     it, we think that that's critical to being able to

            10     sustain the Internet commerce that's having trouble

            11     sustaining itself today.

            12               We think that convenient and relevant

            13     information for consumers is what they demand and

            14     what they want.     Most of that information is given

            15     to the consumer free today, although it's given

            16     free against a model that is not panning out from a

            17     general business model standpoint, and we think

            18     that there's an optimum balance between

            19     personalization and privacy.

            20               We think we've come up with a method of

            21     doing that and one that doesn't offend the consumer

            22     and their ability to do it but yet does give the

            23     tools needed to the sites so that they can continue

            24     to make money in their commerce sites and/or money

            25     in their content sites.


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             1               So thank you.

             2               MS. LANDESBERG:     Thank you, Peter.      Our

             3     next speaker is Johnny Anderson, President and CEO

             4     of Hot Data doing double duty for us today.

             5               MR. ANDERSON:     Thanks, Martha.     I wanted to

             6     take a second and kind of look at a higher level on

             7     how companies interact with customers and what are

             8     the analytic and customer relationship management

             9     applications that are driving a lot of the demand

            10     for third-party information.

            11               This really depicts a pretty typical

            12     architecture of a CRM application that any marketer

            13     would use one or more components of.          At the bottom

            14     what you see is customer touch points.          That's how

            15     businesses will either get information from their

            16     customers and prospects or communicate with them.

            17               So on the left-hand side you see kind of

            18     the outbound communications media that a business

            19     will use to communicate directly with the customer.

            20     This is not TV and radio ads and so forth, but

            21     they'll really use kind of Email, direct mail and

            22     maybe some telemarketing either from an in-house

            23     organization where they have their own telesales

            24     organization or a contracted organization.

            25               And on the right, what you will see is


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             1     really the way that people get information and then

             2     sometimes communicate with their customers, and

             3     that would be kiosks, which is kind of a new

             4     emerging way to communicate with customers.           You're

             5     starting to see kiosks in, of all places, baseball

             6     parks where the San Diego Padres have a customer

             7     loyalty program.

             8               And a customer puts in their preferences

             9     when they sign up for the customer loyalty program.

            10     When they visit the ball park they'll get the 10

            11     percent off coupon for a specific restaurant that

            12     happens to be in the area.

            13               In-house or in-store communications, and

            14     we're now starting to see companies even like food

            15     chains implement customer loyalty programs where

            16     transactions are tracked so that customized offers

            17     and customized coupons can now be delivered to a

            18     specific consumer.

            19               Call center being somebody is calling an

            20     800 number and talking to a customer service

            21     representative, either a sales rep or a support

            22     representative, and then obviously the web as one

            23     of the major ways that customers are getting

            24     information about products and services that a

            25     company may offer.


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             1               It is a web visit where they may fill out a

             2     form that says, "Send me more information," and so

             3     that companies are getting some explicit

             4     personalization type information that says, If I'm

             5     going to a dot com or another sports kind of web

             6     site, I'm going to check that I'm interested in

             7     golf, so send me some golf information.

             8               That's really stored in an operational data

             9     store that's used for day-to-day kind of activity.

            10     That's the data store that a CRM system may use so

            11     that sales reps and a call center get access to a

            12     customer record when an inbound call comes in.

            13     They may have some transaction information, maybe

            14     used for actually back-end processing where order

            15     fulfillment takes place, but it's the data store

            16     that's being used on a day-to-day basis.

            17               Some companies actually will have a

            18     separate data store that is used for data

            19     warehousing and the analytics, and that information

            20     is transferred back and forth with some

            21     synchronization, extraction, transformating and

            22     loading where a lot of information is both

            23     rationalized, and that is, Bill Smith is also

            24     William Smith and Bill Smith came in through the

            25     Web and William Smith called in on a call, and that


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             1     information is rationalized.

             2               And then the analytical tools at the top

             3     are the things that are really driving a lot of the

             4     marketing automation pieces, and that's things like

             5     campaign management.      If I understand who my target

             6     audience is and who my best customers are, let me

             7     generate a campaign and plan that campaign and

             8     implement that campaign and then manage the results

             9     from that campaign.

            10               RFM analysis has been talked about already.

            11     That's really understanding recency, frequency and

            12     monetary transactions on a per customer basis,

            13     really to understand who my best customer is, and

            14     then to clone that customer and find more that just

            15     look like them or be able to recognize them when

            16     one of those comes into one of my touch points.

            17               Category management's driven from that, and

            18     that's really driving product synergies so if

            19     somebody buys a particular product, they know,

            20     through doing some category management analysis,

            21     retail analytics, that a customer is likely to

            22     purchase an additional product.

            23               And then that starts to drive a lot of the

            24     tools that marketing managers use to understand

            25     their business, and those are things like data


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             1     visualization, being able to look at customer maps

             2     for drive time analysis and trade area analysis;

             3     reporting, so aggregate reporting on a per product

             4     or per customer segment or per campaign

             5     performance, and then other kinds of data mining,

             6     being able to mine data that's transactional and

             7     maybe inventory management type applications and

             8     merging that kind of piece together.

             9               Where Hot Data fits is really on the left

            10     side of the equation, and that is we provide a set

            11     of services that offer data quality and enhancement

            12     of those databases, whether that's an operational

            13     database or a data warehouse database.

            14               The business models that are really in that

            15     kind of space, and not just Hot Data related but

            16     kind of industry wide, are really geared around

            17     four sets of services.       Marty mentioned address

            18     data quality, and that's a big part, not only in

            19     the real world, but also on the electronic commerce

            20     side of being able to verify that an address is a

            21     deliverable address, that it is standardized to

            22     Post Office standards so I get a better postal

            23     rate, that I can manage the consumer's change of

            24     address, i.e., the 20 percent of consumers that

            25     move every year, that that can be tracked in a


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             1     database, and then geo-coding addresses so that

             2     addresses can be looked at in terms of where people

             3     live.

             4                Data rationalization and standardizing,

             5     that's understanding Bill Smith is William Smith.

             6     Consumer data enhancement is enhancement of

             7     demographic, psychographic, and business data

             8     enhancement.     The flipside for us is that we also

             9     deal with business to business marketers.

            10                In a broad sense this is the architecture

            11     that we use.     We house consumer household

            12     information.     We house carrier route information.

            13     We have services that house standardization, area

            14     code update changes and U.S. national change of

            15     address.

            16                We provide customer data integration

            17     technology to our customer, to our customers who

            18     are contractually bound to the privacy use

            19     restrictions and viewing restrictions that we pass

            20     along to them, and that really from one click of a

            21     button they can profile a subset or their entire

            22     database and do things like address standardization

            23     and profiling.

            24                This is kind of a bright real world example

            25     of what one of our customers uses, and they're


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             1     really a wireless broadband provider that was

             2     really looking for -- to really target market.              I'm

             3     sure a lot of DSL, everybody has probably got DSL

             4     things in the mail, and when I did, I went to try

             5     to sign up for it, and I was out of range, and I

             6     couldn't sign up.

             7               So they got me to respond, but they got me

             8     to be hostile because I was outside the range, so

             9     our customer really wanted to target people outside

            10     10,000 foot radius from a central office, and after

            11     having done some ideal customer profiling for them,

            12     identified who their target should be and who their

            13     ideal target should be in that particular

            14     environment.

            15               I am out of time, and the band's about to

            16     start playing, so I'm going to turn it back to

            17     Martha.

            18               MS. LANDESBERG:     Thank you, Johnny.      Our

            19     next speaker is Lynn Wunderman, CEO of I-Behavior,

            20     also serving two roles for us today.

            21               MS. WUNDERMAN:     Actually, I don't know if

            22     it's true, but I heard a rumor here today that the

            23     real reason we've been asked to be here is that

            24     we're being auditioned for participants on a new TV

            25     game show.     It's called "Database Marketing


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             1     Survivor," you know the one where they put a bunch

             2     of database marketers in a room in Washington to

             3     talk about their business models.         Last one

             4     standing wins a million dollars.         Anybody else hear

             5     this?    I think I probably better keep my day job.

             6               Anyway, I'm here to talk to you today about

             7     a company called I-Behavior, and I founded this

             8     company with my father-in-law, Lester Wunderman,

             9     yes, there is a family relationship for those who

            10     have asked, and we created this company largely

            11     with the vision to bring a lot of the art and

            12     science of traditional direct marketing to the web

            13     and to new media.

            14               Now, our formula is really very

            15     straightforward.     Everything that we do, the way we

            16     manage data, the way we structure it, the way we

            17     analyze it, all the products that we create from

            18     data has its roots in a very simple but proven

            19     principle we've known for decades as traditional

            20     direct marketers.      You've heard this theme a lot

            21     today.    Past behavior is the single, strongest

            22     predictor of future behavior.        It's no coincidence

            23     that our name is I-Behavior.

            24               Now, we take for granted gaining access to

            25     behavioral information in direct mail.          We can pick


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             1     up the phone.     We can call a list broker, and we

             2     can rent names from one of any 30,000 plus odd

             3     lists based on what people bought, when they bought

             4     it, how much they spent.

             5               Can't do that today on the Internet.         That

             6     type of behavioral information doesn't exist.           We

             7     have interest categories.       We have product

             8     registration data, but not that level of

             9     behavioral, experiential information.

            10               Beyond that, what's been largely unexplored

            11     is the opportunity to target and understand

            12     consumers based on their multi-channel buying

            13     behavior.    Even though we know that a merchant's

            14     multi-channel shoppers, the buyers, tend to be

            15     their best customers, in fact statistics show that

            16     they're worth an average of over 30 percent more

            17     than their single-channel counterparts, and we know

            18     that those customers that can master these tools

            19     will be the multi-channel winners of tomorrow.

            20               So to fill this gap in the marketplace,

            21     we've created one of the first, if not some say the

            22     first, cooperative database that truly combines

            23     highly detailed, transactional information on and

            24     offline on known direct channel buyers.

            25               Now, before anybody starts slinging arrows


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             1     up here, I will tell you that there are significant

             2     privacy safeguards built into this product, but

             3     before I get to them, I want to make sure that

             4     everyone has an understanding of the business model

             5     so they have the context in which to evaluate them.

             6               First of all, I mentioned earlier for those

             7     of you who are not familiar with the concept of a

             8     co-op database, it's created when marketers pool

             9     all their customer names and related buying

            10     behavior in order to gain access to names of

            11     qualified prospects as well as additional data on

            12     their current customers that would otherwise be

            13     unavailable in the marketplace by which to build

            14     their business.

            15               Now, this is a proven business model in the

            16     offline catalog industry.       I'm sure you're probably

            17     familiar with names of companies such as Abacus.

            18     Experian has a similar offline product catalog

            19     called Z-24.

            20               The reason that these products are so

            21     successful is really two basic things; number 1,

            22     the superior performance of a list.         The fact that

            23     all this rich behavioral information goes in to

            24     fuel the selections, they have significantly higher

            25     response rates than the average mailing list,


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             1     outside mailing list, by which one would normally

             2     have the opportunity to do prospecting in the world

             3     today.

             4               Secondly, in terms of their pricing, they

             5     are offered to members, and by the way only members

             6     have access to these names.        You have to contribute

             7     in order to get data out.       Members get access to

             8     these names at a preferred rate, virtually half the

             9     price of a standard vertical list today.

            10               So what we're doing at I-Behavior is we're

            11     expanding this context so that beyond catalogers

            12     we're including publishers, E-tailers, club and

            13     continuity marketers, virtually anyone who does

            14     direct-channel marketing, and we're creating it in

            15     a way that's a true multi-channel vehicle so that

            16     you can target more efficiently the Email and

            17     postal mail today.      Tomorrow it will incorporate

            18     wireless, interactive television and virtually all

            19     forms of addressable media.

            20               Now, there are two reasons why marketers

            21     want to gain access to the data.         The first and

            22     most obvious is prospecting, and certainly you can

            23     see by the way that we consolidate information

            24     across marketers, across channels, we have a much

            25     more complete portrait of these shoppers, their


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             1     buying patterns and their value.

             2               This thing is bigger, smarter than any

             3     single marketer could ever create on their own.

             4     That's because when we take data in from a

             5     merchant, we get it down to each transaction, the

             6     entire shopping basket of a person's purchases so

             7     that we can collect all the rich recency,

             8     frequency, monetary value information we've been

             9     talking about earlier today as well as we also get

            10     one component that's generally not been available

            11     in co-op databases previously.

            12               Instead of just giving to each marketer who

            13     participates, to all their transactions, some high

            14     level general category associated with the affinity

            15     for that particular property, we actually get item

            16     level data so that we know exact products down to

            17     the SKU level that an individual is buying, and I

            18     can tell you that that is incredibly powerful

            19     information from a predictive standpoint when

            20     you're looking for those subtle predictive patterns

            21     in the data for those kinds of tools that we were

            22     talking about earlier today.

            23               Now, we have proprietary technology that

            24     allows us to create a common language across

            25     marketers that we can really leverage the value of


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             1     this product level information.        We also have

             2     proprietary technology that helps us link multiple

             3     Email addresses back to a single individual and

             4     optimize the match between the on-and the offline

             5     data, but I'm not here to talk to you about some of

             6     our competitive strengths.       I really want to focus

             7     on the business model itself.

             8               There are two key features that I think are

             9     inherent in the kinds of co-op you should be aware

            10     of.   First of all, this is the only place on the

            11     Internet today where you are assured of not talking

            12     to your own customers as prospects.         That's

            13     because, unlike in the traditional direct mail

            14     community where mailers are really familiar and

            15     comfortable with the process of sending their files

            16     to a compiler -- I'm sorry, to a reputable service

            17     bureau, I see I'm getting short on time here,

            18     whereby they can exchange their names, they can

            19     unduplicate them, you can suppress out your current

            20     customers, we already know who your customers are

            21     because we already have them in the database.

            22               Secondly, it's a closed loop process so

            23     when we send an Email to someone about this

            24     product, they may read the Email.         They may not

            25     respond to that particular communication, but if


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             1     they remember the marketer and two or three weeks

             2     later they have a particular need, they go to the

             3     Web site and they buy, we would know about that,

             4     not because we're tracking anything in terms of

             5     cookies.     I don't want to get anywhere near that,

             6     in terms of your surfing of the Web, but we know

             7     because the merchant sends us back their data.

             8                We match that back to our contact history.

             9     We get smarter about targeting you the next time

            10     around in the future, even if we don't get credit

            11     for that response, because we maintain a

            12     professional history on the file.

            13                Now, the fact that we maintain a promotion

            14     history is really of true benefit to both the

            15     consumer and to the merchant.        First of all, it

            16     allows us to identify habitual non responders.

            17     That's very important.       Don't want to keep mailing

            18     to people who don't want to purchase from you.

            19                Secondly, we keep tabs on any correlating

            20     between the volume of mail so we can look at your

            21     individual saturation rate and any negative

            22     correlation against response.

            23                Now, the second way that mailers want to

            24     gain access to this database is to be able to

            25     target their own and mine the value of their own


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             1     customers.     Now, we can do that to help them expand

             2     it into new categories, to reactivate lapsed

             3     buyers, to turn their offline buyers to more

             4     efficient online buyers.

             5               So, for example, if an apparel merchant

             6     comes and says, "We're expanding into swimwear,"

             7     and they may say, "I want to target everybody in

             8     own our file that has bought from us in the last

             9     12 months, who has bought swimwear from any other

            10     merchant in your database.       We'll create a one time

            11     file, do a one time mailing.        Anybody who responds

            12     to that mailing, they own the rights to that data.

            13               But we will not append any information

            14     permanently to that marketer's files, not an Email

            15     address, not a transaction because we don't have

            16     marketing rights, and there are privacy issues

            17     attached to that.

            18               What we will append on an ongoing basis are

            19     model scores.     Remember from our discussion

            20     earlier, it's nothing more than a mathematical

            21     probability.     I have a .8, you have a .4.       I'm

            22     twice as likely to buy swimwear as you are.           Even

            23     if we have the same score, you don't really know

            24     what it is in terms of personally identifiable

            25     information that got us there because it's a


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             1     formula, and it's made up like a Chinese menu.           I

             2     got there because of age and income.         You're there

             3     because you just bought shoes over the Web and you

             4     have kids.     We don't necessarily have the same

             5     profile.

             6                I will also say that there's some other

             7     creative ways to use these tools.         In fact you can

             8     use them to serve up dynamic content right on the

             9     Web site to register users.

            10                Now, I promised you that we would talk

            11     about privacy, and I just want to say that in terms

            12     of the offline data, we follow the industry

            13     standard which is opt-out for direct mail

            14     solicitations.     We're not looking to reinvent the

            15     wheel in direct marketing from that standpoint.

            16     All of our member companies actively notify the

            17     people who buy from them that they share data with

            18     trusted third-parties.

            19                If they choose not to do that, they send a

            20     request to the merchant.       That data comes back to

            21     us in one of their updates, and that information is

            22     removed in the course of our database build.

            23                However, online is a different animal, and

            24     we know that people have different expectations

            25     from a privacy perspective online.         We respect


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             1     that.     We've been extremely proactive on the

             2     privacy front going what we believe is really above

             3     and beyond today's best practices in industry

             4     standard.

             5                First of all, this is a double opt-in

             6     database, so in other words, no consumer will be

             7     targeted for an Email communication unless they

             8     raised their hand, self selected, and said they

             9     actively agreed to participate.        When they do, we

            10     allow them to tell us the maximum number of Emails

            11     that they're willing to receive in any time period.

            12                We will not exceed that.      We give them

            13     access and control to the aggregated level of

            14     information that we utilize for selections, so they

            15     can come in, request a copy of their profile.           They

            16     can say, "Don't use this Email address, use that

            17     one.    I know I bought sports equipment in the past;

            18     but you know what, that was just a gift, please

            19     don't send me any more sports offers."          Obviously,

            20     they can opt-out at any point in time.

            21                I will also tell you that we do not allow

            22     marketers to cherry-pick this file.         They can not

            23     come in and say, We want people of this age and

            24     this income who bought these products in this time

            25     frame."     Not online, because as far as we're


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             1     concerned, anyone who would respond to that kind of

             2     an offer, you could attach that purchase history

             3     and that profile of the individual and you would be

             4     releasing personally identifiable information, and

             5     we don't think you should do that.

             6                So we work with the marketer to understand,

             7     What's the product you're selling, what's your

             8     price point, what's the promotional nature of your

             9     offer.     We construct targeting tools, create a

            10     composite score, rank them on the database.           All

            11     you know is these people had a score of .75 and

            12     above.     That's nothing in terms of personally

            13     identifiable information.

            14                Finally, we do not release any of the data

            15     on this file to -- no addresses -- to anyone for

            16     any purpose beyond a reputable service bureau

            17     offline.     They go seemlessly through our own

            18     service bureau online.       They never get access to

            19     the data.

            20                I will also tell you that we took this

            21     concept into consumer research.        We told them what

            22     kind of data we have, how it benefits them, what we

            23     do with it, what we don't do with it, and they were

            24     not only very positive about the concept, they

            25     actually embraced our privacy policies.


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             1               So, in summary, I just want to say that we

             2     have a proven business model in terms of the

             3     behavior-based co-op, which has been expanded to

             4     meet the unique needs of multi-channel marketers.

             5     We have superior technology and a level of data

             6     that helps us generate superior behavior

             7     predictions at a good value to our clients, and

             8     we're doing it in a way that we believe respects

             9     consumer privacy and is looking to set new

            10     standards in that area.

            11               Thank you.

            12               MS. LANDESBERG:     Thank you, Lynn.     The last

            13     speaker on our panel today is Jerry Cerasale,

            14     Senior Vice President for Government Affairs at the

            15     Direct Marketing Association.        Jerry joined the DMA

            16     in January 1995 and is in charge of the DMA's

            17     contact with Congress, all federal agencies and

            18     state and local governments, a very busy man.

            19               Thanks for being with us.

            20               MR. CERASALE:     Thank you, Martha.     Lynn,

            21     just so you know, for this panel, I'm the last one

            22     standing, so send the check.

            23               Before I get to my slides, I wanted to

            24     just, first of all, thank the FTC for having me

            25     here and for having this workshop.


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             1                I wanted to make three quick points.        The

             2     first is that the information that we're talking

             3     about today is marketing information, information

             4     that's used to send you a solicitation, an offer

             5     for something.     It's not being used to give you

             6     employment or refuse employment or anything of that

             7     sort or for insurance, whether or not you're

             8     eligible for insurance and things like that.

             9                In particular as well, just to get on a

            10     topic that was raised, DMA guidelines would also

            11     say that information that comes from a doctor-

            12     patient or medical provider-patient relationship

            13     should be only on a consent basis, and that's

            14     pretty well standard within the industry as far as

            15     we know.

            16                Second, the information that you gather is

            17     basically to send a solicitation about a particular

            18     product, so it only goes once.        It's a one-time use

            19     that people use to try and find new, prospective

            20     clients.

            21                And third is that, generally speaking, the

            22     information doesn't go to the marketer.          What you

            23     receive is, the information goes to a service

            24     bureau that is either sending out -- making phone

            25     calls or sending out the mail pieces and then


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             1     returned back to the -- it's not used again, so

             2     it's that kind of information that we're talking

             3     about.

             4               Martha asked me to talk specifically about

             5     prospecting and why we do it and how is it used, so

             6     I wanted to use because of my -- to make it simple

             7     so I could understand it, use some hypotheticals,

             8     and if Allison gives me time, I'll go to some more

             9     specifics after the hypotheticals, depending how

            10     nice she is to me.

            11               The first is the idea of a new company.            I

            12     just started something, I have a brand new idea.

            13     Think about Marty's view when he had the list of

            14     what marketers have and what compilers have.           He

            15     said marketers have information on their customers.

            16               Well, I'm brand new.      I haven't got

            17     anything.    I have no customers, nothing.        I have a

            18     new idea for a new golf club, so what am I going to

            19     do?   And the other thing is I'm going to sell it

            20     over the Internet.      That's what I want to try and

            21     do.   So what do I do?

            22               Well, I'm going to go to a golfing magazine

            23     likely and try and see if I can rent the list,

            24     because those are people I would assume would be

            25     interested in golf, and I'm going to use this list


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             1     to mail it because I'm starting to find -- and

             2     we're starting to find that mail, snail mail is

             3     being used successfully to drive customers to Web

             4     sites to make sales.

             5               We find that from our catalogers and so

             6     forth, that it is a very important piece tool in

             7     E-commerce or multi-channel marketing.          So, this is

             8     what I want to do so.

             9               So I go and get the golfing magazine list,

            10     and it's one million names, and that is

            11     outrageously expensive to send, so I can't do it,

            12     so I want to go -- I go to an information compiler,

            13     and I say, Look, I would like to have some more

            14     information from an information provider, I want to

            15     try and narrow this list down.

            16               I think that maybe this piece would likely

            17     be best suitable for women.        I think that it may be

            18     for women probably over 40 because it helps give

            19     distance, and if you really swing hard it messes up

            20     the way the ball goes, so I think that that's what

            21     I want, and I know that likely I think that it's

            22     expensive, higher income, let's see if I can get

            23     that from Census data.

            24               I'm selling it over the net so I want to

            25     use Win's stuff to make sure they're Internet-


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             1     enabled, and I think maybe five miles from a golf

             2     course.    Let's just pick these out of the air.

             3     Maybe we can get these things, and it finally comes

             4     down to 500,000 pieces, people that I can send this

             5     to, and that's within my budget, and that's what

             6     I'm going to use, and that's how a marketer can try

             7     and prospect a new start-up business.

             8               Without the information from third parties,

             9     I can't start.     I cannot start a catalog.       I cannot

            10     start driving people.      I can try, put it up on a

            11     Web site, see if search engines get me some people,

            12     but that's not going to be a viable economic model.

            13               Another idea for prospecting is a current

            14     marketer looking for new customers.         The idea I'm

            15     trying to use here, I'm selling books and probably

            16     I'm selling books online, I'm trying to use online

            17     and offline because this is supposed to be online

            18     and offline information so these are my examples.

            19               And I know because I sell books that

            20     they're upper income, they're Internet-enabled and

            21     these people that purchase from me happen to be

            22     people who live more than 20 miles from a book

            23     store and more than a hundred miles from a discount

            24     book store, so that's my marketplace of my current

            25     set of customers.


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             1               40 percent of Americans never purchase

             2     remotely.    60 percent of Americans do, so I want to

             3     try and reach some new customers, so I'm going to

             4     go and try to find information that matches that

             5     market because it works for me today, and I'm going

             6     to send a mail piece to them.

             7               I may in fact ask for a split on this test,

             8     people who have purchased, those that were in the

             9     60 percent piece of the pie, and those in the 40

            10     percent that have never purchased, to try and see

            11     if I can reach new customers differently through

            12     this mail piece, and so I send it.

            13               This is what I want.      This is the

            14     information I asked for.       The information provider

            15     supplies a list to the letter shop I'm going to

            16     use.   They send it out.      They make sure the current

            17     customers are deleted.       They use hopefully the DMA

            18     mail preference list, and they prepare the pieces,

            19     and they send them out.

            20               I never see the list.      I only know someone

            21     was on the list if in fact they come back and

            22     purchase from me.      Then I would know that they

            23     responded, so that's the only way it happens, and

            24     that's generally how you use prospecting data.

            25     That's to try and find someone new.         You know from


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             1     past behavior or you have a guess, if you're brand

             2     new.     You don't have any past behavior in your --

             3     on your product.     You make a guess:      We think this

             4     is what the market is for.       That's how we use the

             5     prospecting.

             6                Now, let me give you a couple of quick

             7     examples of real life things that have been

             8     testified, to the process has been in Congress, in

             9     testimony before Congress.       One company is Grolier.

            10     It's no longer in existence.        It's been bought out,

            11     but Grolier is a bookseller selling things remotely

            12     out of Danbury, Connecticut, and it basically sells

            13     to children, basically sold discounted Dr. Seuss

            14     books.

            15                The market for this company was rural

            16     Americans who lived more than 50 miles from a book

            17     store, families that had young children and were

            18     low income.     The only way for Grolier to find these

            19     people to give them books that their children can

            20     read or books that they could read to their

            21     children was to have information to find them, so

            22     it was necessary to have a free flow of

            23     information.

            24                And marketers -- the other is stylists, an

            25     after-market automobile company that sells after-


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             1     products for minivans, seat belts that can be

             2     adjusted better for children, back-up warnings on

             3     minivans, so their market, families that own

             4     minivans that have children that are outside of car

             5     seats, to try to give them an offer of some safety

             6     to add to their cars, and that's the market, and

             7     they needed the information to try and find it.

             8               One of the things that I want to make sure

             9     that you also know, my time is now up, I did get

            10     through the two examples, thank you, I didn't get

            11     my million dollar check yet though, but the one

            12     thing that the DMA says, you have to tell people

            13     that you share information with third-parties and

            14     give them an opportunity to say "no."

            15               And that's really the basis, that people

            16     who take the information and share with

            17     third-parties have to tell you that they do that,

            18     and to be a member of DMA you must do that.

            19               Thank you for the time.

            20               (Applause.)

            21               MS. LANDESBERG:     Well, we have just a very

            22     few minutes for questions from the audience.           If

            23     you would raise your hand, and if do you have a

            24     question, we'll bring the mike to you.

            25               MR. HENDRICKS:     Two quick questions.      Evan


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             1     Hendricks, Privacy Times.       In the offline world, a

             2     lot of times people want to know when they receive

             3     a mailing, "Where did you get my name?"

             4               Aren't there a lot of instances where

             5     there's contractual language that prevents

             6     organizations from disclosing that?         That's the

             7     first question.

             8               And the second question is I assume that

             9     the 20 licensees of the NCOA sell new movers' lists

            10     which they're able to produce because of the data

            11     they get from NCOA, but do other companies also

            12     sell new movers' lists?

            13               MR. ANDERSON:    I'll answer the NCOA

            14     question, and one of the restrictions that we have

            15     from the USPS is that we specifically cannot

            16     generate new movers' list, so this is specifically

            17     -- our NCOA services are specifically for people

            18     that are in a database, but we will not, cannot

            19     contractually generate a new movers' list that can

            20     then be sent out to marketers that are interested

            21     in people that have just moved.

            22               MR. HENDRICKS:     How are they generated,

            23     where they're moving?

            24               MR. ANDERSON:    A lot of other different

            25     sources, but none of which come from the USPS.


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             1                MR. ABRAMS:     In terms of the question

             2     about, "Where did you get my name?"         Increasingly

             3     during the 12 years that I was with an information

             4     aggregator, the contractual arrangements that

             5     limited the ability of the marketer to say where

             6     the name came from began to disappear from the

             7     marketplace.

             8                And increasingly organizations are

             9     acquiring data from organizations that have given

            10     notice, and organizations that even if they say,

            11     "No, you can't tell them where the data came from"

            12     they say "Pass on the name to us and we will call

            13     the individual and let them know that we were the

            14     source."

            15                So while that was the norm ten years ago,

            16     that norm has been changing over time.

            17                MS. LANDESBERG:     Jerry, did you have a

            18     comment?

            19                MR. CERASALE:     I was going to just comment

            20     specifically on the NCOA because actually there is

            21     a contract, but no one can use that for marketing

            22     purposes.     It's just to correct mailing lists, to

            23     increase the efficiency of the Postal Service, so I

            24     don't have a lot of those letters.

            25                MS. LANDESBERG:     Other questions?    All


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             1     right, then.     Seeing no more questions, I would

             2     like to thank our panelists for a wonderfully

             3     informative session.

             4               Thank you.    If I could ask you just to bear

             5     with us for a moment, we'll go straight into the

             6     next session -- so don't go anywhere.

             7               (Discussion off the record.)

             8

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             1     SESSION 4:    HOW DO MERGER AND EXCHANGE AFFECT

             2     CONSUMERS AND BUSINESSES?

             3     JESSICA RICH, Assistant Director, Division of

             4     Financial Practices, FTC, Moderator

             5

             6     PANELISTS

             7

             8     FRED CATE, Professor of Law and Harry T. Ice

             9     Faculty Fellow, Indiana University School of Law

            10     JASON CATLETT, President, Junkbusters Corporation

            11     JERRY CERASALE, Senior Vice President, Government

            12     Affairs, Direct Marketing Association

            13     MARY CULNAN, Slade Professor of Management and

            14     Information Technology, Bentley College

            15     EVAN HENDRICKS, Editor/Publisher, Privacy Times

            16     RICK LANE, Director, eCommerce and Internet

            17     Technology, U.S. Chamber of Commerce

            18     GREGORY MILLER, Chief Privacy Officer and Vice

            19     President of Corporate Development, MEconomy, Inc.

            20     BRIAN TRETICK, Principal, eRisk Solutions, Ernst &

            21     Young

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             1                                 SESSION FOUR

             2                 HOW DO MERGER AND EXCHANGE AFFECT

             3                     CONSUMERS AND BUSINESSES?

             4                     -      -       -     -     -   -

             5                MS. RICH:       Hello.   If everyone can take

             6     your seats again, please.           We're going to start

             7     this next panel.       I'm Jessica Rich.           I'm an

             8     Assistant Director in the Division of Financial

             9     Practices here at the FTC, and I'll be moderating

            10     this fourth panel, which will focus on the effects

            11     of merging and exchanging consumer data on both

            12     businesses and consumers.

            13                In other words, how do consumers and

            14     businesses benefit from these practices and what

            15     concerns, if any, do these practices raise.

            16                I think we've heard some references to the

            17     various ways in which people benefit or some of the

            18     concerns that people have, but we're trying to

            19     drill down and talk more specifically about this

            20     particular topic.

            21                We have a great group of panelists for this

            22     session.     We're going to start with brief

            23     statements from each of them, three minutes each,

            24     and we're going to hold everyone to that, but I

            25     don't want to be too -- everyone has been great


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             1     about keeping to their time, so I probably don't

             2     have to lecture them too much.

             3               Then we'll have a discussion among the

             4     panelists so we can examine the issues in greater

             5     detail, and we'll hopefully have time for

             6     questions.    I think for this panel questions are

             7     fairly important, so at about 3:15, if you're in --

             8     get ready to ask some questions if you're in this

             9     room, and if you're in one of the overflow rooms,

            10     please come up to the door here so we can give you

            11     a microphone to ask your question.

            12               I want to emphasize that this is a long

            13     panel, and it's easy to focus on a lot of different

            14     topics, but we really want to focus on the effects

            15     of the particular practices we're talking about

            16     today, which is the merger and exchange of consumer

            17     data, the effects on consumers and businesses, that

            18     specific topic.

            19               We're going to let our speakers go

            20     alphabetically.     I think they may be seated

            21     alphabetically, and we're going to start with Fred

            22     Cate, and I'll introduce him.        He's a professor of

            23     law and Harry T. Ice Faculty Fellow and Director of

            24     the Information Law and Commerce Institute at the

            25     Indiana University School of Law in Bloomington.


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             1               He also serves as senior counsel for

             2     information law with Ice Miller Legal and Business

             3     Advisors and is a visiting scholar at the American

             4     Enterprise Institute.      He specializes in privacy

             5     and information law and appears regularly before

             6     various legislative committees and professional

             7     groups on these matters.

             8               Fred?

             9               MR. CATE:    Great.   Thank you very much, and

            10     thank you also for the opportunity to be here.

            11               I've tried all morning long to condense

            12     this to three minutes, and I think I've got it now,

            13     so let me just make two points.        I'm just going to

            14     take up one of the questions that was asked, and

            15     that is the impact on consumers, and let me talk

            16     about just briefly two points.

            17               One of them is the use of information to

            18     overcome the obstacles of market size and distance

            19     to make it possible to deliver customer service,

            20     customized service and personalized service to

            21     customers, and there are many examples of this,

            22     such as better targeting of what is stocked in

            23     stores.

            24               We've already heard about better targeting

            25     of the type of mail or commercial offers that are


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             1     sent into homes, more accurate decision-making

             2     about customers, about consumers who come seeking

             3     service, greater convenience for consumers in many

             4     ways all the way from having forms pre-filled in,

             5     one call service center being able to change your

             6     or address in multiple accounts with a single call,

             7     loyalty programs.

             8               I think frequent traveler programs are

             9     something we almost all share in common at least in

            10     this room, or returning goods without a receipt.

            11     These are exactly the types of examples of, if you

            12     will, sort of overcoming the type of problem that

            13     large, diverse and particularly online markets

            14     pose.

            15               The second, I think, set of examples of the

            16     real impact on consumers is where we see

            17     dramatically new and different types of benefits,

            18     and maybe the best example is lower cost, and this

            19     is one area in which there's been a fair amount of

            20     studies completed recently showing, for example,

            21     Mike Turner's study, a billion dollars in the

            22     retail apparel industry in cost reduction by the

            23     ability to use personalized information, Walter

            24     Kitchenman's study showing $85 to 100 billion in

            25     annual savings in the mortgage credit market


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             1     because of access to personalized information, the

             2     Staten and Barron Study showing $150 billion

             3     annually in non mortgage credit, the Ernst & Young

             4     study, Ernst & Young will be speaking later, $17

             5     billion a year focusing just on 30 percent of

             6     financial services companies.

             7               The point is this consistent evidence from

             8     these studies about the way in which the use of

             9     personalized information saves consumers money, but

            10     there are other good examples, either dramatically

            11     new and different services, for example, the wider

            12     availability of products and goods and services.

            13               I don't mean simply expanded access to

            14     credit, although we have studies clearly

            15     demonstrating that, but even the points made on the

            16     earlier panel about the way in which a business

            17     operates, the way in which AOL got started by

            18     sending out floppy disks to people who had

            19     computers (and identifying people who had computers

            20     of course was key to that strategy), and finally

            21     the more apt, rapid and efficient, more accurate

            22     fraud detection and prevention.

            23               I think one thing that almost anyone who

            24     works in that field will say is that personalized

            25     information is the key to detecting and preventing


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             1     fraud.    If you don't have access to it, you'll lose

             2     one of those key tools.

             3               Thank you.

             4               MS. RICH:    Next we have Jason Catlett.

             5     He's President and Founder of Junkbusters

             6     Corporation, a computer scientist with a Ph.D. in

             7     data mining.     Dr. Catlett has worked on issues

             8     relating to the interplay between technology,

             9     marketing and privacy at such places as AT&T, Bell

            10     Laboratories, the University of Sydney and various

            11     other academic settings.

            12               In addition to academic publications, Dr.

            13     Catlett has contributed articles to such

            14     publications as the Privacy Journal and Direct

            15     Marketing News.

            16               DR. CATLETT:    Thanks very much, Jessica,

            17     and thanks again to the Commission for inviting me

            18     today.

            19               First let me put a concern to rest of Jerry

            20     and anyone who feels like they're on a survivor

            21     program, or Commissioner Swindle, that I'm not

            22     going to be posting any profiles of people.           I did

            23     go through an exercise that you can read in the

            24     handout out there of asking people if they would be

            25     willing to have their profiles posted and then


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             1     going to companies to actually see the profiles

             2     that the consenting data subjects have.

             3               Unfortunately, though I have a number of

             4     volunteers, I have no company yet willing to place

             5     on the table before us a real profile, which I

             6     think is regrettable.

             7               However, what I'm going to talk about today

             8     is not that.     It's three points.      First, let me

             9     state that Fred is absolutely right that the

            10     benefits of information processing are enormous.

            11               Let's remember, however, that the

            12     overwhelming majority of those benefits come

            13     without personally identifying information.

            14     Wal-Mart is an extremely good example.          It's all

            15     about inventory and forecasting, and most of the

            16     benefits come without PII.

            17               Where you do use personally identifying

            18     information, as Marty Abrams pointed out, the vast

            19     majority of that is about personal information that

            20     the business already has and not that it gets from

            21     third parties.

            22               Now, turning to the question of whether

            23     direct mail actually reduces -- sorry, targeting

            24     that information reduces the amount of junk mail

            25     that people get, in fact it actually increases it.


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             1     If you look at the historical trend from say 70

             2     billion direct mail pieces per year in the United

             3     States, it's been trending up as the technology has

             4     made targeting better and better.

             5                We do see more offers that people respond

             6     to.   This is true, but the typical response rate

             7     being in the low percentage figures as Michael

             8     said, that results in a lot more junk, and Jerry's

             9     example of the golf course magazine is a good one

            10     here because without the information, a lot of

            11     offers are uneconomical and would not be mailed.

            12     So the additional information causes more offers to

            13     be responded to, also causes more unwanted

            14     solicitations because the information isn't

            15     perfect.

            16                Now, let me turn to some of the negative

            17     aspects of personal information.         One that we

            18     haven't discussed yet, I think is important, goes

            19     under the name of dynamic pricing or price

            20     discrimination.     The American public loathes the

            21     idea that the person sitting next to them is

            22     getting a lower price on the same goods that

            23     they're getting.

            24                They loathe the idea that I'm getting a

            25     lower price than Fred is for example, and I think


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             1     Amazon learned this to their distress when it came

             2     out that they were randomly, they said, pricing,

             3     and Amazon very quickly stated that they would

             4     never base price points on demographic information.

             5     They said they didn't really have click stream

             6     data.   I would like to see a clarification on that.

             7               I'll wrap up with my last point, which is

             8     the effect on non-participation.         I would dearly

             9     love to see some figures that talked about the

            10     impact on participation of profiling, but we don't

            11     have those figures.       We just have figures that

            12     Forester put out last year of $12 billion lost in

            13     online commerce due to privacy concerns.

            14               But those privacy concerns were not

            15     specified to the level of particular profiles where

            16     the people were concerned about SPAM, or about the

            17     actual nature of the profiles.        We simply do not

            18     know.

            19               I'll leave it at that.

            20               MS. RICH:    Great.   Jerry Cerasale is next.

            21     He was just on the previous panel, but I'll remind

            22     you that he's Senior Vice President of Government

            23     Affairs at the Direct Marketing Association.

            24               MR. CERASALE:     On this panel, still looking

            25     for my million dollars, but whatever, I wanted to


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             1     just take a look at that study of restriction of

             2     data that was released yesterday and just raise to

             3     you that it's a billion dollars in just the apparel

             4     area, but there's an additional study that's an

             5     overlay on it that says that the individuals -- the

             6     groups that purchase apparel remotely to a greater

             7     extent, a greater proportion than their density in

             8     the population, are rural Americans and

             9     economically disadvantaged intercity, the people

            10     who are not adequately served by brick and mortar

            11     retailers, the people who don't have other choices,

            12     who end up paying a disproportionate share of any

            13     restrictions, cost of restrictions on privacy.

            14               Those who have the fewest choices are the

            15     ones who pay the most based on that study.

            16               I want to add to what Fred had said.           What

            17     we know is that the sharing of information helps

            18     reduce fraud.     We've seen studies where fraud,

            19     credit card fraud over the net in Europe is twice

            20     as great as that in the United States.          We can

            21     attribute that in part I guess because we're more

            22     honest than Europeans, but I'm not certain that

            23     that is the full case.

            24               The real reason is that part of the

            25     restriction in Europe is you can't use information


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             1     collected for purposes other than the specific

             2     reason that information was collected, so a billing

             3     address on a credit card cannot be used for

             4     anything other than billing.

             5               So that in the United States, if you're on

             6     the Internet or even on the phone, if you call or

             7     want to purchase a good and here's the credit card

             8     saying, I'm Jerry Cerasale, give them a credit card

             9     number, and it's being delivered to the billing

            10     address, that's fine.

            11               In Europe they can't check that.        In the

            12     U.S. they can.     If it's not going to the billing

            13     address, I'm sending it to my mother or ostensibly

            14     I'm sending it to my mother, they ask for the

            15     billing address.     If I can't give them the billing

            16     address, then they figure it's probably not Jerry

            17     Cerasale, so it's an added thing for fraud

            18     prevention.

            19               So information flow is important from that

            20     score as well, giving benefits to people.          There

            21     are an awful lot of jobs, low income jobs.           It's

            22     interesting when you go on visits with senators and

            23     representatives that they want direct marketers to

            24     come with them to set up call centers, to set up

            25     warehouses and so forth in areas where there are


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             1     economic downturn areas because they want to try to

             2     build them up.

             3                These are jobs that can be part time.

             4     People can be trained fairly readily, so those are

             5     advantages as well as choices to consumers.           You

             6     also have employees and the efforts there in trying

             7     to do that.

             8                It also allows for easy entry, easier entry

             9     for new businesses so that you can get greater

            10     competition.     I do not have to build the store.           I

            11     can be L.L. Bean in my basement getting a list of

            12     Maine hunters, Maine hunting licenses, out of state

            13     people, sell 15 shoes, have to repair 14 of them,

            14     but that's how I start a billion dollar business.

            15                Those are the things that can happen and

            16     happen readily with the sharing of information.

            17                Thanks.

            18                MS. RICH:     Next we have Mary Culnan.     As we

            19     noted earlier, Mary is the Slade professor of

            20     Management and Information Technology at Bentley

            21     College in Waltham, Massachusetts, where she

            22     teaches and conducts research on information

            23     privacy.

            24                MS. CULNAN:     Thanks, Jessica.    My point I

            25     would like to make in my three minutes is that fair


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             1     information practices should apply to the merger

             2     and exchange of consumer data, that is to

             3     profiling, and it's not clear that it really does

             4     today.

             5               One way I think to close the trust gap and

             6     the misunderstanding that Commissioner Swindle

             7     talked about this morning is through much greater

             8     transparency about how compilers and co-op

             9     databases acquire personal information and what

            10     they do with it.

            11               There's some parallels here to the network

            12     advertising model where in fact consumers do not

            13     have a direct relationship with the compilers and

            14     the co-op databases, and they frequently don't know

            15     who these firms are, so if they wanted to contact

            16     them, they would not know how to start.

            17               So what are some of the things that we

            18     need?    We need much more notice where data are

            19     collected directly from consumers.         I've never seen

            20     a notice that says, "We share your name with

            21     carefully selected companies or carefully selected

            22     third parties and one of America's largest data

            23     compilers."

            24               And I think to the consumer in fact the

            25     idea of a carefully selected company, while in fact


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             1     the information is being shared for marketing

             2     purposes, that is not the same thing to the

             3     consumer as you buy from L.L. Bean and you get a

             4     mailing from Eddie Bauer or something like that.

             5               So I think that all the compilers should

             6     provide an easy way for people to opt-out, and

             7     there needs to be a better way for people to be

             8     pointed to the Web site or however the opt-out is

             9     handled, and I think the companies that enhance

            10     their customer databases should include this fact

            11     in their privacy notices just out of fairness.

            12               There are a couple questions that need to

            13     be answered.     What does opt-out mean for compiled

            14     databases?     Does my personal information stay in

            15     the database?     Is it still used for enhancement

            16     purposes, or does it just mean that my name is

            17     removed from the mailing list when people come to

            18     get a prospecting list and it is just gone?

            19               Should consumers be able to have their

            20     personal information removed from a compiled

            21     database?    And then, second, the always popular

            22     "What kind of access is appropriate?"

            23               In conclusion, I think really there's a

            24     need to bring consumers into the loop.          What I hear

            25     -- it strikes me a lot of it is "We know what's


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             1     good for you" is kind of part paternalistic because

             2     most consumers are smart, and they make good

             3     choices in their own interest when they have

             4     information.

             5               And I think access to personal information

             6     is not an entitlement just because people don't

             7     know about the compilers, and basically then they

             8     don't know about it.

             9               Consumers do benefit a lot from compiling,

            10     and I think the marketing profession needs to

            11     develop some effective strategies to educate and

            12     communicate with consumers the benefits of

            13     profiling and that these benefits outweigh the

            14     risks, which also means that the people that hold

            15     these databases have to make sure that they have

            16     very good privacy policies in place and that they

            17     enforce them.

            18               MS. RICH:    Next we have Evan Hendricks.

            19     Evan is the Editor and Publisher of Privacy Times,

            20     a biweekly newsletter that reports on privacy and

            21     freedom of information law.        He's also the author

            22     of several other publications on consumer privacy,

            23     including his book "Your Right to Privacy" and he's

            24     Chairman of the U.S. Privacy Council.

            25               He regularly lectures on information policy


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             1     issues in the U.S., Canada and Europe.

             2               MR. HENDRICKS:     Thank you, and thank you to

             3     the FTC for the hard work they've put into this and

             4     the opportunity.

             5               In January I had the good fortune of

             6     hearing Commissioner Swindle speak not once but

             7     twice in different gatherings, and he said

             8     something that I strongly agree with.

             9               He said that when we talk about this issue,

            10     we should not talk about it emotionally because it

            11     can be an emotional issue, and it doesn't really

            12     help.   This is something we need really more light

            13     than heat, so I made a commitment to him that when

            14     I come before the FTC, I will not discuss this

            15     emotionally.

            16               And then I started thinking about it this

            17     morning, and I started getting really mad because I

            18     love to talk about this emotionally, but I'm a man

            19     of my word, so I can't do that.

            20               Seriously I think that we should speak

            21     about this in cool and analytical ways, and I

            22     think, first of all, there's a greater irony here,

            23     and one of the ironies is that the direct marketing

            24     industry was subsidized by the taxpayers.          The

            25     direct marketing industry was able to get public


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             1     records at low or no cost, which was a great way to

             2     start a business if you can get your primary source

             3     that makes your business possible paid for by

             4     taxpayers.

             5               We've seen it -- and that's not such a bad

             6     thing.    We've seen it with investment in computer

             7     chips by the Defense Department has led to the

             8     computer revolution, but let's recognize that as

             9     people speak against government regulation, what

            10     got them to a point where they can speak about

            11     that.

            12               Second of all, I think already from today

            13     and all the years I've seen leading up to this, on

            14     the issue of warranty cards, I think there's enough

            15     evidence to justify an investigation of unfair and

            16     deceptive trade practices.

            17               I think it's widely understood that

            18     consumers fill out warranty cards thinking that

            19     they need to do this for the warranty to be good,

            20     and in fact you do not need to fill out a warranty

            21     card for the warranty to be good.

            22               The purpose of warranty cards is generally

            23     to collect information by database companies.           It

            24     is then sold and used for other purposes, and

            25     warranty cards are one of the primary sources of


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             1     unlisted phone numbers, which people are unable --

             2     companies are unable to buy from phone companies,

             3     but they can get them.

             4               And I think it shows that people who pay

             5     extra for an unlisted phone number would not be

             6     giving their unlisted phone numbers if they knew

             7     that information was going to be sold on the open

             8     market, so I think we have a real problem there

             9     that deserves official attention.

            10               I think another example -- since I only

            11     have three minutes, another example of something

            12     that cries out for concern is say a company like

            13     American Student Lists based in New York.

            14     Factually, for instance, they have over 12 million

            15     names of children ranging in age from 2 to 13 years

            16     representing PK through 8th grade.         All names are

            17     selectable by age, birth date and heads of

            18     households, and approximately 25 million age birth

            19     through 17 compiled from numerous direct response

            20     sources selectable by age, birth date, head of

            21     household, income and geography.

            22               Well, I doubt that most of the people in

            23     those categories or their parents really had a

            24     chance to exercise much in the way of notice and

            25     choice.


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             1               A third area of I think concern which now

             2     -- finally the good thing about the workshop -- is

             3     it is being described as a very routine process and

             4     it has been for years, but that is not known to

             5     consumers, is the idea of enhancing your database,

             6     which really means by virtue of being a customer of

             7     a bank or of an Internet provider or whatever,

             8     because you're a customer, then they go to outside

             9     sources of data and fatten their file on you

            10     saying, This is what kind of car you drive, this is

            11     what kind of home you own, this is your estimated

            12     income, do you have children.

            13               And I think that there is again no notice,

            14     awareness or education to consumers about what's

            15     happening and certainly no rights for individuals

            16     to do anything about it; and I think that is a very

            17     significant privacy issue because if you join a

            18     company, you know they're going to have information

            19     on you as a customer, but when they merge

            20     information, they're basically creating a whole new

            21     file that you don't know about.

            22               I think also the whole issue of public

            23     records, I think that in public records, it's a

            24     difficult issue.     As a FOIA advocate, I think there

            25     should be public access to public records, but when


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             1     it's personal data, I think we should apply the

             2     purpose test that we find in Fair Information

             3     Practices and that if it's a driving record, it can

             4     be accessed for driving purposes.

             5               Well, if it's a voter record, and in answer

             6     to one of the earlier questions, Are there

             7     restrictions on public records, half the states

             8     have laws that say you cannot use voting records

             9     and the other half don't, but I think the idea is

            10     that if it will interfere with people's right to

            11     vote, if they're concerned that their information

            12     will be used for commercial purposes, that's the

            13     purpose of the privacy law there.

            14               I think we have to apply that kind of

            15     purpose test where people can get access to a

            16     voter's list if they're doing a campaign.          How do

            17     we do that?     I think one way to do it is that I

            18     think we should have to certify to the record

            19     holder that you're using it for this purpose and

            20     then have a notice sent to the data subject so they

            21     know that someone has accessed their record.

            22               That can be done either by postcard or

            23     electronically to reduce cost, but I think that's

            24     the direction we need to go to handle the public

            25     records issue.


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             1               My final point is that I think there's a

             2     lot of important players missing at this workshop

             3     starting with Acxiom, which has records on over a

             4     hundred million Americans, something like 120

             5     million Americans pulled from all sorts of sources.

             6     I commend you to two articles in the Washington

             7     Post that dealt with Acxiom over the last couple

             8     years.

             9               I think a lot of hard work goes into

            10     putting a workshop together like this all the way

            11     up and down the Commission, and I think it's a

            12     disservice to the Commission and the American

            13     public if a major player like Acxiom and other

            14     players like that don't participate to shed light

            15     on what they do.

            16               Thank you.

            17               MS. RICH:    Our next panelist is Rick Lane.

            18     He's the director of E-Commerce and Internet

            19     Technology for the U.S. Chamber of Commerce, where

            20     he's responsible for coordinating the development

            21     and implementation of the Chamber's E-commerce and

            22     technology, legislative, and policy initiatives.

            23               Mr. Lane has served in leadership positions

            24     on a variety of federal, state and local

            25     commissions and committees, including the


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             1     Montgomery County Cable and Communications Advisory

             2     Committee.

             3                Rick?

             4                MR. LANE:   Thank you very much.      I just

             5     have a quick question.       How many people in the

             6     audience have started a small business, have

             7     started their own business?

             8                That's what this is all about.       That's what

             9     we're talking about in the free flow of information

            10     and being able to have entrepreneurialism in this

            11     country.

            12                I started my own business called Cyber

            13     Sports.     We spent a lot of money in development of

            14     a product, and basically what the product was was a

            15     database that college and university sports

            16     programs could use to help track the college

            17     recruits that they were recruiting through the

            18     recruiting process.

            19                In the old days they had paper files, and

            20     they had problems complying with NCAA requirements,

            21     but how did I get that product to market?          It was

            22     easy for the most part to develop the product, but

            23     how did we target our audience?        Our audience was

            24     college coaches.

            25                What we did was, first, we looked and


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             1     thought, Well, we can call every college and

             2     university sports program in the country.          I think

             3     there are about 5,000 colleges.        We were four

             4     people.    We couldn't afford to do that.

             5               So what we did was we found a list that was

             6     already available, that had information on all the

             7     college coaches in every sport across the country.

             8     It made our life easier.       Then we got additional

             9     information from other sources that put on top of

            10     it the coaches win-loss records.

            11               So we saw those coaches that were losing

            12     would be a better potential market for our product

            13     than those that were winning because the ones who

            14     were winning figured, Hey, we already understand

            15     this game.

            16               And then on top of that, we took the

            17     information of size of school because what we found

            18     was the smaller the school, the more kids that they

            19     had to recruit because they didn't have name

            20     recognition.

            21               I have a nephew who is six-three, 215, the

            22     fastest kid on the team.       He's not hard to find.

            23     He's going to be recruited by Michigan and Ohio

            24     State and other schools are going to find him and

            25     probably offer him a scholarship, but what about


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             1     the kids who are in the smaller towns and how do we

             2     get information about them?

             3               Here's the next part of the process, which

             4     is people send information on college kids

             5     throughout the country into these coaches'

             6     databases which they search on grade point

             7     averages, height, weight, positions and they fill

             8     them.

             9               Now, what we're talking about is, Is that a

            10     bad thing?    Is offering kids scholarships a bad

            11     endeavor?    We have information, these college

            12     coaches, on thousands of kids based on public

            13     information through newspaper articles and so on

            14     and so forth.

            15               Yet they are using it to offer kids

            16     scholarships, and those of us who enjoy March

            17     Madness think, well, maybe it's not a bad idea at

            18     all, but what we found is the academic side of the

            19     colleges liked it because we were tracking grades

            20     and other information for the kids that were being

            21     sent in, but then other departments who were

            22     offering scholarships began using our software to

            23     offer kids scholarships for music and academic

            24     scholarships and drama and so on and so forth.

            25               So the information flow is critical.         We


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             1     looked at it in Acxiom, yes, big macro, large

             2     company, important to look at, but there are also a

             3     lot of smaller, targeted uses of information

             4     database and flow that is beneficial to the

             5     foundation of this economy and how we operate.

             6               So from our standpoint, we look at this

             7     issue from a small business perspective.          Let's

             8     give small businesses the opportunity to grow and

             9     survive and to create competition in the markets

            10     unlike in the EU, and let's not arbitrarily just

            11     cut that information flow off.

            12               Thank you.

            13               MS. RICH:    Greg Miller is Interim Chief

            14     Privacy Officer and Vice President of Corporate

            15     Development for MEconomy, an Internet privacy

            16     infrastructure venture.       Before joining that

            17     company, Mr. Miller was Medicologic Netscape's

            18     chief Internet strategist of governmental affairs

            19     and a director of strategic marketing for Netscape.

            20               Mr. Miller has worked on issues involving

            21     technical Internet infrastructure, online marketing

            22     strategy, including personalization and data

            23     warehousing, and Internet security and privacy

            24     policy issues.

            25               Greg?


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             1               MR. MILLER:    Thank you, and I want to thank

             2     the Commission for inviting me to participate this

             3     afternoon.

             4               Actually a little bit beyond MEconomy, I

             5     have the privilege of being a venture capitalist,

             6     not to be confused with capitalist, so MEconomy is

             7     one of my portfolio companies.

             8               But in the process of doing that, I

             9     facilitate the development of emerging security and

            10     privacy companies in the digital economy and advise

            11     up-starts on issues of consumer privacy and

            12     information security, and two very different, yet

            13     perhaps paradoxically complementary sectors of

            14     digital entertainment and U.S. health care.

            15               I've been asked here today to participate

            16     with my esteemed colleagues on an exploratory

            17     discussion on the effects to business and consumers

            18     of the merger and exchange of consumer information

            19     and digital economy.

            20               And of potential applicability to this

            21     discussion, I spent the last six months working

            22     with a client start-up to engineer an inflow

            23     mediation and user registration system that was

            24     designed specifically to address required

            25     consorting of offline and online consumer


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             1     information for multiple sources in order to create

             2     the best possible user experience and online

             3     digital entertainment while simultaneously

             4     respecting the privacy of those subscribers.

             5               Our solution, which we dubbed JOIN for

             6     "just opt-in," addressed many of the issues raised

             7     by this workshop, so the net of my work there, as

             8     it may contribute to today's discourse, can

             9     probably be summed up as follows:         Over time the

            10     convergence, Consortium and brokering of personally

            11     identifiable information, or PII, we believe will

            12     require a balancing test between the needs of

            13     business and the needs of consumers, nothing too

            14     profound there.

            15               And I can see the broken smiles of the

            16     lawyers among us.      I call it YABT, "yet another

            17     balancing test," and thankfully for all of us I'm

            18     going to avoid going down that particular rat hole

            19     of jurisprudence.

            20               But anyway, what we learned last year in

            21     this online music start-up was that consumers might

            22     not worry about privacy per se as much as they

            23     worry about surprises and uninvited interruptions,

            24     and apparently Seth Goddin this week concurs at

            25     least in part with that finding in the current


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             1     issue of Red Herring Magazine.

             2               So I submit that consumers simply want to

             3     be left alone and are not interested in being

             4     interrupted, unless they've agreed to such as part

             5     of the deal for receiving the information, product

             6     or service that they're seeking.

             7               I also submit that the majority of

             8     businesses are not interested in snooping but

             9     simply selling more products and services.           For

            10     business success in the digital economy means

            11     gathering information to improve the customer

            12     experience and relationship.

            13               Compiling information on consumers from

            14     whatever source is legally available should be

            15     intended to improve the customer experience and

            16     nothing more, and this may mean not only sharing

            17     and consorting of PII, but synthesis of data into

            18     homogenized databases.

            19               This can raise potential concerns.         The

            20     ease with which PII can be extrapolated is

            21     improving -- it's proving really possible to be a

            22     very powerful thing and perhaps to one's detriment.

            23               Witness Web M.D.'s move last week or the

            24     week before to rescind their contractual

            25     obligations to provide certain data to Quintiles,


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             1     one of their supply chain trading partners, due to

             2     the technical wherewithal to ascertain an identity

             3     with only a date of birth and a postal code.

             4               I submit there are demonstrative benefits

             5     to PII compilation and the downside in terms of

             6     consumers' lack of confidence in business to do the

             7     right thing or unwillingness to participate I think

             8     can be addressed through what we call permission

             9     based approaches to the data gathering use.           Of

            10     course, consumers should be aware of the possible

            11     misuse of PII but also understand the cost benefit.

            12               So through that work we also came to the

            13     conclusion that unless and until the incentives of

            14     business and consumers are matched in a manner that

            15     encourages and authorizes the compilation and usage

            16     of PII, something we're studying right now at

            17     MEconomy, this so-called digital economy we think

            18     may stall.

            19               For the consumer the concern should

            20     probably run to security more than privacy as the

            21     real threat may lie in identity theft.

            22     Unfortunately we weren't able to find a lot of

            23     empirical evidence last year on the use or misuse

            24     of PII.

            25               I think the digital economy is still fairly


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             1     nascent, but I think prospectively industry should

             2     focus on the now well settled principles of notice,

             3     choice and access, and as they're equally important

             4     in the compilation of PII, we think the consumer

             5     should be notified of information gathering

             6     practices and policies whenever they're used in any

             7     service, online or not, and where appropriate or

             8     practical given the choice to participate in

             9     advance of such gathering.

            10               We think the compiled PII by business

            11     should be accessible to the consumer's review, too,

            12     and we think applying these three principles with

            13     equal force and meaningful standards for each

            14     empowers the consumer to take an active role in

            15     protecting their own identity and its uses.

            16               So as we grapple with the complex issues of

            17     the underlying and I think most valuable commodity

            18     of a digital economy, PII, I believe that notice,

            19     choice and access can serve as safeguards for over-

            20     reaching data collection, and I think that that

            21     would be the basis for my contributions today, if

            22     any, that are hopefully useful.

            23               Thank you.

            24               MS. RICH:    Thanks.   Lastly Brian Tretick is

            25     a principal with Ernst & Young, who works in the


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             1     area of global privacy assurance and advisory

             2     services.    He serves clients in the online

             3     financial services, retail and software industries

             4     focusing on the technological, organizational,

             5     regulatory and third-party relationship aspects of

             6     data privacy.

             7               He also works in the firm's global privacy

             8     practice where he helps to provide various

             9     consolidated services, technical, advisory, and

            10     legal, to Ernst & Young's global clients.          Brian?

            11               MR. TRETICK:    Thank you, Jessica.      Prior to

            12     this panel, you heard from marketers, and I

            13     represent here the assurance industry.

            14               I want to talk a little bit about what

            15     companies are doing, especially companies that hold

            16     on to marketing information, hold on to information

            17     about their customers, merge third-party

            18     information with that to get to know their

            19     customers better and perhaps then provide an avenue

            20     for other parties, their merchant partners,

            21     business partners, to reach the company's customers

            22     with those third-party messages.

            23               First off, I would like to talk a little

            24     bit about the organizational issues, namely, the

            25     appointment of privacy officials, and these aren't


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             1     the privacy officials, the celebrity CPOs that were

             2     appointed over the last year, year and a half.

             3               These are people with a lot less glamor.

             4     They have assurance, audit and compliance

             5     responsibilities, so what we're doing, we're seeing

             6     a push, an evolution of privacy and privacy

             7     responsibilities out of the PR, the business

             8     development type environments and down into the

             9     business.

            10               We're seeing an emergence of the roles and

            11     responsibilities, the policies and procedures out

            12     of marketing groups for marketing data, although

            13     they need to keep executing those policies and

            14     procedures.     There's someone with authority and

            15     accountability in companies who is much more,

            16     pardon the expression, humorless about the use of

            17     information because they're much more regimented

            18     and disciplined in their backgrounds.

            19               So we're seeing those again

            20     accountabilities and authorities extending outside

            21     of the marketing arrangement, marketing groups, and

            22     into business development, into other compliance

            23     and auditing functions.

            24               We're seeing the extension of security and

            25     controls, again not just on Web sites.          All this


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             1     data is back in enterprise systems and increasing

             2     technical, procedural controls in these situations,

             3     and also assurances where management needs to

             4     establish confidence among themselves that their

             5     technology groups, that their business development

             6     groups, customer service groups, marketing groups,

             7     sort of fulfillment groups, are all meeting these

             8     policies and procedures, these internal policies

             9     and procedures.

            10               So they're seeking assurance internally and

            11     externally on these practices.        They're providing

            12     training and awareness for their employees and

            13     third-party vendors on their policies, on their

            14     detailed practices, dos and don'ts, what they

            15     should and should not do regarding the use of

            16     collected data.

            17               And they're also reregulating their

            18     dealings with third parties, with people who they

            19     receive information from and people who they

            20     provide information to, vetting them, selecting

            21     them carefully and doing due diligence and

            22     including specific terms of use in contracts with

            23     third parties and also then various verification

            24     and monitoring.

            25               The final point here is that these


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             1     companies are working again internally or with

             2     third parties to establish assurances that their

             3     controls are in place to prevent bad things from

             4     happening, to discourage bad things from happening,

             5     and to put controls in place to encourage the right

             6     things, the appropriate business practices to

             7     happen.

             8               Thank you.

             9               MS. RICH:    Thanks to everybody for your

            10     prepared statements.

            11               We thought it would be useful next to open

            12     up the panel for a discussion of some of the issues

            13     you touched on in your opening statements.           Some of

            14     you have identified ways in which consumers and

            15     businesses benefit from the merger and exchange of

            16     data, for example, better targeting of ads, lower

            17     costs, better customer service, lowering end

            18     barriers for start-up, other examples.

            19               I think it would be useful if the panelists

            20     expanded on some of these points and had a chance

            21     to comment on others' points that were made in this

            22     area, and also if anybody has data to support or

            23     even contradict the points they're making, if you

            24     could mention it now, I think it would make for a

            25     better discussion if there was any data and


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             1     everyone could hear about it.

             2                I guess Jason is putting his tent up, so he

             3     would like to start it off.

             4                DR. CATLETT:   Thanks very much.      Let me

             5     talk about dynamic pricing a little.         There's very

             6     little data on this because companies don't put out

             7     press releases saying," We are able to gouge our

             8     customers to the extent of $6 million."

             9                However, I would point you to an article in

            10     Harvard Business Review last month that says that

            11     an unnamed consumer electronics store was able to

            12     differentiate between price sensitive consumers and

            13     price insensitive consumers who were in a hurry and

            14     to charge the more hurried customers a 20 percent

            15     premium over the more diligent shopper, so that's

            16     the only empirical data point that I have about

            17     dynamic pricing, an area that's shrouded in

            18     secrecy.

            19                What could we possibly do about dynamic

            20     pricing?     Well, there's a diversity of opinion

            21     about whether this is a good thing.         The airline

            22     industry does differential pricing, not based on

            23     personal information, but whether, for example, you

            24     want to be home with your wife and children on

            25     Saturday night.


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             1               A benefit to rationing that, and I think

             2     there's a diversity of opinion on whether dynamic

             3     pricing is a good thing.

             4               What privacy protections are necessary in

             5     that environment?      I believe the appropriate one

             6     here is that adopted in the EU's data directive

             7     which gives the data subject not only the right to

             8     see the base data on which the decisions are made,

             9     but also to have an automated decision-making

            10     process explained to him or her.

            11               So that, for example, if an E-commerce

            12     merchant is charging Fred $2 less for a paperback

            13     book than it is charging me, then I can, in

            14     principle, ask to have that decision-making process

            15     explained to me, and then the merchant can say,

            16     "Well, it's because of your past behavior in this

            17     area," and then at least I have some understanding

            18     on which to base my future behavior.

            19               MS. RICH:    Is that Rick down there?

            20               MR. LANE:    Yes.   Just a couple points.      On

            21     the dynamic pricing issue, obviously that just puts

            22     up red flags for us in terms of you're dictating

            23     how businesses are going to charge particular

            24     customers for particular items.        Does it mean

            25     dynamic pricing includes presenting certain


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             1     customers with coupons that provide a 10 percent

             2     discount over maybe my neighbor who doesn't get

             3     that and based on my buying habits, and so that is

             4     obviously of concern.

             5               Also market forces, if what happened at

             6     Amazon.com is accurate and all this brew-ha-ha

             7     erupted, obviously there is concern in the

             8     marketplace that reacted very quickly and swiftly

             9     that consumers weren't ready for that or did not

            10     appreciate that, and it stops, so there are market

            11     forces already out there.

            12               Also the direct marketing that Jason put

            13     forth in his discussion about the increase in

            14     direct marketing over the course of time, well,

            15     yes, obviously there's been more mailings done.

            16     There are more people in the country.

            17               So, of course, you're going to have more

            18     mailings.     There's more businesses.      There's more

            19     small businesses, and we've had a dynamic growth

            20     over the past couple years.        It's called economic

            21     growth.     I thought it was a good thing.

            22               So, yes, you're going to have more direct

            23     marketing out there, but the fact is you're getting

            24     less mail that's not of interest to you, and that's

            25     a critical point, and that's what this is all


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             1     about.

             2                DR. CATLETT:   Could I respond to that

             3     quickly?     There are several factors at work, the

             4     increase in population, the increase in the price

             5     of paper and the price of postage, which Jerry I

             6     guess constantly is working on, all work to cause

             7     the total number of solicitations to vary for a

             8     number of different areas.

             9                But I think if you learn DM Math 101, you

            10     will find that more information means more total

            11     solicitations, more accepted solicitations, but

            12     also more unwanted solicitations.

            13                And on the issue of dynamic pricing, I

            14     didn't seek to say that the Federal Trade

            15     Commission should stop dynamic pricing or stop a

            16     company from offering a coupon to a subset of its

            17     customers based on the Claritas Prism rating or

            18     whatever criterion.

            19                I simply think that from the point of view

            20     of privacy and fair information practices, the

            21     consumer should have the right to see the

            22     information that that decision is being based on.

            23     The information may be incorrect, and they may be

            24     missing out on something that they might otherwise

            25     be entitled to, and the decision-making process


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             1     should be transparent.

             2               If there is a trust gap, and I agree with

             3     Commissioner Swindle and the many other speakers

             4     who have said that there is a trust gap here, the

             5     way to close that gap surely is greater

             6     transparency, to give the consumer the right to see

             7     what's going on and the right to delete it if they

             8     don't want it.

             9               MS. RICH:     Evan, you've been waiting

            10     patiently, calmly.

            11               MR. HENDRICKS:     And unemotionally too.

            12               MR. RICH:     Unemotionally, yes.

            13               MR. HENDRICKS:     Well, let's talk about

            14     small business.       If you look -- I commend everyone

            15     to the latest study from Forrester.         Jason cited

            16     one earlier in our Privacy Times.         It's out on the

            17     table.    We report on the latest Forrester which

            18     looks at wireless, how privacy is not only integral

            19     to wireless, but privacy is integral -- it's the

            20     core business issue, and that it has to be dealt

            21     with top to bottom or businesses will suffer.

            22               And Forrester staff are not consumer

            23     advocates or political.       They're just worried about

            24     their clients' bottom line, and I think it's a very

            25     important analysis.


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             1               Let's talk about small business.        I mean,

             2     so much of being in business depends on your

             3     judgment as a businessman and what is your business

             4     model, and so sometimes you need information to

             5     make your business go, and sometimes you can

             6     configure your business so you don't need to rely

             7     on people's personal data.

             8               I started my small business in January

             9     1981, and I had $3 in my pocket, and I've not

            10     borrowed money, and I'm still in small business

            11     and -- is the business you described still going?

            12               MR. LANE:    It's the number 1 recruiting

            13     software in the country.

            14               MR. HENDRICKS:     Excellent, excellent.      So

            15     we like that, but I think the other thing that

            16     happened to be in the 1980s is when the federal

            17     agencies were making a lot of claims about computer

            18     matching and that computer matching -- when I

            19     wanted to match databases from different agencies

            20     to fight fraud, they would make these projections

            21     about how bad fraud was among federal agencies.

            22               And I was part of studies that actually

            23     drilled down and looked at the numbers, and we

            24     found that the costs and the fraud projections were

            25     completely specious.       There was no basis in fact to


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             1     them, and that they were just pulling numbers out

             2     of the air.

             3               So I look in today's Wall Street Journal,

             4     and I see that the cost of the 90 largest financial

             5     institutions will be $17 billion for some sort of

             6     restrictions on sharing or selling customer

             7     information, and Fred is quoted as saying that the

             8     costs run into the trillions, so I look forward to

             9     looking at those numbers too.

            10               I'm very skeptical that these will hold up

            11     to objective analysis and that the one thing when

            12     you hear about Gramm Leach Bliley, notices will be

            13     going to customers by banks of information

            14     practices and privacy policy.

            15               But Gramm Leach Bliley, the provisions in

            16     there were -- that's what the banking lobby wanted.

            17     They got what they wanted in this bill, and the

            18     other proposals advocated by the consumer advocacy

            19     community were rejected.

            20               So this is a case where maybe they didn't

            21     think out long enough what really were the best

            22     privacy standards and the most cost efficient ones.

            23               MS. RICH:    Fred?

            24               MR. CATE:    Thank you very much.      I think

            25     one of the points Evan makes, he raises one, and


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             1     frankly this goes to something Jason said which

             2     might be worth following up on, several people have

             3     mentioned, and Evan just did then, the question of

             4     how many people don't engage in an activity because

             5     of privacy fears and trying to put numbers, and

             6     Forrester certainly tried to do that.

             7               I think there's some reason to be a little

             8     skeptical of that, and I think Europe is the reason

             9     for that.    Europe offers the most restrictive set

            10     of privacy laws we have on the books.

            11               The polling data on reasons for staying

            12     offline is just as high as in the U.S., so in the

            13     presence of very high legal protection, you have a

            14     very high anxiety rate.

            15               Moreover, something else we seem to know is

            16     that there's a certain disconnect here between what

            17     you want to be worried about and what you are

            18     worried about, that what we might perceive because

            19     we don't know, because we don't understand, and

            20     that this is also reflected frankly in a lot of

            21     these -- a lot of these numbers.

            22               And if you read the whole survey you see

            23     what they were really talking about was something

            24     different.    They were talking about security or

            25     they were talking about some specific issue, not


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             1     the question of, Is this information going to be

             2     shared.

             3               They're worried about, Is the information

             4     even going to get to the end point, but this

             5     reminds me -- this is my segue alert.          This reminds

             6     me of Jason's point, which I think actually is

             7     excellent, dynamic pricing is an issue.          If it's a

             8     problem, it's a problem that should be looked at as

             9     a phenomenon itself.

            10               And if Commissioner Swindle can get me a

            11     cheaper fare home because I'm not going to be

            12     subject to the sort of pricing that the airlines

            13     use, I think that would be terrific.

            14     Unfortunately, I guess jurisdiction doesn't extend

            15     there.

            16               But it highlights the sort of need to focus

            17     on what is the use of the information that causes

            18     the problem; in other words, not what's the specter

            19     of uncertainty.     What's the way in which you can

            20     sort of look across sort of all possible uses of

            21     information.

            22               But if in fact there is a use of

            23     information, for example, we have all sorts of laws

            24     in this country prohibiting discrimination, that

            25     you would use information to discriminate in.           We


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             1     don't have nearly as many laws restricting the flow

             2     of that information.       We have laws restricting the

             3     use of that information.

             4               You cannot use it to discriminate in

             5     certain ways, housing, public accommodations and so

             6     forth, and so I think really both of these points

             7     highlight the importance of focusing on

             8     demonstrated behavior and real harms as opposed to

             9     sort of speculation and system wide regulation of

            10     information flows.

            11               MS. RICH:     Mary?

            12               MS. CULNAN:     This is another segue alert,

            13     but I think for the business people in the

            14     audience, I mean, one way to think about privacy,

            15     it's not really privacy, it's really disclosure.

            16     You want consumers to be comfortable disclosing

            17     information and allowing it to be used for

            18     marketing.

            19               And there have been a couple of good Harris

            20     surveys that have looked at people's willingness to

            21     disclose.    There was one done in 1997 so these were

            22     mostly computer geeks in the sample because at that

            23     time everybody wasn't on AOL like they are now.

            24               But they asked some questions about, Have

            25     you ever either lied or not disclosed information


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             1     to a Web site when they asked for it, and everybody

             2     knows the numbers.       A huge number of people say,

             3     Yes, at some point I did do this.

             4               So then they asked, Well, what if the Web

             5     site told you, gave you notice and choice, and a

             6     huge -- about half the people who did not disclose

             7     before or lied say, "Yeah, I'll disclose my

             8     information then," or if you already had a previous

             9     relationship with a firm, then a lot of people

            10     would disclose.

            11               I think what it says is you've got to get

            12     at least notice and choice into the equation, and

            13     it does make people more comfortable.

            14               Now, the other interesting side to this is

            15     there is still a clump of people that under any

            16     circumstances are still not comfortable disclosing,

            17     and the issue is, What is it that would make these

            18     people disclose or, in fact, is this just how

            19     marketing works, and there's a segment of people

            20     that don't want to do business online.

            21               MS. RICH:    Jason?

            22               DR. CATLETT:     Let me go from those

            23     habitual, non responders, who comprise

            24     approximately half of the United States, back to

            25     the dynamic pricing issue.


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             1               Rick said that market forces have corrected

             2     that, and in the case of Amazon, I would feel a lot

             3     more comfortable if Amazon disclosed the fact that

             4     they were doing dynamic pricing.         This was not the

             5     case.   It was discovered by someone who talked

             6     about it on an Internet discussion group, and then

             7     it went out to the media.

             8               So I think again the problem we have is a

             9     lack of transparency here.       If we want to

            10     investigate the practice, we have a very difficult

            11     time doing so, if we don't have a right of

            12     consumers to see what information is being held

            13     about them and how it is specifically being used in

            14     their case.

            15               MS. RICH:    Since we seem to be moving

            16     partly into what effect this has on consumers, let

            17     me just go back to a point made earlier, which is

            18     if there are cost efficiencies and lower costs

            19     generally from being able to share data, are any of

            20     these cost efficiencies passed on to consumers?

            21     Has anyone measured that or thought about that?

            22     No.

            23               Another point I just wanted to go back to

            24     before we move into effects on consumers completely

            25     is I heard different statements being made about


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             1     whether the number of solicitations is really

             2     reduced when you can share data and target more

             3     efficiently with some people saying that, Yes,

             4     people will get fewer solicitations and others

             5     saying, Well, they'll be targeted more.

             6               Does anyone have any data on that or any

             7     information that would be useful in talking about

             8     that issue?

             9               Evan?

            10               MR. HENDRICKS:     Well, in the credit cards,

            11     we do have data out, just in the last few months,

            12     showing that the response rate for pre approved

            13     credit card is plummeting, and I think that deals

            14     -- I mean, here's a situation where they're able to

            15     use credit bureau data, highly targeted, and it's

            16     just a question of the market is so saturated, and

            17     there's not much differentiation anymore among the

            18     credit card offers.

            19               So I can't remember, someone told me it was

            20     .4 percent or something was the response rate, so

            21     the customer acquisition is going much higher, and

            22     that's many factors.

            23               DR. CATLETT:     They key point there is the

            24     number of credit card solicitations is going up.

            25               MS. RICH:    Jerry?


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             1               MR. CERASALE:    The basic -- this isn't

             2     precise data, but the basic use of mail

             3     solicitation tends to be standard mail, although

             4     there are solicitations that go out first class,

             5     and standard mail growth is growing faster than the

             6     rest of the mail volume is growing, but

             7     significantly below what would be expected in

             8     the -- what was expected in the growing economy.

             9               The Postal Service is coming in and asking

            10     for new rates and so forth based on new market

            11     forces, so that the amount of total volume of

            12     standard mail is not growing, what would be

            13     expected in the economy.

            14               One of the things you can see has changed

            15     over time, however, is what used to be known as

            16     resident or occupant mail, that in standard mail

            17     the non resident, non occupant mail percentage of

            18     standard mail is growing, meaning that the

            19     targeting has increased.       It's not just the

            20     saturation shock on hitting every house everywhere,

            21     even though those have the lowest postage rates

            22     offered by the Postal Service.

            23               So that type of data we have seen as well,

            24     and the solicitations also tend to follow a pattern

            25     of the economy, that if the economy turns down, you


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             1     tend to get a significant increase in standard mail

             2     solicitations to try to drum up the business that's

             3     being lost, and that lags the drop in the economy

             4     about six months to nine months before that

             5     plummets down as it follows the economy.

             6               So that's what's happening.       You have an

             7     increase in targeted pieces, less saturation pieces

             8     going through the mail, but they are growing less

             9     rapidly than they have historically based upon

            10     what's happening in the economy.

            11               DR. CATLETT:     Jerry, could you just clarify

            12     that standard mail is what used to be called third

            13     class mail?

            14               MR. CERASALE:     Yes, that's what the Postal

            15     Service used to call third class mail.          They now

            16     changed it to standard.

            17               MS. RICH:     Before we get too deep into

            18     consumers, I realize I left out the piece of -- we

            19     talked about the benefits for businesses of these

            20     practices.

            21               Does Greg or Brian or anyone else want to

            22     talk about some of the downsides or the risks for

            23     businesses of these practices?

            24               MR. MILLER:     We both probably have

            25     interesting remarks to make about this, and just


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             1     perhaps as a segue from the business side over to

             2     the consumer side, I want to speak to you a moment

             3     about infrastructure cost on the business side and

             4     then how that transitions over to consumers.

             5               And I have two quick case points for you

             6     that would be great for you to comment on too, and

             7     I will start with health care, which is where I

             8     spent a lot of time in the medical records space,

             9     and what we were trying to do at Medicalogic was

            10     give to the consumer for the first time in history

            11     a secure, authorized access to their authentic

            12     medical history.

            13               Well, it turns out that for most of us, our

            14     medical history is comprised of several records,

            15     our primary care physician and at least a couple of

            16     specialists, and so what we were trying to do was

            17     give a view port to that comprehensive medical

            18     history, and that required literally the opt-in of

            19     several physicians and the proactive relationship

            20     building that went on with the patient to encourage

            21     them to allow that.

            22               That required a lot of infrastructure cost

            23     for us in the consorting and homogenizing of that

            24     data and creating the necessary safeguards to even

            25     create Chinese walls, if you will, between the


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             1     dermatologist and the OB-GYN and the primary care

             2     physician, so there was a view port challenge

             3     there.

             4               In the entertainment space, the most recent

             5     case, we had a very challenging one with -- another

             6     one of our panelists, Ted Wham and I worked

             7     together on a project in the music space, and the

             8     problem we had there was when you go buy music, you

             9     don't say to yourself, I've got to go get me one of

            10     those Sony records.      You say, I want to go buy a

            11     Dave Matthews album.

            12               You, the consumer, purchase by artist, but

            13     the music industry, by which I mean the five record

            14     labels that control 90 percent of the music that's

            15     distributed worldwide, have their view of the world

            16     on you.

            17               So we literally had to engineer what we

            18     called a data escrow service to ensure that privacy

            19     policies across five labels actually reconciled

            20     with one another and then the JOIN, the just opt-in

            21     program, was the means by which we encouraged the

            22     consumer to get the experience that we're really

            23     looking for which was a unified locker service

            24     which allowed them to compile all music they've

            25     ever purchased across any label from any retailer


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             1     in history into one homogenized database.

             2               This really presented a lot of problems

             3     because all the labels jumped up immediately and

             4     said, Not on my watch are you going to be mixing my

             5     data with the data of Universal without my customer

             6     explicit opting in says BMG, so we literally had to

             7     create this membrane.

             8               This produced some substantial costs, and I

             9     dare say it may have been the straw that broke the

            10     camel's back because unfortunately that company is

            11     now in receivership.       They spent tons of money on

            12     infrastructure to build the data escrow service

            13     that would ensure the privacy policies of five

            14     labels were maintained and protected and then still

            15     get the subscriber, the consumer, opting in to

            16     participate.

            17               And I think that put a lot of pressure on

            18     them from the standpoint of ensuring privacy as

            19     well as building infrastructure that would support

            20     and then shield them from a certain amount of

            21     liability which I think segues over to you.

            22               MR. HENDRICKS:     Also, Greg, wouldn't an FTC

            23     standard, a uniform standard solve that problem

            24     across those five Web sites?

            25               MR. MILLER:    I think to a certain extent


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             1     that's possible, yeah, but it's interesting the

             2     challenge of being a lawyer, working with lawyers

             3     and their view of each of their privacy policies.

             4               MR. TRETICK:    I think there are always some

             5     risks in the exchange of any valuable asset, both

             6     upstream and downstream from a marketing data

             7     provider to a marketing data consumer company.

             8               The providers are looking to make sure that

             9     the information that they provide is going to

            10     reputable and responsible parties and going to be

            11     used in reputable and responsible manners, that

            12     children's information that is being offered up

            13     about all these school kids and college kids isn't

            14     going out to market them, drugs, liquor, cigarettes

            15     to athletes, things like that upstream.

            16               Downstream is the same thing.        We want to

            17     make sure that when we receive information it's

            18     coming from sources that got this data under again

            19     a reputable and responsible regime and that we can

            20     reach out and touch these customers and make sure

            21     then that they're not annoyed by our message, that

            22     the frequency of being able to be touched is

            23     reasonable, that the method of touching these

            24     customers is reasonable and responsible and

            25     appropriate for that.


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             1               So these are the risks that are faced both

             2     upstream and downstream.

             3               MR. CERASALE:     I think we're switching to

             4     some risk to businesses.       I think the first risk a

             5     business has is they promise more than they can

             6     deliver, so that you have to make sure that you

             7     promise to do certain things and that you can and

             8     will be able to do it.

             9               The risk -- the real risk you have, a

            10     business has in sharing information is to become

            11     complacent and sloppy.       If you don't treat the

            12     information that's given to you as part of a trust

            13     relationship, ensure that you have safeguards to

            14     keep the data secure, you want to make sure -- as

            15     you just said, you want to make sure to whom data

            16     is being shared, what type of procedures, what type

            17     of marketing piece is going out.

            18               If you're just sharing data from one

            19     marketer to another, you want to see what the

            20     marketing piece is.       You want to make sure if

            21     you're -- for a one time use that the list is

            22     seeded so you can see, to make sure the person you

            23     dealt with actually does, in fact, live up to his,

            24     her, its agreement they had with you.

            25               So that those -- and you have to train your


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             1     employees as they work with -- we've seen that way

             2     back with -- an example that was publicly stated

             3     here with Metro Mail where on the 13th phone call,

             4     an untrained person gave information out.          You have

             5     to make sure that you work that way because you can

             6     quickly lose consumer trust.

             7                A 60 Minutes program, something like that,

             8     can destroy your business, so I think that that's a

             9     big downside for businesses.

            10                The upside is that you can try and grow and

            11     expand and give people who don't have as many

            12     choices more choices and so forth, but you can, if

            13     you are reckless, totally destroy your business

            14     with some mistakes.

            15                MS. RICH:   I'll take Jason, and we'll move

            16     on.

            17                DR. CATLETT:   Thanks.    Building on Jerry's

            18     point there, it's not any danger to the individual

            19     company.     It's a danger to the collective trust by

            20     consumers of companies and the technologies.

            21                I would refer you to another Harvard

            22     Business Review article by Susan Fornia called

            23     "Preventing the Premature Death of Relationship

            24     Marketing" in which she tells -- gives an example

            25     of a supermarket with a loyalty card that would


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             1     send out personalized letters saying, You haven't

             2     bought X lately, why don't you come in and buy some

             3     more.

             4                And of course, inevitably some woman became

             5     pregnant, and the company -- the supermarket sent

             6     out a solicitation saying, Why don't you come in

             7     and buy some more tampons.

             8                There are a number of similar horror

             9     stories.     We heard the miscarriage example this

            10     morning.     We've heard the prison inmate sending the

            11     personal letter to Beverly Dennis.

            12                It's very difficult to quantify the degree

            13     to which the average consumer is aware of these

            14     horror stories, but I think that the American

            15     public is largely aware that they have very few

            16     rights in these cases.       The company takes a PR hit.

            17     They change supplier, but what about the individual

            18     whose data was used inappropriately?

            19                And I submit that the American consumer,

            20     under current law in the U.S., has inadequate

            21     recourse.

            22                MS. RICH:   Well, in addition to these

            23     issues Jason has just raised about how consumers

            24     are affected, I think the main concern for

            25     consumers that I heard identified in the opening


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             1     statements was whether the practices are

             2     transparent to consumers.

             3               Mary, you're nodding.      Would you like to

             4     expand on the points you raised earlier in the

             5     panel?

             6               MS. CULNAN:    I just don't think people know

             7     what's -- the average consumer knows what's going

             8     on, and then the problem is, and it exacerbates the

             9     trust gap, that people are surprised.          Then they

            10     become unhappy.

            11               And it's when -- wasn't what they were

            12     expecting, wasn't the bargain that they bought

            13     into, and so then they write to their members in

            14     Congress or they do whatever, there end up being

            15     stories in the newspaper, et cetera, and it causes

            16     a lot of problems for the collective business

            17     community.

            18               One of the things I forgot to mention

            19     before too, the people who were sort of the least

            20     trusting and the more concerned about privacy and

            21     the least willing to disclose were also the ones

            22     who were most likely to favor legislation, so I

            23     think there's a take-away there.

            24               I think the industry can do a lot to help

            25     educate people as they've done in other areas,


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             1     online privacy, kids privacy.        There were some

             2     terrific presentations at today's sessions.           Why

             3     not put them up on the Web?        Why not try to get

             4     people to go there?

             5               I think the DMA can play a big role in

             6     terms of trying to push your members along to do

             7     better disclosures by putting -- changing the model

             8     disclosures in the compliance manuals to be more

             9     forthcoming about what is really happening to your

            10     information when it's shared or when you provide

            11     it.   I think -- go ahead.

            12               MS. RICH:    Before we talk about this issue,

            13     could somebody, Jerry, Brian, somebody describe

            14     what kind of notice is being provided regarding

            15     these practices?

            16               MR. CERASALE:    I can start this at least.

            17     Notice has been provided by catalogers, for

            18     example, for an awful long time, and the notices

            19     generally -- I have a box of catalogs I was going

            20     to give Martha, I forgot to do it, I'll do it later

            21     now, that show on the order forms, basically is

            22     where they are, mailing, preference service

            23     information, so forth on how to, and they state

            24     basically that information is shared with third

            25     parties to send you -- to market to you offers that


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             1     you might be interested in, and if you don't want

             2     that, either call this number or write to us here.

             3               MS. RICH:    Does that encompass --

             4               MR. CERASALE:    That's the notice that

             5     generally comes in the off -- I would say in the

             6     offline world.

             7               Online is a little different in the sense

             8     that there's more space.       The real estate is fairly

             9     inexpensive, and some privacy policies are very

            10     lengthy, as some people have heard when they went

            11     to testify up on the Hill, a little bit too long,

            12     so they can -- some of them are a little bit more

            13     detailed in the offline world.

            14               Plus if you have a network advertiser on

            15     there, you have to add -- there's a whole slough of

            16     more notices that are required.

            17               MS. RICH:    When you say the notice says we

            18     share with third-party, does that include sharing

            19     with compilers?

            20               MR. CERASALE:    Yes, that's the way it is

            21     today, sharing with third parties for marketing

            22     purposes to send you offers, and it does say for

            23     marketing purposes, and that's where DMA requires

            24     it be for marketing purposes as well, but that

            25     would include that at this point, yes.


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             1               MS. RICH:     Do the notices talk about

             2     bringing in data from third-party sources and to

             3     provide overlays or other enhancements?

             4               MR. CERASALE:     Generally the examples I

             5     have with catalogers, they do not.

             6               MS. CULNAN:     I would say, first of all, I

             7     think again saying you share for marketing

             8     purposes, most consumers understand that if you buy

             9     X, you get Y where Y is the same industry as X, but

            10     they don't understand compilers.

            11               Second thing -- and now I've forgotten what

            12     I was going to say.

            13               MS. RICH:     We'll come back to you.

            14               MS. CULNAN:     Oh, oh, oh.    The enhancement

            15     thing, I have seen -- there was one excellent

            16     financial services notice about enhancement that

            17     basically said, We do profiling, we do data mining,

            18     we acquire third-party data, non credit report

            19     data, to understand how you use our card and we use

            20     this to serve you better, and they had an opt-out

            21     form right with the notice, and you could mail that

            22     back or call the 800 number.

            23               Unfortunately, with the Gramm Leach Bliley

            24     requirement, that doesn't cause companies to have

            25     to specify how they're going to use information,


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             1     just what they collect and who they disclose it to.

             2     That very nice statement disappeared from the Gramm

             3     Leach Bliley notice that this company has sent out,

             4     which is now their de facto privacy notice.

             5               So I think that's an issue that's probably

             6     not going to get Congress to act on it, but again

             7     more disclosure I think makes people more

             8     comfortable.

             9               MS. RICH:    Fred, were you going to address

            10     this point?

            11               MR. CATE:    Yes, and I have to say I am

            12     genuinely confused, and that is we talk a lot about

            13     transparency and that we all want transparency and

            14     we want more transparency, we want more disclosure.

            15               On the other hand, we know as a statistical

            16     matter people don't read these, and therefore we're

            17     saying we're going to make ourselves feel better

            18     about privacy because we're going to mail a lot

            19     more notices to people so they can throw those

            20     away, but we can then say we've met disclosure

            21     obligations.

            22               And what I wonder is if there isn't a

            23     better way, in other words, if there isn't a way to

            24     make -- to go back to that point.

            25               I mean, two things that have been said.


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             1     One is people don't want to be bothered, period.            I

             2     think you could just stop there.         It doesn't need

             3     to be qualified.     They don't want to be bothered

             4     with privacy notices any more than they want to be

             5     bothered with anything else.

             6               And if you want empirical evidence of that,

             7     just go home and set your own browser so it asks

             8     you every time you get a cookie and see how long

             9     you live under that system.

            10               You just don't want to be bothered.         I

            11     mean, it's that simple.       You will set the default

            12     to accept all cookies or you will stop browsing on

            13     the Internet.      I'm only describing 97 percent of

            14     the population.     I know there are three of you out

            15     there who will be different.

            16               So is there a better way to provide to get

            17     rid of the surprises, if you will, yet recognizing

            18     people really don't want to be sort of educated

            19     generally about this?      I mean, as a professional

            20     educator, I know how hard it is to hold the

            21     attention of anybody at any time, but the idea of

            22     providing sort of a lesson on privacy at point of

            23     sale, it's a little easier maybe on the Internet.

            24               But it also comes back to that problem of

            25     thinking specifically about when are we talking in


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             1     a transaction and what is the impact on the

             2     consumer depending upon when that is?

             3               At time of collection it's probably much

             4     easier, Why am I asking you for this information,

             5     here's why I'm asking, but that requires of course

             6     that we're only talking someone who is dealing

             7     directly with the consumer.        We're not talking

             8     about any third-party activity there, and we're

             9     talking about they're going to anticipate all

            10     possible uses at that moment.

            11               And of course remember that notice, if it's

            12     complete, will be criticized as being overly

            13     detailed, and if it is incomplete will be

            14     criticized as forming a contract that doesn't

            15     include all of its correct terms.

            16               But what I worry about is the later use.

            17     Back to the AOL example, AOL decides it wants to

            18     start mailing disks to people's houses.          It didn't

            19     have any dealings with any of those people.           It had

            20     no chance to talk about consent with any of them.

            21     It can't mail them notices for consent because to

            22     do that, it would have to use the very information

            23     we want them to get consent before they use.

            24               What are they to do, buy ads educating

            25     people, I'm a start-up business.         You have $3 in


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             1     your pocket but you can buy an ad in the New York

             2     Times saying, let me educate you about something we

             3     know the public is not interested in generally

             4     being educated about?

             5               I think it's a real conundrum that frankly

             6     none of us, and I'm certainly including me, have

             7     done a very good job getting at.

             8               MS. RICH:    Evan?

             9               MR. HENDRICKS:       That's why I brought up

            10     earlier, I think it has to be case by case.           I

            11     think we have to be practical here because nobody I

            12     know in the privacy advocacy community wants to see

            13     bad things done in the name of privacy.

            14               That's why I brought up with the magazine

            15     publishers, How about putting a box at the bottom

            16     of the card?     It's not going to cost you anything.

            17     A lot of people -- and it's opt-out, which is the

            18     altar that many people here are praying at, and

            19     still there was no willingness to commit to

            20     anything like that, and I think that evidence is a

            21     certain level of bad faith, to be frank.

            22               I think the one -- the other thing I fear

            23     is like the two real harms to privacy, the most

            24     extreme harms are identity theft which is supposed

            25     to be the fastest growing crime in the U.S., and


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             1     information brokers, the guys that get your

             2     information.

             3               And for many years the credit reporting

             4     agencies have been the easiest target for those

             5     people, and I think because of litigation under the

             6     Fair Credit Reporting Act and business cases and

             7     settlements and losses, the credit reporting

             8     agencies, you're going to see them tightening and

             9     tightening and tightening the procedures and

            10     protections against those two threats.

            11               And what you're going to see is the

            12     identity thieves are going to be turning to these

            13     other sources of data, and so when the marketing

            14     material says this will only be used for marketing

            15     purposes, I think there's a real warning cloud out

            16     there about these existing threats that you can

            17     anticipate.

            18               And finally, I have to point to the

            19     ToySmart case which the FTC is familiar with.           I

            20     mean, here's a company that had a privacy policy.

            21     It went bankrupt, and its privacy policy lost out

            22     to its fiduciary duty to in that case the trustees

            23     and the bankruptcy, that they had to sell their

            24     data.

            25               And I think that if a marketing company


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             1     basically says they only want to sell this

             2     information for marketing, but if certain revenue

             3     streams and opportunities come up which says that,

             4     Well, you can sell more individual profiles for

             5     different purposes for screening, then that's going

             6     to create the same quandary because that

             7     corporation will have a fiduciary duty to its

             8     shareholders to go after those revenue streams.

             9               MS. RICH:     We'll take Greg and then Jason,

            10     and then we'll open it up for questions.

            11               MR. MILLER:     Just a quick couple of points.

            12     One, I also was sort of surprised this morning

            13     about the response with regard to the check box on

            14     the bottom of the card.

            15               For some empirical data from the

            16     entertainment industry from the focus groups we've

            17     been working on, we actually got quite a different

            18     result.    We discovered that if we engage consumers,

            19     a trust relationship was built.

            20               We started to minimize the notion of

            21     surprising, and we actually found there was an

            22     updraft or an uptake in people opting in if you

            23     gave them the permission to opt-in.

            24               I think one of the big fears about this,

            25     from the marketers is that, Gosh, if we start


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             1     asking people for permission, they're going to say

             2     no.   That was a suggestion this morning that was

             3     made that, no, people won't fill it out.          They'll

             4     actually not opt-in.      In fact, we find -- we have

             5     empirical data that shows they will.

             6               Another point we found out is nobody reads

             7     the privacy policies, as Professor Cate observed

             8     correctly, and we once we started describing to

             9     people the notions of data gathering and what can

            10     be done with it, that was really what started

            11     sending people into a tizzy because, let's face it,

            12     people have no idea what an aggregator is.

            13               They don't know the difference between an

            14     aggregator and a marketer.       They couldn't recite

            15     that slide up there to make a conscious decision

            16     about whether they should participate or not, and

            17     as you begin to educate them, you end up drifting

            18     into this rat hole of technicalities and nuances.

            19               So we had that problem, and to speak to Mr.

            20     Cate's notion of what do we about it, one thing

            21     that we have been experimenting with is the sort of

            22     interactive privacy policy, and it was because on

            23     advice of legal counsel, somebody started saying,

            24     Guess what, it turns out it's not really a policy,

            25     it runs more like an agreement, like a terms of


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             1     service agreement.      We're going to find that a

             2     privacy policy is in fact a contract, and that sent

             3     up the red flag.

             4               And we said, Okay, so we need to reengineer

             5     the privacy policy and be an interactive document,

             6     so what we did with the JOIN program is that we

             7     asked people to actually read through the policy,

             8     meanwhile in the back while we're consorting their

             9     data and setting up their locker, and we asked them

            10     to click off a check box between each major section

            11     in the privacy policy.

            12               And we started compiling that data to see

            13     which sections people were reading and what they're

            14     doing with it.     It also gave us some affirmation

            15     that they had at least seen the privacy policy,

            16     whether they were going to do anything about it or

            17     not, and we found that that was pretty instructive.

            18               And then finally the last thing was that in

            19     the focus groups that we ran, and they were in New

            20     York and Texas and North Carolina and Seattle,

            21     Washington, Los Angeles as I recall, it turned out

            22     that the most common thing that people reacted to

            23     about what would happen with their data was again

            24     being surprised, being bothered, not being left

            25     alone.


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             1               They didn't give permission to get that

             2     piece of mail or that announcement or whatever, and

             3     the second thing, identity theft.         The second most

             4     popular concern turned out to be identity theft,

             5     and this is data, talking to people who are

             6     consumers of musical and video entertainment and

             7     are looking for ways to get that through the

             8     Internet.

             9               MS. RICH:    Jason?

            10               DR. CATLETT:    Thanks.     I think the solution

            11     to Fred's conundrum about transparency is to

            12     guarantee each individual access to the data about

            13     them.    If you think transparency means putting up a

            14     long notice, I think that's very much mistaken.

            15               Let's take the analogy with the federal

            16     government departments.         I don't read the mission

            17     statement of every federal government department

            18     that might have personal data about me, but I know

            19     that if I think they're doing something wrong, I

            20     can put in a FOIA request, find out the specific

            21     data they have and see if I need to fix something

            22     there.

            23               So I think a similar principle of

            24     transparency would provide a lot of assurances

            25     about direct marketing companies.         Unfortunately,


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             1     and other trade groups and companies have refused

             2     not only to give general access to marketing data,

             3     but also even at this workshop to show us specific

             4     examples of known individuals who have consented to

             5     it.

             6               I think that's astonishingly arrogant, and

             7     that the FTC should have a forceful response to

             8     open up that transparency to the degree people

             9     want.

            10               MS. RICH:    Let me follow up.     Jerry, when

            11     you said that the privacy policies, when they in

            12     general talk about sharing with third-parties and

            13     that encompasses sharing with compilers, is that --

            14     some of the comments here made me realize we may

            15     not have -- I didn't understand your response.

            16               Does it actually discuss sharing with

            17     compilers?

            18               MR. CERASALE:    No, no.    It's sharing with

            19     third parties.     The view of DMA is that data that

            20     is shared should be subject to a notice and an

            21     opportunity to say no, and that data can be shared

            22     with third-parties for marketing purposes and

            23     compilers.

            24               And I think Win talked about making sure

            25     the information they received had come from


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             1     marketers that had given notice and opt-out, so

             2     that's where it's at.

             3               As far as the general common notice, there

             4     is no statement concerning compilers at this point.

             5               MS. RICH:    We'll go to questions, but if

             6     Fred and Evan could -- did you want to say

             7     something?

             8               MR. HENDRICKS:     Go to questions.

             9               MS. RICH:    Fred, did you have something

            10     very quick to say.

            11               MR. CATE:    I just wanted to say, there is

            12     now a data set, which Jason has reminded me of, and

            13     that is if we're going to talk about the federal

            14     FOIA, there's excellent data under what access

            15     under FOIA costs, about the litigation it generates

            16     and about the amount agencies spend on it.

            17               At some point in the late 90s the agencies

            18     stopped collecting data because the process of

            19     collecting that data was high, but certainly for

            20     the preceding 20 years, there's excellent data

            21     which would be easily available to the Commission

            22     on what complying with an access regime costs.

            23               MS. RICH:    I saw some questions in the

            24     audience, lots of questions.        This gentleman right

            25     here was holding his hand up earlier, right here


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             1     with the gray or the -- I can't see in the light.

             2               MR. O'HARROW:    I don't know if this is

             3     going to work.     I'll talk into it.

             4               MS. RICH:    Could you say your name?

             5               MR. O'HARROW:    Robert O'Harrow.      I'm a

             6     reporter at The Washington Post, and I have written

             7     a little bit about this over the last couple years.

             8               MS. RICH:    I didn't know who he was when I

             9     called on him.

            10               MR. O'HARROW:    That's okay, and excuse me,

            11     and one thing I thought was very interesting, and

            12     I've actually noticed it for several years is the

            13     discussion oftentimes found its way back to the

            14     question of whether or not the use of data

            15     warehousing, data mining and so on increases or

            16     reduces the mail that an individual receives at

            17     home.

            18               And then the discussion sort of surrounds

            19     that for quite awhile, and I guess I wanted to sort

            20     of raise a question of whether that's really the

            21     issue.    It seems to me that in some ways it used to

            22     be the issue, but in many cases it might be a

            23     canard that tends to distract us from the larger

            24     issue at hand, which I think is profiling.

            25               And so I wanted to sort of raise that as an


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             1     open ended question, of whether or not that's

             2     something that's salient at this point.

             3               Secondarily, there was an assertion up

             4     there that people don't want to be educated, and I

             5     think what I've found in interviewing many, many

             6     people and industry folks, academics and so on is

             7     that the reality is that people don't want to read

             8     legalistic privacy policies that are written to

             9     meet a very low threshold for privacy disclosure.

            10               I find it very difficult, and I've read a

            11     lot of them, and some of them I've actually

            12     understood.     In fact, I would have to say as gently

            13     as possible that I don't think anything could be

            14     further from the truth, and that at my paper, it's

            15     one of the most widely read subjects that we've

            16     written about and that people can't seem to get

            17     enough of true, clear, explanation.

            18               And oftentimes a clear explanation will

            19     create a great deal of anxiety which, to loop back

            20     to my original assertion about the direct marketing

            21     and the mail and so on, the real issue, is the

            22     question is, Do people want to feel like they're

            23     being watched, and charted without their

            24     permission?

            25               Just some food for thought or if anybody


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             1     wants to address that.

             2               MS. RICH:    Evan?

             3               MR. HENDRICKS:       Yes, thank you.   I think it

             4     is because some of the steadiest pollings by Lou

             5     Harris and through the 1990s was, "Do you feel like

             6     you're losing control of your data," and that was

             7     the issue.

             8               And, of course, the direct marketing

             9     industry is in the business of sending out mail, so

            10     they're going to try to refocus the issue there,

            11     but the truth of the matter is what's driving this

            12     issue is people feel they're losing control of

            13     their data, and they don't like it, and they would

            14     like something to be done about it.

            15               MS. RICH:    Fred?

            16               MR. CATE:    Yes.     I think on the education

            17     point, of course it's exceptionally well taken.            If

            18     you write it in language that people don't

            19     understand, they're less likely to perceive it.

            20               I think, however, the issue goes much

            21     farther than that, and I think probably everyone in

            22     the room would know it, and if you want to try a

            23     test, have The Washington Post when people call to

            24     subscribe or to buy classified ads read the first,

            25     say, page of their privacy policy on the phone to


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             1     them, people aren't overly interested.

             2               They really didn't want to go on.        They

             3     want the service.      They couldn't care less.       Let's

             4     move ahead.     It might be different if you were

             5     going to a doctor or something, very contextual.

             6               I understand that, but I think the problem

             7     is, is when we talk about transparency, whether we

             8     mean notices or that you tell everything you do or

             9     you make it possible for them to find it, that

            10     there really is a reality that people are not that

            11     interested in that they love great stories.           They

            12     love human interest stories and all of that.

            13               But to describe the data processing

            14     operation of a corporation, to have anyone do it,

            15     the best marketer in the world, I just don't think

            16     it can be done.

            17               MR. O'HARROW:    If I could add one follow up

            18     thought, which I think is interesting.          One of the

            19     things that's interesting here is without a doubt

            20     that without a doubt, people love the services,

            21     even if they don't know how it's done.

            22               There's no question, people are loving the

            23     personalized services.       They're climbing on to the

            24     stuff like crazy, and it's definitely the future of

            25     business in our time.


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             1               Yet, when they find out how that service is

             2     provided, and not just necessarily in a human

             3     interest story, but let's say an analytical story,

             4     they find -- we find that oftentimes they get

             5     freaked out, and they're not so sure they like the

             6     service under the terms that they've taken it.

             7               MS. CULNAN:    Jessica, can I add just one

             8     quick point?     I think we don't really know a lot

             9     about sort of the consumer process of learning

            10     about this and what really works.         We haven't done

            11     a lot of research, and I think it's an area where

            12     now that we've moved past sort of the, yes,

            13     everyone is concerned about privacy kind of surveys

            14     that are coming in, is to really do some academic

            15     research.

            16               What are the trade-offs people make?         What

            17     kind of notices make sense?        I think the idea that,

            18     well, notices are too hard to understand so let's

            19     not have any notice at all is a bad idea, just my

            20     personal preference.

            21               There's also a lot of research that's

            22     looked at justice, fairness, because this is what

            23     this is really about, treating people fairly, and a

            24     lot of times people may not want to read the policy

            25     or they may not want to exercise their rights under


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             1     some kind of a justice system, but they want to

             2     know that they have the rights, and that then makes

             3     them more comfortable in participating, and it

             4     makes them think things are fair.

             5               So even if they don't click on the privacy

             6     policy, they may want to see that link.

             7               DR. CATLETT:    Just to comment on Robert's

             8     observation that people like the product but when

             9     they found out how it's made, they're not so sure,

            10     it reminds me of Prince Von Bismark's remark that

            11     the less people know about what goes into making

            12     laws and sausages, the better they'll sleep at

            13     night.

            14               I think that the food analogy is a useful

            15     one here.    Congress passed the Pure Food Act in

            16     1904.    It didn't actually say you couldn't put

            17     cocaine into the Coca-Cola.        They said you just

            18     have to label the fact that you're putting it in.

            19               And I think that transparency in terms of

            20     actually showing us the data about you and what

            21     goes into making it is part of enabling consumers

            22     to have a real choice about whether they want to

            23     buy or participate in that product.

            24               MS. RICH:    Let's take the next or a few

            25     more questions.


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             1                MR. LE MAITRE:    I'm sorry, I was going to

             2     respond on the point, Am I losing control of my

             3     data.     My name is Marc Le Maitre.      I work at

             4     Nextel.

             5                I moved to the U.S. about four years ago,

             6     and I started from ground zero literally.          Nobody

             7     had anything on me, including the credit reporting

             8     or anything, and the first pieces of mail and the

             9     first unsolicited phone calls were actually quite

            10     welcome.     My wife engaged the gentleman on the

            11     phone for an hour and a half.        She didn't buy

            12     anything but was delighted to receive the phone

            13     call.

            14                It actually taught me a lot about the

            15     community that I moved into, so I actually welcomed

            16     it, but it's now got to the point now where I can't

            17     sit down in the evenings to dinner with my children

            18     without getting an unsolicited phone call.

            19                And I think it's got to the point now where

            20     I -- at first I knew exactly who it was who was

            21     abusing it.     The first company I gave my

            22     information to was my bank.        I will not say which

            23     bank, unless you ask me afterwards, but it's now

            24     got to the point where I bought a DVD player two

            25     weeks ago, and I was getting unsolicited requests


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             1     to join clubs to buy DVDs.

             2               And so some of it is good.       My question is:

             3     Where is it going to end?       I don't have a great

             4     deal in the way of health information in this

             5     country yet, so I still don't know whether that's

             6     being abused.

             7               Financial information I'm fairly confident

             8     is being used without my knowledge, but working in

             9     the wireless industry, things like location

            10     services, where will it end?         At which point do I

            11     say, This data is sacrosanct, you cannot have

            12     access to it, or will I have the opportunity, or

            13     will it just be taken for granted that this is just

            14     another piece of information that can be used to

            15     market to me?

            16               MS. RICH:    Does anyone want to respond?

            17               DR. CATLETT:      Your video rental records

            18     are sacrosanct according to Congress.

            19               MR. LE MAITRE:     But not DVDs.

            20               DR. CATLETT:     I know the fact that you

            21     bought a DVD is not sacrosanct.

            22               MR. HENDRICKS:     Okay.    I think that to

            23     answer your question in the short run, no, you will

            24     not have that right.       I don't there's any realistic

            25     chance in the next six months to nine months that


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             1     significant legal protections for privacy and

             2     individual's personal information will be passed.

             3               I don't think the current power machine and

             4     the administration in the Republican leadership is

             5     interested, and so I think this is more of a long

             6     term struggle.

             7               MS. RICH:     The gentleman on the left there?

             8               MR. BEHRENS:     If this is working, I'm Ed

             9     Behrens with the Progress and Freedom Foundation.

            10               I wanted to follow up briefly on Mr.

            11     Miller's comments on providing notice, choice, et

            12     cetera, in the interest of serving consumers, but I

            13     think there's two dimensions to the question.

            14               One is:     Should they be provided?     The

            15     second is:    Should they be mandated?       And I think

            16     that's a separate question.

            17               And I would like to draw out the panel on

            18     the practical ramifications of mandated principles

            19     versus not, both beneficial and adverse.

            20               Thank you.

            21               MS. RICH:     Who would like to respond?

            22               MR. CERASALE:     Sure, what the hell?      I like

            23     to use an example of a business model that would

            24     not be allowed by the DMA guidelines and decide

            25     whether or not we want to outlaw that business


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             1     model.

             2               You go to my Web site, Jerry Cerasale.com,

             3     and the first thing you see, notice, and I sell

             4     radios, so it's a commodity.        I try and sell you,

             5     provide you these radios at the lowest price

             6     possible.    I hold down costs as much as possible.

             7     In that light I share and rent your information to

             8     others and provide the savings on to you.

             9               I do not provide you the opportunity to not

            10     participate in this sharing.        I do not provide

            11     access opportunity to you because both of those

            12     things will increase my costs and therefore

            13     increase the cost of my goods to you.          If you don't

            14     like this, please, please shop elsewhere.

            15               Is that business model illegal?        And that's

            16     what most -- a lot of people discussing would make

            17     that an illegal business model.        I don't think

            18     that's where we should be.

            19               MS. RICH:    If people are willing to go a

            20     little bit into the break, we could take some more

            21     questions, and it looks like everyone wants to ask

            22     questions.

            23               MR. HENDRICKS:     And, Jessica, just quickly,

            24     the OECD guidelines were adopted in 1980 and

            25     endorsed by the United States government and all


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             1     Western, European and Japan and Canadian.

             2               Yes, I would say we want to see those

             3     guidelines incorporated into law across the board,

             4     yes.

             5               MS. LEGIEREM:      (Phonetic)    My name is Ann

             6     Legierem with a banking agency, and my question's

             7     really with as far as I'm a consumer, this morning

             8     there were statements made that best practices

             9     would have it that marketing associations disclose

            10     that you're going to share the information or

            11     whatever.

            12               And I was wondering if there's any kind of

            13     figures that you collect that you really have an

            14     idea of how many do really make disclosures to

            15     their consumers.

            16               And then as a consumer, a mother and all, I

            17     saw an article on the CNN Web site recently, about

            18     two weeks ago, about how schools had -- the kids

            19     were surfing the Internet I think as part of their

            20     classroom studies, and there was a marketing

            21     company who had software on the computers.

            22               They were following the click streams.

            23     Well, the parents didn't know about it, but then

            24     that, like the dynamic pricing, somebody tripped

            25     over it, found out about it, caused an uproar, it


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             1     was pulled.

             2                So I guess what I'm saying is this morning

             3     representations were made about -- representations

             4     were made about, Well, our best practices are that

             5     we disclose to consumers but I'm wondering in

             6     reality how many really do.

             7                MS. RICH:   Would anyone like to respond?

             8     Jerry's on the hot seat.

             9                MR. CERASALE:    DMA has a privacy promise

            10     that requires disclosure.       We have an FTC letter

            11     exempting us from antitrust problems as long as we

            12     can kick people out.       There are 3,000 marketers,

            13     3,500 marketers that have signed it.

            14                I would say that 80 percent of the mail you

            15     receive is probably from members of the Direct

            16     Marketing Association, and so we have -- so those

            17     are the numbers we've got.       We have our own mail

            18     preference service, telephone preference service to

            19     pull people off of lists.

            20                There are well over 3 million names on each

            21     of them.     They're free to consumers to get on, and

            22     so those are the numbers that we have, so the major

            23     marketers who are members of ours do direct

            24     marketing, which are some of the largest marketers

            25     in the country, do provide notice and an


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             1     opportunity to say no.

             2               They in a sense would not follow that

             3     business model I just mentioned.

             4               MR. LANE:    Can I just make a comment

             5     getting back to Mr. Behrens' comments about

             6     federally mandated laws?

             7               I think what this panel has shown, for the

             8     most part because it was supposed to be empirical

             9     evidence about the effects of mergers and

            10     acquisitions or mergers and exchange on consumer

            11     businesses, and there are reports that are

            12     beginning to come out to highlight what some of the

            13     costs are.

            14               But I think what we have found is we don't

            15     have a lot of information, that we are just looking

            16     at the impact that information sharing has on the

            17     overall economy.      Who is in Mary's first survey on

            18     Web sites and who has privacy policies and who

            19     doesn't and what impact that has on consumers.

            20               We have the Forrester research that says $2

            21     billion lost on Internet sales.        Are they real?

            22     What other information do we have?

            23               So from our point of view, what our biggest

            24     concern to get to federally mandated legislation is

            25     that we don't have enough information on what harms


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             1     are we trying to address specifically and how those

             2     harms -- and the cost benefit ratio of those harms

             3     and where really are the American people.

             4               We know the American people are concerned

             5     about privacy.     We all know that.      That's why this

             6     room is filled.       Yet we don't have the details of

             7     what are those concerns, the next five layers below

             8     that, and I think before we move forward in any

             9     federal legislation, we need -- or state

            10     legislation -- we need to get a little more

            11     dynamics and not the rhetoric that we constantly

            12     hear across the board on both sides, but some real,

            13     factual data of what are we talking about.

            14               And I don't think we're there yet, and this

            15     panel is a perfect example.        We don't have a lot of

            16     facts.    We're all saying the same rhetoric that

            17     we've been saying for five years now.          Yet nothing

            18     has improved, but we're beginning slowly to get

            19     information, and that's critical.

            20               MS. RICH:     The gentleman back here?

            21               MR. MEISINER:     Thank you, Madam Chair.

            22     Speaking of facts, my name is Paul Meisiner from

            23     Amazon.com.     I have to do this stand up routine

            24     now.

            25               Maybe it's the lack of oxygen in this room,


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             1     but I understand it was alleged that we engaged in

             2     dynamic pricing last fall.       In fact, there was

             3     apparently some long description of how this

             4     so-called dynamic pricing was discovered.

             5                But let me assure you that policy making is

             6     difficult enough based on facts, but when it's

             7     based on fiction, it cannot go right.          We did not

             8     engage in dynamic pricing.       We never have, and we

             9     actually have promised never to do it, even though

            10     it would be perfectly legal for us to do so.

            11                Let me repeat, back last fall we engaged in

            12     some random price tests where we would serve up

            13     different prices to consumers based on when they

            14     came on.     If you were the same person sitting at

            15     the same terminal, same browser, you hit our site

            16     several times, you're going to get a different

            17     price for the same item.

            18                The whole idea was to figure out where to

            19     price the item.     Well, random, again based not on

            20     demographic information.       It was not a privacy

            21     issue, full stop.

            22                Well, we got a lot of flack for it and

            23     rightfully so.     It confused our consumers, our

            24     customers, and we regretted doing it.

            25                As a result what we did is we promised


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             1     never to engage in dynamic pricing ever again,

             2     something that would be perfectly legal for us to

             3     do, and then we went and refunded all of our

             4     customers, even the ones who had paid willingly 12

             5     bucks for a CD.

             6               We went and refunded them the difference to

             7     the very lowest price, and we said, If we ever in

             8     the future ever do this random price testing again,

             9     we'll do the same thing so that everyone will

            10     always pay the lowest price.

            11               Frankly we're being held to a much higher

            12     standard than other businesses are being held to,

            13     but I think frankly it really pains us all when we

            14     have to sit through one of these meetings and find

            15     out that what has been discussed here is factually

            16     inaccurate.

            17               DR. CATLETT:    Paul, I don't think I

            18     misrepresented that Amazon did the random pricing.

            19     I think I said that it was accused of -- we'll have

            20     it in the record.

            21               MS. RICH:    Ted Wham has a quick comment,

            22     and then we'll take one more question, and I think

            23     everyone wants to splash water on their face, it's

            24     so hot in here.

            25               MR. WHAM:    Ted Wham with Database Marketing


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             1     for the Internet.      I had one quick statistic I

             2     wanted to share.     I previously worked at

             3     Excite@Home, and when I was there, I was the Chief

             4     Privacy Officer among several hats that I wore at a

             5     rapidly growing company.

             6               There was a segment on 60 Minutes regarding

             7     Internet privacy.      It was approximately two years

             8     ago, two and a half years ago.        Jason Catlett

             9     actually was one of the speakers on that session

            10     just describing -- so you hold it closer, it works

            11     -- describing the risks to the consumer on the

            12     Internet basis.

            13               We were asked by 60 Minutes to participate

            14     as one of the companies being interviewed, and we

            15     originally said yes, and then we went, Oh, God, we

            16     don't want to do this, and we said no.

            17               And because we additionally owned a

            18     third-party ad serving firm, MatchLogic, we were

            19     concerned that we were going to be targeted within

            20     the segment and wanted to be very prepared, so we

            21     went full out and made certain everything was

            22     aboveboard, and we went through the privacy policy

            23     links, privacy policy on absolutely every page of

            24     the site, where they remain I believe to this day,

            25     and really tried to make certain that we were


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             1     ready.

             2               The day immediately following the airing of

             3     one of the top five most watched television shows

             4     in the United States where portions of our site

             5     were shown and the risks to consumers of privacy,

             6     Excite@Home, as it does every day for the past year

             7     or so forth, received over 20 million unique users

             8     visiting the site that day.        If my recollection is

             9     correct fewer than 100 of them accessed our privacy

            10     policy links.

            11               The notion that consumers want to take --

            12     now, you can argue whether the privacy policy that

            13     I wrote was easily readable and comprehensible and

            14     so forth, but only a hundred people got there to

            15     find out.

            16               The notion that the consumer is interested

            17     in learning about this and spending the investment

            18     I think is mistaken.      I think the comments that

            19     Fred brought up, Fred Cate brought up that most

            20     consumers want to have, quote, privacy, don't

            21     bother me with the details, is much, much more

            22     accurate.

            23               MS. RICH:    One more quick question, and the

            24     gentleman over here.

            25               MR. SMITH:    Yes, Richard Smith, The Privacy


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             1     Foundation.     One thing we're hearing a lot about,

             2     how profiling and gathering of consumer information

             3     benefits businesses.

             4               I've heard very little about cost, other

             5     than two very interesting numbers.         One person said

             6     acquisition costs today for E-commerce sites was

             7     $2,000 a customer, which is probably on the high

             8     side, but I don't know of really any business,

             9     other than maybe the yacht business, that could

            10     afford that.

            11               And then also the issue of the credit card

            12     offers, that the number that are going out is going

            13     up dramatically in the last two or three years.              At

            14     the same time the response rate inversely

            15     proportional is going down at the same rate.

            16               So I'm wondering here in business how much

            17     feedback in the process is really going on.           Were

            18     these online and data gathering things cost

            19     effective really or is it just we're on a sled here

            20     and we're heading in this direction and we'll go

            21     on?

            22               Thanks.

            23               MR. LANE:     I think a lot of businesses, and

            24     if you look at the downturn in ad revenue on the

            25     Web sites, as we all know, they're hurting, in the


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             1     newspaper industry where San Jose Merc is laying

             2     off hundreds of people because ad revenue is

             3     dropping, and companies are beginning to

             4     reevaluate, Is it worth spending $2 million

             5     advertising on the Super Bowl.

             6               I think there's a wholesale looking at what

             7     is the best way to reach out to your customers, and

             8     that is the whole goal, but what I think is great

             9     though, having said that, there hasn't been a lot

            10     of facts in terms of pure data and research from

            11     this panel.

            12               What I think has been very important, and

            13     one of the reasons why I was one who supported the

            14     FTC putting this workshop together, was we do have

            15     an education process to consumers of how

            16     information is used in the economy.

            17               And I think the other previous panels were

            18     better at doing that than maybe this one, but I

            19     think once you have a better understanding, I think

            20     there will be less fear, and the trust deficit will

            21     be reduced once there is again an educated

            22     consumer.

            23               And so I appreciate and I wanted to thank

            24     the FTC for putting this forth to begin our efforts

            25     at having the business community focus our efforts


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             1     on educating consumers on I think these critical

             2     issues because they are all about how our economy

             3     is going to grow and work in the future.

             4               MS. RICH:    Thank you.    Finally we're at our

             5     break.    If you could keep it at a short break since

             6     we did get into the break, maybe five minutes, and

             7     then come back, maybe we can try to open the

             8     window.

             9               (A brief recess was taken.)

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             1     SESSION 5:     EMERGING TECHNOLOGIES AND INDUSTRY

             2     INITIATIVES:     WHAT DOES THE FUTURE HOLD?

             3

             4     DANA ROSENFELD, Assistant Director, Bureau of

             5     Consumer Protection, FTC, Moderator

             6

             7     PANELISTS:

             8

             9     JOHN KAMP, Counsel, CPExchange

            10     LAWRENCE PONEMON, Founding Board Member,

            11     Personalization Consortium

            12     BECKY RICHARDS, Director of Compliance and Policy,

            13     TRUSTe

            14     ARI SCHWARTZ, Senior Policy Analyst, Center for

            15     Democracy and Technology

            16     RICHARD SMITH, Chief Technology Officer, Privacy

            17     Foundation

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             1                                SESSION FIVE

             2       EMERGING TECHNOLOGIES AND INDUSTRY INITIATIVES:

             3                      WHAT DOES THE FUTURE HOLD?

             4                       -    -      -      -    -   -

             5               MS. ROSENFELD:          Okay.   Everybody, we're

             6     getting ready to start our last panel of the day.

             7     Please take your seats.            Please take your seats.

             8     Thank you.

             9               Welcome, everyone, to our last panel of the

            10     day.   I'm Dana Rosenfeld.           I'm an Assistant

            11     Director in the Office of the Director and the

            12     Bureau of Consumer Protection.

            13               Our final panel is entitled emerging

            14     technologies and industry initiatives, what does

            15     the future hold, which I think will be a very

            16     interesting panel.

            17               We are going to discuss whether new

            18     technologies are emerging that will increase the

            19     sharing of detailed consumer data, and also we will

            20     focus on what self-regulatatory initiatives are

            21     underway to address the privacy of consumer data in

            22     the merger and exchange process.

            23               Our first presenter today is John Kamp.

            24     John is an attorney with Wiley, Rein & Fielding in

            25     town and serves as counsel for CPExchange.              He has


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             1     extensive experience in privacy and other

             2     regulatory issues through his work of over more

             3     than ten years as senior vice president with the

             4     American Association of Advertising Agencies, the

             5     four As, and from his ten years at the FCC before

             6     that.

             7                CPExchange Network is a volunteer

             8     Consortium of over 90 business organizations.           It's

             9     dedicated to developing a vendor-neutral open

            10     standard to facilitate the exchange of privacy-

            11     enabled customer information across enterprise

            12     applications.

            13                CPExchange facilitates the management and

            14     promotion of customer relationships by businesses

            15     across industry sectors.

            16                Special data elements of the CPExchange

            17     specification support the development of privacy

            18     policies by companies consistent with Fair

            19     Information Practices.

            20                And with that, I will turn the podium over

            21     to John.

            22                MR. KAMP:   Thank you, Dana.     As I'm

            23     bringing this up, I must remind some of you, many

            24     of you know that I'm a former college professor,

            25     and as such, we former college professors know that


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             1     there is only one class in the day that's worse

             2     than teaching an eight o'clock in the morning

             3     class, and that's a four o'clock class.

             4               So we're going to make this quick.         We're

             5     going to keep it lively and go forward from there,

             6     and we also, as professors, know that we learn more

             7     from our students, and thank you to the FTC for

             8     organizing this today because I know that we all

             9     have learned a lot.

            10               The CPExchange is about consumers

            11     generally, and one of the things I think as we've

            12     listened today through the morning, we heard people

            13     talking about it, was businesses who were doing

            14     most of this, but they were doing it in order to

            15     reach consumers.

            16               And looking at our sort of then and now

            17     kind of yin and yang here, this is about long-term

            18     customer-focused relationships, about new business

            19     processes, but it's mostly about high consumer

            20     knowledge, mass customization, multiple channels,

            21     proactive, integrated and highly responsive to

            22     consumer preferences.

            23               We want to know who are our customers, what

            24     are their wants and needs, what are the economic

            25     value of those needs, and how do we apply that


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             1     knowledge and how do we focus on those consumers.

             2               So the successful enterprise interacts with

             3     consumers through many channels such as -- and has

             4     many opportunities to understand those consumers.

             5               The imperatives in all of this, this

             6     customer driven, are protection of privacy, the

             7     sensing and responding to consumers' needs,

             8     satisfying those needs, reducing those costs to

             9     consumers and increasing the shareholders' equity

            10     of the company.

            11               Looking at this, the CPExchange was really

            12     designed to facilitate an enterprise's ability to

            13     share consumer information internally in large

            14     companies.    Of course it's gone forward.        It's no

            15     longer just used, designed for consumers.

            16               If you look at this model here, the

            17     schematic here, the CPExchange core, the group got

            18     together to look at the preferences, business

            19     objects, whatever, also added the functionality of

            20     the Web, most importantly through Dan Jaye, also

            21     someone who is very familiar in these quarters, at

            22     Engage Technologies, was part of the FTC Advisory

            23     Committee on Access and Security, worked very hard

            24     to develop the CPExchange privacy principles, which

            25     are P3P compatible, and all this is an XML


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             1     schemata.

             2               Looking at just the privacy declaration

             3     component in the P3P compatible, you see in that,

             4     you see very specific data elements for purpose,

             5     retention and access, and looking just at one of

             6     those, the retention component, you can see that

             7     there are many data elements that make it possible

             8     for this system, this protocol to ensure that there

             9     is a face with the consumer.

            10               Now, remember, CPExchange is not a data

            11     aggregator or a business that's in the business of

            12     aggregating these data.       It essentially is the

            13     development of a protocol that people can use, may

            14     use.   It's wholly voluntary, can be used by

            15     companies for the purposes they wish.

            16               But because in this -- in these late data

            17     sensitive times, privacy times, it was created

            18     during the period that the FTC was looking at these

            19     privacy principles and customers were making their

            20     preferences so apparent to companies, these privacy

            21     elements were contained in it.

            22               So quickly our summary slide, CPExchange

            23     facilitates that customer awareness and focus,

            24     enables corporate privacy policy implementation and

            25     addresses the privacy preferences of the consumer.


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             1                It's platform, vendor and application

             2     independent, provides a comprehensive view of the

             3     customer and the way that customer interacts with

             4     the many facets of the enterprise, provides

             5     granular privacy and an authorization model and is

             6     designed to promote optimal query and reporting

             7     systems.

             8                We suggest that you, as you look at this,

             9     remember that it's neutral, and it's open, and you

            10     also can find more information about it by going to

            11     the Web site CPExchange.org.

            12                Thank you.

            13                MS. ROSENFELD:     Thank you, John.    That was

            14     very succinct.

            15                Our next presenter is Ari Schwartz.        Ari is

            16     a policy analyst at the Center for Democracy and

            17     Technology, CDT.        His work focuses on protecting

            18     and building privacy protections in the digital age

            19     by advocating for increased individual control over

            20     personal information and expanded access to

            21     government information via the Internet.

            22                Ari also serves on the advisory committee

            23     of the Worldwide Web Consortium and is a monthly

            24     columnist for Federal Computer Week Magazine.

            25                Ari?


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             1               MR. SCHWARTZ:    Thank you.     This is the

             2     first time I've ever seen the windows opened up in

             3     this room, and I kind of like it actually.

             4               I'm going to talk about how technology has

             5     both -- kind of the positive ways that these new

             6     technologies can be used to protect privacy.            The

             7     story with most of these new technologies is always

             8     bad news for privacy and good news for privacy.

             9               In this case the bad news is you look at

            10     XML technologies, technologies that allow companies

            11     to tag information and exchange it more clearly and

            12     more openly means that there's greater sharing and

            13     that there's going to be greater profiling.

            14               Richard Smith will go into this in a little

            15     bit more detail, but the good news is that these

            16     same technologies open the door for new types of

            17     privacy enhancing technologies.

            18               I'm just going to give you two examples of

            19     this to kind of kick things off.         At CDT we don't

            20     build technologies, and that's for other people to

            21     come up with those kind of -- these kind of

            22     applications, but just to give some ideas of what

            23     people have been talking about and what they've

            24     been thinking about.

            25               The first one is the idea of tagging data


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             1     collections with a current privacy policy using the

             2     P3P vocabulary.     John talked about this a little

             3     bit, but I'm going to try to explain a little bit

             4     more what P3P is and how other technologies can use

             5     this.

             6               P3P was really designed originally to do

             7     business to-consumer transactions, to get at the

             8     question that we heard on the last panel asked

             9     maybe seven or eight times, about how consumers are

            10     having trouble reading privacy policies, that

            11     they're seven pages long, that they don't go there.

            12               Ted Wham brought up the point that people

            13     aren't going to a page.       Well, having read many,

            14     many, many privacy policies over the past six

            15     years, I can tell you that I find them difficult to

            16     read, and therefore I know how consumers must feel,

            17     that you go to one, you don't really feel the need

            18     to go to the next one if you're not going to be

            19     able to understand it.

            20               The idea of P3P was to allow a consumer to

            21     put in their preferences, their expectations of

            22     what they want to see out of a site and have the

            23     site put in what their privacy policy is.          When the

            24     browser gets to that site, they match up, and at

            25     that point the consumer has more control, and they


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             1     can decide whether to block that site.          They can

             2     decide whether to provide information.          They can be

             3     prompted.

             4               Really that's up to the browser

             5     manufacturer right now, and we're going to be

             6     seeing some of these applications in the next few

             7     months, but in order to do this, we had to create a

             8     vocabulary because we went around looking for

             9     vocabularies for privacy that went in to the real

            10     details about retention, as John showed us.

            11               And no vocabularies existed that really

            12     gave kind of multiple choice answers in the way

            13     that a Web site would need to be able to describe

            14     it if P3P were going to work.

            15               So we created this vocabulary.        Let me see

            16     if I can get it open now.       I lost the mouse.      Oh,

            17     here it is.     This mouse, okay.

            18               So this is just the basic P3P vocabulary,

            19     and we came up with these questions based on the

            20     Fair Information Practices.        The eight Fair

            21     Information Practices in the OECD guidelines were

            22     the starting point, but we really instead of --

            23     because those are really at a high level and we had

            24     to go into the detail and answer the multiple

            25     choice questions underneath, we worked with -- this


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             1     is a P3P working group, worked with data

             2     commissioners in the EU and in Canada, privacy

             3     advocates, companies and others, and really built

             4     this kind of -- the kind of questions that would

             5     need to be answered.

             6               But the idea here is that this is -- while

             7     this was -- we originally came up with this

             8     vocabulary to be used for business to consumers,

             9     people quickly found out you can use this for

            10     business to business as well, for sharing of

            11     information.

            12               You can tag this on and use it to help

            13     companies audit internally or have third parties

            14     come in and audit for them, to set up software that

            15     controls the use of information so that you can't

            16     send out, put people's Email addresses in the "to"

            17     field when it has -- when individuals sign up to a

            18     policy saying that their Email address would not be

            19     shared.

            20               There's a company called Privacy Wall

            21     that's building this kind of software right now, so

            22     there's a whole bunch of uses for this technology

            23     not originally envisioned, but you can use this

            24     vocabulary to answer that.

            25               Also, there's the ability of access that


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             1     these new technologies provide.        We heard a lot in

             2     the last panel again about cost and how cost -- how

             3     this was going to be -- that access was too

             4     expensive for consumers, this was discussed a lot,

             5     to provide to consumers.

             6               Well, if companies can provide the sharing

             7     between companies and make that less expensive,

             8     then they can also make it less expensive to

             9     provide it to consumers as well, and we shouldn't

            10     be overlooking the fact that making it cheaper in

            11     one aspect is also making it cheaper in another

            12     aspect.

            13               And then the final point here is the

            14     question of how this is really going to work and

            15     whether there will be market incentives for

            16     companies to use this vocabulary, to use the new

            17     access features, and that's still really

            18     questionable.

            19               This is obviously all stuff that happens

            20     behind the scenes, and right now responsible

            21     companies seem to be taking up these ideas, but

            22     will it be wide spread practice?          And the answer to

            23     that is that we still don't know.

            24               MS. ROSENFELD:     Thank you.     Ari.

            25               Our next presenter is Richard Smith.


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             1     Richard is the Chief Technology Officer for The

             2     Privacy Foundation, where he directs The

             3     Foundation's research activities.         He also has

             4     primary responsibility for explaining The

             5     Foundation's research findings to the media and at

             6     public events like this.

             7               Richard?

             8               MR. SMITH:    First of all, I want to thank

             9     the FTC for inviting me to speak today, and I was

            10     asked to actually look into the crystal ball here

            11     to see where technology is heading in terms of

            12     sharing more data, this idea of emerging

            13     technologies increasing the sharing, and very

            14     fortuitously yesterday, Steve Ballmer, the CEO of

            15     Microsoft Corporation, gave a speech for the

            16     Association of Computing Machinery, that's sort of

            17     like the Bar Association for the lawyers in the

            18     group here, gave a talk about XML which was going

            19     to be my topic so I thought that was very good.

            20               And I would like to quote from the article

            21     that ZDNet wrote which said that XML as the lingua

            22     franca of cyberspace would affect -- and it would

            23     effectively clear away lingering barriers blocking

            24     companies from exchanging information over the

            25     Internet.    And then the article goes along to talk


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             1     about the tools that are being developed to support

             2     XML and so on.

             3               What I found very interesting was there was

             4     really no discussion of what kind of data is going

             5     to be going back and forth, and pretty obviously

             6     some of it is going to be about widgets, about

             7     cars, packages and whatever, but it also is going

             8     to be personal information, so the answer here,

             9     looking into the crystal ball, is clearly yes,

            10     we're going to see more sharing because tools are

            11     being developed to make it easier to do.

            12               There's nothing magical about XML.         It's a

            13     particular specification of how companies agree to

            14     communicate data from one place to another, just

            15     like English is a way that humans communicate.

            16               The nice thing about it, it's very easy to

            17     understand, and it's also human readable, so for

            18     folks like myself who kind of like to look at

            19     privacy practices of companies, it's actually going

            20     to make it easier to look into things, but clearly

            21     we're going to see it's -- XML is going to help in

            22     the sharing of data, but it's also going to help in

            23     some of these areas like P3P and CPExchange,

            24     providing some privacy controls.

            25               The question is is, Will they be


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             1     implemented?     Just because they're in a

             2     specification there's still the issue of, Will they

             3     be implemented.

             4               Now, another issue, if you want to predict

             5     the future, I believe in looking in a crystal ball,

             6     you have to also follow the money.         We first follow

             7     the technology, but then we also follow the money.

             8               And pretty clearly in the Internet I think

             9     the most ardent cheerleader would now say that

            10     we've had a dot com meltdown of companies literally

            11     wasting billions of dollars on business models that

            12     are not going anywhere.

            13               But one thing is very clear is that the

            14     Internet is a very good place to get information on

            15     things.    If I wanted to go to the Google Search

            16     Engine, I could get information about anyone in

            17     this room probably, except for myself because I

            18     have a common name.

            19               But if you have a not so common name, it's

            20     a lot easier to find out information, and I think

            21     that really shows a good business model here, which

            22     is the idea that people are going to go to the

            23     Internet to make purchase decisions but then go to

            24     the offline world and buy stuff, like buy a car.

            25               And so I really see that as sort of the


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             1     money starting to focus people and business models

             2     in that direction, and what that's going to mean is

             3     the people that provide the information on the

             4     Internet are going to want a piece of the action

             5     when the sale is made in the offline world.

             6               So I see technologies like XML and

             7     CPExchange being done for that, so let me give you

             8     a quick example here.      We've all bought cars, and

             9     it's always an interesting experience.          Now that

            10     I'm older, I actually feel fairly confident about

            11     going in the showroom but at a younger age, it was

            12     sort of like me against them, and they had the

            13     information, and I think that's going to get more

            14     interesting here.

            15               For example, we go to a car Web site,

            16     research three different models of cars that we're

            17     interested in, and the Web site remembers that

            18     information.

            19               Well, the fun thing is going to be I

            20     believe in the future is you can walk into the car

            21     dealer.    They ask for your driver's license in

            22     order to do a test drive, and the other thing

            23     they're using that for is to go find out what

            24     you've been researching on the Web here, for what

            25     kind of cars you're interested in.


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             1               And that gives the salesman one up on you,

             2     which is he knows the other competitive models

             3     you're looking at, and he can have computer

             4     software that recommends how to sell against these

             5     cars.   You can also be scored on the likelihood of

             6     buying a particular model that you express interest

             7     in and so on.

             8               So I think we're going to see this very

             9     strong economic push, and I think it's basically

            10     inevitable that when we have one part of the market

            11     which seems to be dollar poor and another part of

            12     the market where the money is being spent, that the

            13     business models are going to have to go that

            14     direction.

            15               And we're going to see -- be forced into

            16     more information sharing.       It's just an inevitable

            17     part of this economics, much more so than we've

            18     seen on the Internet itself.

            19               Thank you very much.

            20               MS. ROSENFELD:     Thank you, Richard.

            21               Our next panelist is Lawrence Ponemon, who

            22     is the president of Guardent, a services and

            23     technology company enabling security, privacy and

            24     data protection.

            25               Prior to joining Guardent, Larry was the


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             1     founder of the PricewaterhouseCoopers global

             2     privacy practice.      Larry is a founding board member

             3     of The Personalization Consortium, and he will talk

             4     about that organization today.

             5               MR. PONEMON:    Thank you.     Everyone looks

             6     really hot and really tired.        Is that true or is

             7     that just a perception that I have?         I need to

             8     personalize on you.

             9               How many people worry about personalization

            10     and privacy?     Raise your hand.      Oh, come on.     I

            11     know it's late, everyone.       How many people worry

            12     about personalization privacy in the wireless Web?

            13     Let's see if we can get those hands a little bit

            14     higher?

            15               Quite frankly, there is actually a lot to

            16     worry about, in my opinion, and I know I sound like

            17     a heretic as a founding member of the

            18     Personalization Consortium.        I have good news.        I'm

            19     going to be fast in my presentation, and I do not

            20     have Power Point slides so you can actually watch

            21     me.

            22               The bad news is I'm going to read to you

            23     our blurb about what the Personalization Consortium

            24     is, and I'm going to tell you where we are and what

            25     we are trying to achieve.


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             1               The Personalization Consortium is an

             2     international advocacy group formed to promote the

             3     development and use of responsible one-to-one

             4     marketing technology and practices on the worldwide

             5     Web.

             6               The Consortium encourages the growth and

             7     success of electronic commerce that delivers the

             8     benefits of personalized electronic marketing while

             9     articulating best practices and technologies that

            10     protect the interest of consumers, and I want to

            11     underscore consumers.

            12               To achieve its goal of expanding the scope

            13     and use of personalization technology that respects

            14     consumer privacy, the Consortium has many

            15     functions, for example, to provide a forum for

            16     industry discussion and information, sponsor

            17     research, foster standards for technology and best

            18     practices and work towards consumer understanding.

            19     And toward this end the Consortium has established

            20     ethical information and privacy management

            21     objectives that articulate its goal to create a

            22     solid process that enables consumers to confidently

            23     use personalization technology for their benefit.

            24               Now, the Consortium was established about a

            25     year ago chaired by Don Peppers and a few other key


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             1     folks.     I was co-oped into joining the Consortium

             2     because of my very strong and very weird views on

             3     privacy.     So like you, I was pretty suspicious.

             4                So I attended my first board meeting, and

             5     at the first board meeting were about 30 or 40

             6     company representatives, and I saw a sincere

             7     interest to do it right, and I had this kind of

             8     vision in my mind.

             9                If someone could invent a cigarette that

            10     didn't cause cancer, wasn't habit forming, maybe it

            11     won't be so bad to smoke, right, and maybe that's

            12     where we are in the evolution of personalization.

            13     It's probably a bad analogy unfortunately, unless

            14     you're a smoker.

            15                But the idea is that we've grown from a

            16     small group of good companies to 67 great

            17     companies, and there are many, many other companies

            18     that are taking a wait and see attitude.

            19                Let me tell you a little bit about some of

            20     the challenges.     First, we set high standards.        If

            21     you read the Personalization Consortium and you go

            22     to our Web site which is www.Personalization.org, I

            23     don't know how to spell personalization, but my

            24     friend Jason can spell it for you.         And I think at

            25     the end of the day though when you go to that Web


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             1     site, you're going to find that these principles

             2     are about equal, not better than, not worse than,

             3     but about equal to many wonderful statements about

             4     privacy.

             5                So then you scratch your head and you say,

             6     "What's the difference here."        The difference is

             7     we're basically holding our members to a very high

             8     standard.     That is, it's not just good enough to

             9     say you're going to comply with these principles,

            10     but you have to undergo an audit, the A word,

            11     audit.

            12                And that's pretty scary because if you're a

            13     small organization or a large organization and you

            14     say you're going to be a member and suddenly you're

            15     no longer a member, you're basically killed or

            16     kicked off the membership list, it's a signal that

            17     basically suggests -- not suggests, that tells the

            18     universe that the company failed to comply.

            19                Let me just tell you the courage of

            20     members.     The founding members are very courageous

            21     because right now they just generally assume that

            22     they're going to pass this audit, but my guess is

            23     many will fall by the wayside and that the end

            24     result will be that some members will not make the

            25     grade.


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             1                Now, let me just tell you it's not for pure

             2     altruism, it's not because we're good guys.

             3     There's a real economic value proposition,

             4     something a little bit different than regulation

             5     and lawsuits, and that is if we do it right,

             6     becoming a member is going to be a good thing.

             7     It's going to be something that is of great value.

             8     It's going to be a way to differentiate your

             9     services and product in this ever evolving

            10     marketplace.

            11                Now, if that's so, then people will knock

            12     the door down to become a member.         To become a

            13     member will have real substantive meaning, and

            14     that's really what we're trying to achieve through

            15     the independent verification.

            16                Also, some people are confused, and the

            17     next speaker will talk about TRUSTe.         The next

            18     speaker will also discuss the issue of seals.           This

            19     is not just a seal.      It's not a new form of a seal

            20     program.     It is in fact about an independent audit

            21     conducted by a trusted party.

            22                So that's all I want to say about the

            23     Personalization Consortium.        I'm very proud to be a

            24     member, even though I was co-oped to becoming a

            25     member originally.      It's a great group, and I


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             1     really encourage everyone here, as well as in the

             2     spillover rooms, to go to our Web site and to find

             3     out more about what we are and what we want to

             4     become.

             5               Okay so without further ado, I'll sit down.

             6     Thanks.

             7               MS. ROSENFELD:     Thanks.    Thank you, Larry.

             8     Our next panelist is Becky Richards.         Becky is the

             9     Director of Compliance and Policy for TRUSTe, an

            10     Internet privacy seal program.         She oversees all

            11     aspects of enforcement operations and policy

            12     developments for the TRUSTe program, including

            13     TRUSTe's compliance operations and the TRUSTe Watch

            14     Dog Dispute Resolution Process.

            15               Prior to joining TRUSTe, Becky was an

            16     international trade specialist on the electronic

            17     commerce task force at the U.S. Department of

            18     Commerce's International Trade Administration.

            19               Becky?     That's a mouthful.

            20               MS. RICHARDS:     It is a mouthful.     I don't

            21     have a Power Point presentation either, so being

            22     the last person to speak on the last panel, I hope

            23     we'll get through this quickly.

            24               I'm actually not going to really talk about

            25     seals today.       Most of you probably know what they


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             1     are.   Instead, I'm going to talk -- we've heard

             2     today a lot about merging and exchanging of

             3     consumer data and what the benefits are and what

             4     the risks are.

             5               And at TRUSTe, we've been following the

             6     practices of merging and exchanging consumer data

             7     closely, but TRUSTe's main focus in the past has

             8     been on the explicit and inexplicit collection of

             9     information from consumers and the sharing of such

            10     information.

            11               TRUSTe's monitored the increasing practice

            12     of merging and exchanging and has been and will

            13     continue to work to ensure that consumers are aware

            14     of these practices.

            15               Mary Culnan in the previous panel brought

            16     up a very good point.      Transparency is very

            17     important.     If we're going to continue to increase

            18     growth via E-commerce, we need to have consumers'

            19     trust, and trust comes through transparency and

            20     understanding of what those practices are.

            21               Currently because we've really been looking

            22     at how information is collected from the consumer

            23     as opposed to the other way around, our license

            24     agreement doesn't -- does not explicitly address

            25     the disclosure of merging and exchanging of


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             1     information, although depending upon the practices,

             2     it could be required.

             3               As we look to the future, we will

             4     explicitly require companies to disclose the

             5     practices of merging and exchanging information, to

             6     increase the transparency and to increase trust.

             7               Our current practices are that we ask Web

             8     sites whether they're combining information from

             9     third parties by asking in the self-assessment," Is

            10     your company supplementing the information that you

            11     receive directly from users with information

            12     received by an offline means or from a third-party?

            13     If so, explain."

            14               So if a Web site states that information is

            15     being supplemented from such sources, this should

            16     be disclosed in the privacy policy.

            17               TRUSTe has a model privacy statement that

            18     is currently used by a number of companies as a

            19     privacy resource, and in this model privacy

            20     statement, we provide two different examples of how

            21     a company can address the supplementation of

            22     consumer information from third parties.

            23               The first example is really more

            24     appropriate for gathering of financial information,

            25     and so I won't go over that specifically.


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             1                Our second example deals with the combining

             2     of marketing information with consumer information.

             3     It states:     "In order for this Web site to enhance

             4     its ability to tailor the site to an individual's

             5     preference, we combine information about the

             6     purchasing habits of users with similar information

             7     from our partners, Company Y and Company Z, to

             8     create a personalized user profile."         So this is

             9     the disclosure.

            10                Now, for perhaps maybe a more real world

            11     example.     I have three examples.      The first one is

            12     one of our licensees that states explicitly that

            13     they do not supplement consumer information by

            14     stating that all information excluding our user

            15     passwords originates solely from our primary

            16     client.

            17                Now, in the case of a company that does

            18     supplement consumer information, one of our

            19     licensees states:      "We may research demographics,

            20     interests and behavior of our customers based on

            21     the information provided to us upon registration."

            22                And finally, a third example that gets

            23     lengthier; and as we've discussed, privacy policies

            24     can be rather long:      "The combination of offline

            25     and online information provided by the customer has


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             1     the ability to enhance the customer experience and

             2     make customers' interaction more meaningful and

             3     relevant.    Company X requires that any consumer

             4     profiling or purchasing behavior captured online

             5     and combined with offline information be clearly

             6     stated to the consumer at the time of the online

             7     data collection.     The consumer will have the

             8     ability to choose not to be part of a subsequent

             9     marketing campaign."

            10               So in this last disclosure, the company is

            11     giving the individual the opportunity to opt-out of

            12     being profiled.

            13               I would like to thank the Commission for

            14     having today's workshop.       I think it's been very

            15     informative as to both the benefits and risks

            16     involved in merging and exchanging information

            17     across businesses.

            18               The important part of each of these, in

            19     thinking about this for both businesses and

            20     consumers, is that the consumer needs to be

            21     informed of the practice if we are going to

            22     continue to increase transparency and trust and

            23     continue to see increase in business on the

            24     Internet.

            25               And as I mentioned at the beginning, TRUSTe


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             1     will be changing our license statement to

             2     explicitly address this particular practice in the

             3     future.

             4               Thank you.

             5               MS. ROSENFELD:     Thank you, Becky.     I have a

             6     few questions, we want to try to stick to the time

             7     frame here, and then we'll open up the floor to

             8     questions from the audience.

             9               John, we know CPExchange is an open and

            10     it's a voluntary standard, and I think that means

            11     that the privacy related features also have to be

            12     voluntarily adopted by the users.

            13               How likely is it that companies are going

            14     to deplore the privacy-related features of the

            15     specification in your view?

            16               MR. KAMP:    I hope they don't deplore them.

            17     It is getting late though.

            18               MS. ROSENFELD:     Did I say deplore?

            19               MR. KAMP:    Deploy.

            20               MS. ROSENFELD:     I'm sorry, the heat is

            21     getting to everyone here.

            22               MR. KAMP:    We don't know.     In fact, we have

            23     reason to believe that they don't deplore them,

            24     that they will deploy them, but because it's a

            25     voluntary standard, as Jason once described it,


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             1     it's a safety that may or may not be used.

             2                We expect though, because remember the

             3     whole point of all of this day has been businesses

             4     are interested in customization because consumers

             5     are demanding it.

             6                As consumers demand more and more privacy

             7     transparency, the privacy transparency will be used

             8     by the successful companies, and they will use that

             9     part of the CPExchange protocol.

            10                MS. ROSENFELD:    Is there any effort

            11     underway to develop a code of best practices for

            12     those users of the specification?

            13                MR. KAMP:   We worked first of all to make

            14     sure it was P3P compatible because we believe

            15     that's really very important, and we have, just in

            16     the last week, sat down again with the P3P people,

            17     CDT, and are exploring alternatives, ways in which

            18     we can continue to ensure that the protocol is as

            19     multifunctional in this regard as possible and will

            20     be looking at those very kind of things going

            21     forward.

            22                MS. ROSENFELD:    I guess on a related note,

            23     in terms of being multifunctional, will the

            24     specification be used to facilitate merger and

            25     exchange of consumer data across media, for


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             1     example, into wireless space?

             2                MR. KAMP:   Again, it's a neutral protocol.

             3     It was designed for internal data sharing within

             4     companies, and as we went forward, we added the

             5     other functionality.

             6                My guess is that all of the things that

             7     will be possible and will be used by companies are

             8     likely to use this protocol because we think that

             9     it's valuable in that regard, and, yes, it could

            10     very well be used for wireless or whatever other

            11     scary things that might happen in privacy going

            12     forward.

            13                But because of the kinds of focus there has

            14     been on privacy by this agency and others going

            15     forward, I'm convinced that the American public are

            16     learning what privacy is all about and learning how

            17     to use, how to make their choices, and that those

            18     kinds of things will automatically develop as the

            19     industry develops.

            20                The important point here is not that the

            21     functionality will be required, but that it's built

            22     into the system so that it can be used and the

            23     commitment by CPExchange to make sure that the

            24     system does have that functionality.

            25                MS. ROSENFELD:    Go ahead, Ari.


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             1               MR. SCHWARTZ:     In terms of functionality of

             2     CPExchange and whether that alone will spur

             3     individual -- spur companies to use it, I do think

             4     that the regular P3P that I was talking about

             5     earlier in terms of Web sites, Web browsers going

             6     to Web sites and seeing whether they have privacy

             7     policies that match consumers' policy, that has a

             8     -- direct impact on the consumer.

             9               There's direct feedback that a consumer

            10     will want to see a privacy policy because it will

            11     show up in their browser.       CPExchange doesn't have

            12     that ability to be right in the consumer's face

            13     like that, so there is that missing step there.

            14               It really does have to be a responsible

            15     company to take that on, and I look forward to

            16     working with the CPExchange people, but we have to

            17     recognize that there is that missing piece with all

            18     of this behind the scenes type transaction.

            19               MS. ROSENFELD:     Larry, can you just

            20     describe the kinds of companies that are members of

            21     the Personalization Consortium and what kinds of

            22     companies you expect will join in the future?

            23               MR. PONEMON:     Good question.    Of our

            24     members today, we have a combination of tool

            25     makers, people who are inventing new technologies,


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             1     both in the wired and the wireless area, and

             2     they're the largest chunk of members.

             3               We also have vendors, companies that are

             4     not actually making the technology but selling that

             5     technology or embedding that technology into other

             6     tools, so for example in the CRM universe we see

             7     companies fall into that space.

             8               Then we have end users, companies that, for

             9     example, like AMR, American Airlines or Charles

            10     Schwab, that are actually the users of this

            11     technology.

            12               If you kind of think about the model, the

            13     model is a little bit weird because it's a

            14     B-to-B-to-C model.      We're adding now a new element,

            15     and so the key is to get to the consumer.

            16               Even if you are in a business mode, and you

            17     personally -- as an organization you do not have

            18     direct access to personal information, there's

            19     still a chain of trust and responsibility, and

            20     that's really what the audit is attempting to

            21     prove.

            22               So you can't say," Well, we passed but

            23     guess what, the audit was simple because we don't

            24     have personal information, we don't collect any

            25     information because we're a tool maker."          You can't


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             1     get away with that.

             2                That's obviously a very slippery slope, but

             3     that's not what the audit is about, so the members

             4     are primarily in those three categories, and we're

             5     really -- to answer your question about what is the

             6     future, if you'll look at all of the users of

             7     personal information, there's a huge body of end

             8     user organizations that would love to learn more

             9     and become a member and to make sure that they're

            10     using the technology that is ethical and that is

            11     being managed at a high level.

            12                Unfortunately to get there, we really have

            13     to have those rigorous standards in place, and it's

            14     ultimately the responsibility of the tool maker to

            15     ensure that the process is a fair one, is a good

            16     one, and so we would encourage end users as well as

            17     tool makers and vendors to participate in this

            18     process.

            19                MS. ROSENFELD:     Thank you.   What about

            20     enforcement with the guidelines?

            21                MR. PONEMON:     You had to ask the

            22     enforcement question, end of the day, we're all

            23     sweating here.     Now I'm really sweating.

            24                Basically if you don't comply with this,

            25     and you know my favorite word, we're going to kill


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             1     our members.     We have a license.      They've agreed

             2     to -- no, we're not going to kill our members, but

             3     what we're going to do is you're going to get

             4     kicked off the membership scroll.

             5               And we're actually in the final stages of

             6     establishing a disclosure standard.         While it has

             7     not been defined as yet, the plan is to have a

             8     status report on our Web site to show where members

             9     are in the auditing process, so obviously if you're

            10     not there, if you mysteriously disappear one day,

            11     you could reach your own natural conclusion.

            12               But understand that enforcement is very,

            13     very important for this to work.         Without

            14     enforcement, it is a wasted effort.         It is

            15     virtually a wasted effort, so self regulation means

            16     that the organizations that have become members

            17     have to work hard to maintain their membership, and

            18     enforcement is going to be very costly for some

            19     organizations that don't make the grade.

            20               MS. ROSENFELD:     Becky, you talked about

            21     TRUSTe intending to revise your licensing

            22     agreements to require disclosures about data merger

            23     and exchange of information, and I'm wondering if

            24     you have a time table for that.

            25               MS. RICHARDS:    We last updated ours I think


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             1     in August, September, and I'm told that the legal

             2     fees have to stay lower so I'm not supposed to give

             3     it to our lawyers for a couple more months, and we

             4     also want to have a certain level of stability in

             5     the program.

             6               And we're actually on the sixth version

             7     right now, we'll be going to the seventh, and there

             8     will be a number of revisions, not just this one

             9     but also to sort of-- what we have done always is

            10     to follow along what the privacy debate is, where

            11     are we going with things and make sure we're a step

            12     ahead.

            13               And so I think that we can anticipate to

            14     see those sometimes in the July/August time frame

            15     as we move forward.

            16               MS. ROSENFELD:     I think now I'm going to

            17     open up to audience questions.        The gentleman back

            18     there, and again please identify yourself and your

            19     organization.

            20               MR. LE MAITRE:     Hi.   I'm Marc Le Maitre.      I

            21     work with Nextel Communications.

            22               Larry, I agree absolutely, entirely with

            23     you that privacy without enforcement doesn't fly.

            24     During the B-to-B world, very few businesses would

            25     do anything without signing a contract, and I'm


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             1     aware that P3P is policy based, no need for a

             2     contract in P3P, how do you get from policy based

             3     to contract based so that you've got some basis on

             4     which to place -- to put some enforcement around?

             5               MR. PONEMON:    You're asking a very good

             6     question, and we've tried to address this over the

             7     course of the last few years, especially with my

             8     involvement with the FTC and the Advisory

             9     Committee.

            10               Quite frankly, one of the problems you have

            11     is a policy, doesn't necessarily suggest truth, so

            12     you have a lot of organizations that are very quick

            13     to post a policy, and P3P by the way is kind of an

            14     offshoot of that.

            15               P3P is good, but unless you have an ability

            16     to say, Okay, you have this policy, how do we know

            17     you're complying, it's kind of an interesting

            18     problem because a lot of organizations aren't

            19     really evil and they're really not trying to dupe

            20     the consumer.     It's not that at all, but they're

            21     not actually digging deep enough into their own

            22     business models or into their own organizations to

            23     determine where they have vulnerability and risk.

            24               And in many cases, in most cases

            25     unfortunately, the legacy of being an auditor,


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             1     right, you basically stumble on some incredible

             2     problems.     Bad news doesn't necessarily get up to

             3     the right people.      That's the job of an auditor is

             4     to communicate it ultimately to the board, and I've

             5     been in many board meetings to say to major

             6     companies," You know what, what you say you do on

             7     privacy, you're just not doing, and it's going to

             8     be very costly to fix it."

             9               So then that's the other issue.        What's the

            10     accountability on the other side to actually now

            11     fix the problem now that you have that information.

            12               Audits are a good thing though.        If there's

            13     self regulation you might be able to move the bar.

            14               MR. LE MAITRE:     I think there's some

            15     direction on it.     The notice and choice aspects of

            16     Fair Information Practices are well understood.            My

            17     own feelings are that it may take some sort of

            18     binding between notice and choice.

            19               This is the notice you gave me, this is the

            20     choice I gave back to you, and some notion that

            21     that forms a bond, a contract, that has some legal

            22     status that we can both rely upon in an audit

            23     situation.

            24               MR. PONEMON:     Can I just make one comment

            25     about that?     If you just look at the current


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             1     implementations around GLBA, Gramm Leach Bliley,

             2     we've seen a lot of organizations having a very

             3     difficult time just operationalizing choice.           We're

             4     starting to see evidence that companies are

             5     failing.

             6                They're getting the reply back, but

             7     companies are having a difficult time making sure

             8     that it sticks in their legacy systems, and they're

             9     spending virtually no resources to fix the problem,

            10     so I think we're going to have a lot of interesting

            11     issues on the horizon in terms of lawsuits,

            12     organizational culpability, but that's a problem.

            13                And so even if you have a contract, even if

            14     it's a legally binding contract, I'm not sure

            15     that's going to change behavior in the short term.

            16                MS. ROSENFELD:    John?

            17                MR. KAMP:   I just wanted to mention, and

            18     not in any way to slight the FTC enforcement

            19     authority or even the authority of auditors, that

            20     perhaps the most important thing that will happen

            21     in the marketing space is happening, and that is

            22     privacy is becoming part of the brand, and as part

            23     of the brand, it's part of that image of the

            24     product and the company that is part of the

            25     relationship that the customer has with the brand,


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             1     and either a company is going -- going forward, I

             2     think either companies are going to respect the

             3     privacy of their consumers and treat them

             4     appropriately or they're not, and that consumers

             5     are going to take it out on them, and that the

             6     value of the brand and the need to ensure that the

             7     brand stands for something in the privacy space as

             8     well as in the basic historical places where it

             9     talks about quality, product quality and

            10     consistency and value proposition, that privacy is

            11     going to stand along that, and the American

            12     consumers are going to make sure that their privacy

            13     is protected in ways that they consider

            14     appropriate.

            15               MS. ROSENFELD:     You in the back.

            16               MR. KAMINSKI:    Hi.   My name is Jim Kaminski

            17     from Arent Fox.     This is a question for Ms.

            18     Richards.    I was wondering if you had a sense -- I

            19     have two questions actually.        My first question is:

            20     Do you have a sense of what the industry practice

            21     is for disclosing the company's enhancement

            22     practices, and also when that new standard is in

            23     place, are you going to require the companies to

            24     provide access on the Web site to the data

            25     collected offline to keep that parallel?


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             1               MS. RICHARDS:    The lovely question access.

             2     This is always difficult to answer.         Let me maybe

             3     revise a little of how I answered Dana's question.

             4               Right now there isn't an explicit

             5     requirement for you to disclose, but if we go

             6     through your privacy practices and we find that

             7     it's very appropriate and you should be disclosing

             8     it, we will force you to disclose that information.

             9               So it's sort of an implicit requirement if

            10     you could have that, and so -- and what we have

            11     been working with our account managers is to make

            12     sure that they know this is an important aspect and

            13     they need to be probing more about the questions,

            14     and so I think on that aspect it's something that

            15     we're -- as the practice becomes more prevalent,

            16     we're seeing more disclosures.

            17               When I asked the question around the office

            18     of if they can give me some different examples, we

            19     came out with some different ones, and it was a

            20     really good learning experience for everybody to

            21     see what is happening.

            22               I would say that there's -- I can't give

            23     you any numbers in terms of how prevalent it is or

            24     how not prevalent it is in terms of how many

            25     companies are doing it at this point.          It's just a


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             1     sense that it's definitely increasing and that it's

             2     something we're addressing as we go along.

             3               I don't have a good answer for your access

             4     question at this point.

             5               MS. ROSENFELD:     There in the middle.

             6               MR. TUROW:     Joe Turow from the University

             7     of Pennsylvania.       I just wanted to know if anyone

             8     has a sense of whether what you guys have been

             9     talking about is going to change when things go in

            10     the not too terribly distant future to a much more

            11     broadband, very dynamic environment where people

            12     will be watching television, doing the Web stuff,

            13     doing this, constantly moving between sites at such

            14     a rapid speed with so many parties involved in a

            15     transaction that the kind of privacy policy issues,

            16     I'm just wanting to know, might be totally

            17     irrelevant, the ones that we've been talking about.

            18               If you have four or five parties that have

            19     an interest in dealing with the data at the same

            20     time who have very different notions of what's

            21     acceptable, is that a scenario that's realistic,

            22     and then what do you do?

            23               MS. ROSENFELD:     Would anyone like to take a

            24     shot at that?     Ari.

            25               MR. SCHWARTZ:     Well, I was just about to


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             1     say that's why XML technology, people are focusing

             2     on XML technology, because it's really the only

             3     realistic way the different parties can come in at

             4     different points, and that's why I focus so much of

             5     my time on P3P because I see it as the only

             6     realistic way to provide notice in that realm.

             7               Now, obviously Larry brought up the point

             8     that P3P has a weakness that it doesn't do

             9     enforcement.     P3P, that's not what P3P was meant to

            10     do.   It's not supposed to do enforcement.         It's

            11     supposed to do notice and do it well, and that's

            12     what we've tried to focus on.

            13               So of course tying in all these access

            14     points is going to make it very difficult for the

            15     consumers to follow, it's difficult enough to

            16     follow on the Web the way they do it today.           In a

            17     pervasive computing environment only XML

            18     technologies will help do that so we need to map

            19     everything to some --

            20               MR. TUROW:    Can you explain how?      I don't

            21     see how it's helping to solve the problem.

            22               MR. SCHWARTZ:    How will XML help to solve

            23     it?

            24               MR. TUROW:    Yes.

            25               MR. SCHWARTZ:    Well, what's going to happen


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             1     is that you'll have -- it's a complex system, and

             2     there's a few different ways that schemas will

             3     work, but basically that everyone will be relating

             4     to the same basic vocabulary or schema, and then

             5     information will be flowing into points back and

             6     forth using this same underlying data, using the

             7     same tags.

             8               So that we don't have the confusion that we

             9     have today where everyone has different databases

            10     labeled in different ways and uses the information

            11     in different ways.       It's a whole new infrastructure

            12     that Tim Berners-Lee from the World Wide Web

            13     Consortium calls the semantic Web.

            14               MS. ROSENFELD:     Jason?

            15               DR. CATLETT:     I have a quick question for

            16     Larry.    Does the Personalization Consortium require

            17     its members to provide access to consumers about

            18     the data they hold, and does it require an

            19     opportunity to delete the information?

            20               MR. PONEMON:     That was probably again one

            21     of the most contentious issues with our principles,

            22     but we ruled.     We prevailed.       Basically access and

            23     accuracy are actual principles, and that means that

            24     you have to provide access, reasonable access which

            25     means that -- I don't like that word reasonable


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             1     because it opens up for interpretation.

             2               We're going to have to be really smart as

             3     auditors in terms of finding what's the line

             4     between reasonable and unreasonable, but more

             5     importantly, if someone finds a problem, you have

             6     to be able to provide that individual the proper

             7     approach for fixing those problems as well as

             8     redress if that is not being handled well.

             9               But also this is opening up a can of worms

            10     in terms of security and authentication issues that

            11     have to be built into the system.         From that point

            12     of view it could be very costly to members, but

            13     that's just what we have to do.

            14               DR. CATLETT:     But it was a requirement that

            15     was accepted by the 67 companies.

            16               MR. PONEMON:     All but one company agreed to

            17     it, and that one company basically has agreed to go

            18     along with it so it was amazing, but it was a

            19     battle.    It wasn't like, Gee, it makes a lot of

            20     sense.    It had to be -- it took weeks and months,

            21     as Win knows, a lot of work to kind of get us to

            22     that point.

            23               MS. ROSENFELD:     Any other questions?      No.

            24     I want to -- was there anybody else?         No?

            25               I want to thank the panelists.        This was an


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             1     excellent panel, and it's not over yet.          I want to,

             2     first of all, commend all of you for staying

             3     throughout the day.      I apologize for our air

             4     control problems, but after this panel can step

             5     down, we have some closing remarks by Joel Winston.

             6               (Applause.)

             7               MR. WINSTON:    I think it's fitting that we

             8     were able to get these curtains and windows open,

             9     because the purpose of this workshop was to shed

            10     some light and bring in some fresh air on a very

            11     important subject, data merger and exchange, and I

            12     hope we were able to accomplish that today.

            13               I did notice that it took a crow bar to get

            14     some of those windows open, and I don't want to

            15     carry the metaphor too far, but actually I think

            16     people were very open and honest with us, and we

            17     really appreciate that.

            18               I want to thank all of our panelists today

            19     and our audience for a very lively and interesting

            20     day.   I also want to express my appreciation to the

            21     FTC staff who really worked tirelessly to put this

            22     workshop on and to do so really in record time.

            23               Specifically I want to thank Martha

            24     Landesberg, Allison Brown, Jessica Rich, and Ellen

            25     Finn from the Financial Practices Division, Lou


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             1     Silversin from the Bureau of Economics, and Dana

             2     Rosenfeld from the Bureau Directors Office, and of

             3     course our intrepid team of support staffers who

             4     really made this possible today.

             5               Let me just close with a few brief remarks.

             6     The Commission's been studying online data

             7     collection for over five years now, and we've

             8     hosted several workshops on a variety of topics

             9     related to collection issues, but I think the

            10     subject matter of this workshop is an especially

            11     timely one.     It seems like every day we hear or

            12     read about new ways in which consumer data are

            13     being collected and combined and put together for

            14     various purposes.

            15               It's been a very educational day for us and

            16     we hope for all of you.       Although some of the

            17     practices we've heard about today are practices

            18     that have been going on for many decades, new

            19     technologies and other recent developments have

            20     increased the speed and amount of data that

            21     businesses exchange both online and offline, so

            22     being able to discuss these practices really helps

            23     us keep up with all of these recent developments.

            24               We learned today, for example, about

            25     various sources of consumer data used for creating


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             1     profiles such as public records, census data,

             2     survey data, warranty cards and consumer

             3     transactions.

             4               In addition, many companies described their

             5     business models and how the merger and exchange of

             6     data benefits both the businesses and consumers.

             7     For example, by purchasing third-party data,

             8     companies are able to target their advertising more

             9     effectively and efficiently and to personalize Web

            10     content, so that consumers may get more advertising

            11     that they want to see and fewer advertising offers

            12     that they don't want to see.

            13               Several panelists raised questions about

            14     the transparency of these practices to consumers,

            15     in particular, whether consumers know about the

            16     existence of data compilers and the practice of

            17     enhancing consumer information with data from

            18     third-party sources.      Do consumers know how and why

            19     this data is exchanged between companies?

            20               Well, I would harken back to what

            21     Commissioner Swindle said this morning and many of

            22     the panelists raised throughout the day, this

            23     notion of the trust gap and the information gap,

            24     the misunderstanding gap.

            25               From what I heard today it seems like the


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             1     key problem here is that there's a gap between what

             2     businesses are actually doing in their collection,

             3     merger and exchange of data versus what consumers

             4     think they're doing.

             5               I haven't seen any specific survey

             6     evidence, and I would certainly welcome it, but I'm

             7     willing to bet that most people either dramatically

             8     underestimate or dramatically overestimate the

             9     scope and detail of information that businesses are

            10     compiling about them.

            11               On the one hand, I suspect that there are

            12     lots of consumers who really have no idea that

            13     hospitals and government offices and bankruptcy

            14     trustees and lots of other people are selling or

            15     providing personal information to businesses, all

            16     of which may be combined and enhanced in various

            17     ways to form consumer profiles.

            18               On the other hand, I imagine there are lots

            19     of consumers who think that their every action is

            20     being traced, recorded, combined and deposited into

            21     some mega database for anyone to use and see.           What

            22     I heard today is that the information that's

            23     actually being compiled and combined out there is

            24     not nearly that comprehensive or nearly that

            25     granular.


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             1               To me this raises a real challenge.         Alan

             2     Westin did a survey several months ago on consumer

             3     attitudes toward privacy.       He found that there are

             4     a fair number of people who simply don't want their

             5     information shared or used by anyone for any

             6     reason.

             7               On the other side of the equation, he found

             8     that there were some people who really didn't care

             9     about their information.       They were happy to allow

            10     it to be used for any purpose whatsoever.          But,

            11     what he also found is that there are about

            12     two-thirds of the survey participants who fit into

            13     the category of what he called privacy pragmatists;

            14     that is, people who are willing to share their

            15     information under certain circumstances for certain

            16     reasons and if they're promised certain benefits.

            17               Now, the task for business is to convince

            18     these pragmatists that in particular situations,

            19     it's to their benefit for the businesses to combine

            20     and use the information that they're putting

            21     together about them.

            22               My hope is that through workshops like

            23     this, we can help bridge the information and trust

            24     gaps and enhance public and business awareness of

            25     what is and what is not going on out there.


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             1               I'm not going to get into the debate about

             2     the value of privacy policies, but I think we can

             3     all agree that shedding more light and fresh air on

             4     this subject has to be a good thing.

             5               Again, I just want to thank all the

             6     panelists for contributing to this workshop and to

             7     remind you that we do have a record that will

             8     remain open for 30 days, and I encourage you to

             9     file comments.

            10               Thank you very much for coming.

            11               (Timed noted:     4:51 p.m.)

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             1     C E R T I F I C A T I O N        O F     R E P O R T E R

             2

             3     CASE TITLE:     MERGING AND EXCHANGING CONSUMER DATA

             4     WORKSHOP

             5     MATTER NO.:     P014803

             6     HEARING DATE:     MARCH 13, 2001

             7

             8                We HEREBY CERTIFY that the transcript

             9     contained herein is a full and accurate transcript

            10     of the notes taken by us at the hearing on the

            11     above cause before the FEDERAL TRADE COMMISSION to

            12     the best of our knowledge and belief.

            13

            14                                   DATED: MARCH 26, 2001

            15

            16                                   SALLY J. BOWLING

            17

            18                                   DEBRA L. MAHEUX

            19

            20     C E R T I F I C A T I O N       O F    P R O O F R E A D E

            21                I HEREBY CERTIFY that I proofread the

            22     transcript for accuracy in spelling, hyphenation,

            23     punctuation and format.

            24

            25                                   DIANE QUADE


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